Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 1 of 161 PageID 67434




                  Exhibit A
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 2 of 161 PageID 67435

                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


 UMG RECORDINGS, INC., et al.,

 Plaintiff(s),

                                                                Case No: 8:19-cv-710-MSS-TGW

 v.
                                                                                 Evidentiary
                                                                      X          Trial
 BRIGHT HOUSE NETWORKS, LLC,
                                                                                 Other
                 Defendant(s),

 ____________________________________/

                           PLAINTIFFS’ EXHIBIT LIST
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
PX0001                            TBD         1006, NE, 403-P,        Plaintiffs’ Sound
                                              403-C                   Recordings - A
PX0002                            Abitbol,    1006, NE, 403-P,        Plaintiffs’ Musical Compositions
                                  Blietz,     403-C                   -A
                                  Kokakis
PX0003                            TBD         1006, NE, 403-P,        Plaintiffs’ Sound Recordings - B
                                              403-C
PX0004                            Abitbol,    1006, NE, 403-P,        Plaintiffs’ Musical Compositions
                                  Blietz,     403-C                   -B
                                  Kokakis
PX0005                            Bahun       MIL, F, H, 403-P,       Notices regarding Bright House
                                              403-C, R, Vol.,         Subscribers
                                              DUP of No. 15-22        (PL_BH_InfNotice_0000001-
                                                                      PL_BH_InfNotice_0109353)
PX0006                            Bahun       F, H, 403-C, R,         MarkMonitor Evidence
                                              VOL                     Packages
                                                                      (PL_BH_InfPackage_0000001-
                                                                      PL_BH_InfPackage_0076383)
PX0007                            Bahun       F, H, NA 403-C, R       Evidence Package for Notice ID
                                                                      22273244945
                                                                      (PL_BH_InfPackage_0024038)
PX0008                            Bahun       F, H, NA 403-C, R       Evidence Package for Notice ID
                                                                      222103908768
                                                                      (PL_BH_InfPackage_0006880)


                                                 1
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 3 of 161 PageID 67436

Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0009                            Bahun       F, H, NA 403-C, R       Evidence Package for Notice ID
                                                                      222104374653
                                                                      (PL_BH_InfPackage_0007413)
PX0010                            Bahun       F, H, NA 403-C, R       Evidence Package for Notice ID
                                                                      22277581784
                                                                      (PL_BH_InfPackage_0034053)
PX0011                            Bahun       F, H, NA 403-C, R       Evidence Package for Notice ID
                                                                      222103334058
                                                                      (PL_BH_InfPackage_0006127)
PX0012                            Bahun       F, H, NA 403-C, R       Evidence Package for Notice ID
                                                                      22275612930
                                                                      (PL_BH_InfPackage_0029086)
PX0013                            Bahun       F, H, NA 403-C, R       Evidence Package for Notice ID
                                                                      22278184212
                                                                      (PL_BH_InfPackage_0035146)
PX0014                            Bahun       MIL, F, H, NA,          Evidence Package for Notice ID
                                              403-P, 403-C, R,        22276504973
                                                                      (PL_BH_InfPackage_0031539)
PX0015                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      22273244945
                                                                      (PL_BH_InfNotice_0044402)
PX0016                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      222103908768
                                                                      (PL_BH_InfNotice_0108331)
PX0017                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      222104374653
                                                                      (PL_BH_InfNotice_0108873)
PX0018                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      22277581784
                                                                      (PL_BH_InfNotice_0054451)
PX0019                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      222103334058
                                                                      (PL_BH_InfNotice_0107587)
PX0020                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      22275612930
                                                                      (PL_BH_InfNotice_0049491)
PX0021                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      22278184212
                                                                      (PL_BH_InfNotice_0055546)
PX0022                            Bahun       F, H, 403-C, R          Copyright Notice for Notice ID
                                                                      22276504973
                                                                      (PL_BH_InfNotice_0051933)
PX0023                            Bahun       MIL, F, H, 403-P,       Excel Spreadsheet of Notice
                                              403-C, R,               Data Produced by Plaintiffs
                                                                      (PL_BH_0003188)



                                                 2
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 4 of 161 PageID 67437

Exhibit     Date        Date                     Objections/Stipulated
 No.      Identified   Admitted     Witness          Admissions                 Description of Exhibit
PX0024                            Bahun          MIL, F, H 403-P,        Excerpts from Excel spreadsheet
                                                 403-C, R, DUP of        Re: Notice data produced by
                                                 No. 23, INC, 1006       Plaintiffs (Plaintiffs' Deposition
                                                                         Ex. 255) (PL_BH_0003188)
PX0025                            Bahun          MIL, F, H, NA,          MarkMonitor Verification Data
                                                 403-P, 403-C, R         (PL_BH_0003189)
PX0026                            Bahun          MIL, F, H, NA,          MarkMonitor Hard Drive
                                                 VOL 403-P, 403-C,       (MARKMONITOR_HD_001)
                                                 R, DUP of No. 53
PX0027                            Frederiksen-   MIL, H, R, 403-P,       Frederiksen-Cross Report
                                  Cross          403-C, R, VOL           Exhibit K
PX0028                            Bahun,         MIL, F, H, 403-P,       2011.12.20 Master Agreement
                                  Marks          403-C, R                between DtecNet Inc. and
                                                                         Recording Industry Association
                                                                         of America Inc. (MM000001-
                                                                         MM000014)
PX0029                            Bahun,         INC, MIL, F, H,         2012.02.15 SOW RIAA
                                  Marks          403-P, 403-C, R         Commercial ISP Program
                                                                         (MM000023-MM000035)
PX0030                            Bahun,         F, H, MIL, 403-P,       2013.03.22 SOW between
                                  Marks          403-C, R                MarkMonitor Inc. and
                                                                         Recording Industry Association
                                                                         of America Inc. (MM000042-
                                                                         MM000056)
PX0031                            Bahun,         F, H, MIL, 403-P,       2013.03.22 Amendment No. 1
                                  Marks          403-C, R                between Recording Industry
                                                                         Association of America Inc.and
                                                                         MarkMonitor Inc. (MM000062-
                                                                         MM000063)
PX0032                            Bahun,         F, H, MIL, 403-P,       2014.03.17 SOW between
                                  Marks          403-C, R                MarkMonitor Inc. and
                                                                         Recording Industry Association
                                                                         of America Inc. (MM000076-
                                                                         MM000089)
PX0033                            Bahun,         F, H, R, 403-C,         2016.01.29 SOW - Anti-Piracy
                                  Marks          403-P                   Services between MarkMonitor
                                                                         Inc. and Recording Industry
                                                                         Association of America Inc.
                                                                         (MM000090-MM000092)
PX0034                            TBD            F, MIL, 403-P,          Hard drive of audio files
                                                 403-C, 1006, NA,        containing UMG sound
                                                 R                       recordings, and index
PX0035                            Leak           F, MIL, 403-P,          Hard drive of audio files
                                                 403-C, 1006, NA,        containing SME sound
                                                 R                       recordings, and index


                                                    3
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 5 of 161 PageID 67438

Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                 Description of Exhibit
PX0036                            TBD          F, MIL, 403-P,          Hard drive of audio files
                                               403-C, 1006, NA,        containing WMG sound
                                               R                       recordings, and index
PX0037                            Kokakis      F, MIL, 403-P,          Hard drive of audio files
                                               403-C, 1006, NA,        containing UMPG compositions,
                                               R                       and index
PX0038                            Abitbol      F, MIL, 403-P,          Hard drive of audio files
                                               403-C, 1006, NA,        containing SMP compositions,
                                               R                       and index
PX0039                            Blietz       F, MIL, 403-P,          Hard drive of audio files
                                               403-C, 1006, NA,        containing WCP compositions,
                                               R                       and index
PX0040                            Geluso       F, MIL, 403-P,          Hard drive of excerpts of
                                               403-C, 1006, NA,        GELUSO_BH_001, and index
                                               R, ID
PX0041                            Kawasaki,    H, R714, 715, F,        2022.01.14 Declaration of Epiq
                                  Pelters      NA                      eDiscovery Solutions, Inc.
PX0042                            Kawasaki,    H, R, F, NA, 1002,      2022.01.14 Exhibit 1 to the
                                  Pelters      1006, 716, 717          Declaration of Epiq eDiscovery
                                                                       Solutions, Inc.
PX0043                            Kawasaki,    H, R, F, NA, 1002,      Native Excel of Exhibit 1 to the
                                  Pelters      1006, 716, 717          Declaration of Epiq eDiscovery
                                                                       Solutions, Inc.
PX0044                            Kawasaki,    H, R, F, NA, 1002,      2022.01.14 Exhibit 2 to the
                                  Pelters      1006                    Declaration of Epiq eDiscovery
                                                                       Solutions, Inc.
PX0045                            Kawasaki,    H, R, F, NA, 1002,      Native Excel of Exhibit 2 to the
                                  Pelters      1006                    Declaration of Epiq eDiscovery
                                                                       Solutions, Inc.
PX0046                            Geluso       H, R, F, NA, 1002,      Geluso Comparisons Index
                                               1006
PX0047                            Lai-         H, R, F, NA, 1002,      Critical Listening Expert
                                  Tremewan     1006                    Comparisons Index
PX0048                            Geluso       F, MIL, 403-P,          Curriculum Vitae of Paul Geluso
                                               403-C, H, R
PX0049                            Lai-         F, MIL, 403-P,          Curriculum Vitae of Yi-Wen Lai-
                                  Tremewan     403-C, H, R             Tremewan
PX0050                            Lai-         F, MIL, 403-P,          Composite Exhibit of Curricula
                                  Tremewan     403-C, H, R             Vitae of Charles Burst, Andrew
                                                                       Cass, Jacob Cheriff, Katie
                                                                       Gilchrest, Eleni Maltas, and
                                                                       Rebekah Wineman




                                                  4
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 6 of 161 PageID 67439

Exhibit     Date        Date                    Objections/Stipulated
 No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
PX0051                                                                  Withdrawn
                                  -

PX0052                                                                  Withdrawn
                                  -

PX0053                            Frendberg,    MIL, 403-P, 403-C, Excel Spreadsheet Titled
                                  Birenz        R, DUP of No. 54   20200303_de-
                                                                   duped_accountnumbers_AllCom
                                                                   plaintsv2.xlsx (Plaintiffs'
                                                                   Deposition Ex. 73)
                                                                   (BHN_00000814)
PX0054                            Frendberg     MIL, 403-P, 403-C, Ticket data (BHN_00000814)
                                                R, DUP of No. 53
PX0055                            Frendberg     MIL, 403-P, 403-C, 2013.00.00 Excel Spreadsheet
                                                R,                 Titled ECAT Match to
                                                                   AcctNums.xlsx
                                                                   (BHN_00003196)
PX0056                            Frendberg     MIL, H, 403-P,     Bright House Abuse & Security
                                                403-C, R           Team Ticket Log (Plaintiffs'
                                                                   Deposition Ex. 16)
                                                                   (BHN_00005115)
PX0057                            Frendberg     INC, MIL, F, 403- Excerpt of entries from
                                                P, 403-C, R        BHN_00005882 (Plaintiffs'
                                                                   Deposition Ex. 184)
PX0058                            Frendberg     F, H, MIL, 403-P,  2021.08.10 ESAT 3plus (for
                                                403-C, R           plaintiffs) (BHN_00007766)
PX0059                            Frendberg     F, H, MIL, 403-P,       2021.08.10 ESAT quarantines,
                                                403-C, R                not 3plus (for plaintiffs)
                                                                        (BHN_00007765)
PX0060                            Frendberg     F, H, MIL, 403-P,       Excel Spreadsheet titled
                                                403-C, R                20210908_ECAT_ESAT3ormore
                                                                        _ECATComments_UserComme
                                                                        ntsThruMay312016
                                                                        (BHN_00009064)
PX0061                            Frendberg     F, H, ID, MIL,          2012.03.02 Email from T.
                                                403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                        Broach, W. Futch, T. Hollifield,
                                                                        M. Johnson, T. Miller, T.
                                                                        Quincy, J. Robinson, C. Severts,
                                                                        A. Smith, A. Washington, and
                                                                        T. Wheeler Re: February security
                                                                        report - February 2012 and
                                                                        Attachment (Plaintiffs'
                                                                        Deposition Ex. 102)
                                                                        (BHN_00001962-



                                                   5
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 7 of 161 PageID 67440

Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                      BHN_00001973)

PX0062                            Frendberg   F, H, MIL, 403-P,       2012.03.00 BHN Security and
                                              403-C, R                Abuse Monthly Report March
                                                                      2012 (BHN_00002566-
                                                                      BHN_00002577)
PX0063                            Frendberg   F, H, ID, MIL,          2012.05.03 Email from T.
                                              403-P, 403-C, R         Frendberg to M. Tomasullo Re:
                                                                      April Security Report - April
                                                                      2012 (BHN_00004703-
                                                                      BHN_00004715)
PX0064                            Frendberg   F, H, MIL, 403-P,       2012.05.00 BHN Security and
                                              403-C, R                Abuse Monthly Report May
                                                                      2012 (BHN_00002591-
                                                                      BHN_00002604)
PX0065                            Frendberg   F, H, ID, MIL,          2012.07.02 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, M. Johnson,
                                                                      R. Marks, T. Miller, B. Mitchell,
                                                                      M. Molinaro, T. Quincy, J.
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, T.
                                                                      Wheeler, T. Hollifield, and M.
                                                                      Butler Re: June monthly security
                                                                      and abuse report attaching June
                                                                      2012 Security and Abuse
                                                                      Monthly Report
                                                                      (BHN_00001987-
                                                                      BHN_00002001)
PX0066                            Frendberg   F, H, ID, MIL,          2012.08.01 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, M. Johnson,
                                                                      T. Miller, B. Mitchell, M.
                                                                      Molinaro, T. Quincy, J.
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, T.
                                                                      Wheeler, T. Hollifield, M. Butler
                                                                      Re: July security report attached
                                                                      attaching July 2012 Security and
                                                                      Abuse Monthly Report
                                                                      (BHN_00002002-
                                                                      BHN_00002017)
PX0067                            Frendberg   F, H, MIL, 403-P,       2012.08.00 BHN Security and
                                              403-C, R                Abuse Monthly Report August
                                                                      2012 (BHN_00002634-
                                                                      BHN_00002646)


                                                 6
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 8 of 161 PageID 67441

Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0068                            Frendberg   F, H, ID, MIL,          2012.09.28 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, L. Greer, M.
                                                                      Johnson, T. Miller, B. Mitchell,
                                                                      M. Molinaro, T. Quincy, J.
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, T.
                                                                      Wheeler, T. Hollifield, and M.
                                                                      Butler Re: September Monthly
                                                                      Security and Abuse report
                                                                      attaching September 2012
                                                                      Security and Abuse Monthly
                                                                      Report (BHN_00002035-
                                                                      BHN_00002049)
PX0069                            Frendberg   F, H, ID, MIL,          2012.11.01 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, L. Greer, M.
                                                                      Johnson, T. Miller, B. Mitchell,
                                                                      M. Molinaro, T. Quincy, J.
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, T.
                                                                      Wheeler, and T. Hollifield Re:
                                                                      October Monthly Security report
                                                                      attaching October 2012 Security
                                                                      and Abuse Monthly Report
                                                                      (BHN_00002058-
                                                                      BHN_00002072)
PX0070                            Frendberg   F, H, ID, MIL,          2012.12.03 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, L. Greer, M.
                                                                      Johnson, T. Miller, B. Mitchell,
                                                                      M. Molinaro, T. Quincy, J.
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, and
                                                                      T. Wheeler Re: November
                                                                      security and abuse report
                                                                      attached attaching November
                                                                      2012 Security and Abuse
                                                                      Monthly Report
                                                                      (BHN_00002079-
                                                                      BHN_00002092)
PX0071                            Frendberg   F, H, ID, MIL,          2013.01.04 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, L. Greer, M.
                                                                      Johnson, T. Miller, B. Mitchell,
                                                                      M. Molinaro, T. Quincy, J.


                                                 7
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 9 of 161 PageID 67442

Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, and
                                                                      T. Wheeler Re: December
                                                                      monthly security report attached
                                                                      attaching December 2012
                                                                      Security and Abuse Monthly
                                                                      Report (BHN_00002093-
                                                                      BHN_00002107)
PX0072                            Frendberg   F, H, ID, MIL,          2013.02.04 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, L. Greer, M.
                                                                      Johnson, T. Miller, B. Mitchell,
                                                                      M. Molinaro, T. Quincy, J.
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, T.
                                                                      Wheeler, T. Hollifield, and M.
                                                                      Butler Re: Janaury monthly
                                                                      security and abuse report
                                                                      attaching January 2013 Security
                                                                      and Abuse Monthly Report
                                                                      (BHN_00002108-
                                                                      BHN_00002122)
PX0073                            Frendberg   F, H, ID, MIL,          2013.02.00 BHN Security and
                                              403-P, 403-C, R         Abuse Monthly Report February
                                                                      2013 (BHN_00002132-
                                                                      BHN_00002145)
PX0074                            Frendberg   F, H, ID, MIL,          2013.03.28 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                      Broach, W. Futch, L. Greer, M.
                                                                      Johnson, T. Miller, B. Mitchell,
                                                                      M. Molinaro, T. Quincy, J.
                                                                      Robinson, S. Rosas, C. Severts,
                                                                      A. Smith, A. Washington, T.
                                                                      Wheeler, T. Hollifield, and M.
                                                                      Butler Re: March security report
                                                                      attaching March 2013 Security
                                                                      and Abuse Monthly Report
                                                                      (BHN_00002158-
                                                                      BHN_00002172)
PX0075                            Frendberg   F, H, ID, MIL,          2013.04.00 BHN Security and
                                              403-P, 403-C, R         Abuse Monthly Report April
                                                                      2013 (BHN_00002176-
                                                                      BHN_00002188)
PX0076                            Frendberg   F, H, ID, MIL,          2013.05.31 Email from T.
                                              403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                      Futch, L. Greer, M. Johnson, T.


                                                 8
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 10 of 161 PageID 67443

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       Miller, B. Mitchell, M.
                                                                       Molinaro, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, A.
                                                                       Washington, T. Wheeler, T.
                                                                       Hollifield, and M. Butler Re:
                                                                       May security report attaching
                                                                       May 2013 Security and Abuse
                                                                       Monthly Report
                                                                       (BHN_00002189-
                                                                       BHN_00002202)
PX0077                             Frendberg   F, H, ID, MIL,          2013.06.00 BHN Security and
                                               403-P, 403-C, R         Abuse Monthly Report June
                                                                       2013 (Plaintiffs' Deposition Ex.
                                                                       3) (BHN_00002774-
                                                                       BHN_00002785)
PX0078                             Frendberg   F, H, ID, MIL,          2013.07.02 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, T.
                                                                       Miller, B. Mitchell, M.
                                                                       Molinaro, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, and A.
                                                                       Washington Re: June Security
                                                                       Report and Attachment
                                                                       (Plaintiffs' Deposition Ex. 45)
                                                                       (BHN_00004895-
                                                                       BHN_00004907)
PX0079                             Frendberg   F, H, ID, MIL,          2013.08.01 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, D
                                                                       Williams, and B. Osterman Re:
                                                                       monthly security report attaching
                                                                       July 2013 Security and Abuse
                                                                       Monthly Report
                                                                       (BHN_00002203-
                                                                       BHN_00002217)
PX0080                             Frendberg   F, H, ID, MIL,          2013.08.00 BHN Security and
                                               403-P, 403-C, R         Abuse Monthly Report August
                                                                       2013 (Plaintiffs' Deposition Ex.
                                                                       204) (BHN_00002219-
                                                                       BHN_00002231)
PX0081                             Frendberg   F, H, ID, MIL,          2013.09.03 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.


                                                  9
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 11 of 161 PageID 67444

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, D.
                                                                       Williams, and B. Osterman Re:
                                                                       Monthly security report for
                                                                       August and Attachment
                                                                       (Plaintiffs' Deposition Ex. 126)
                                                                       (BHN_00002218-
                                                                       BHN_00002231)
PX0082                             Frendberg   F, H, ID, MIL,          2013.11.01 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       October monthly security report
                                                                       attaching October 2013 Security
                                                                       and Abuse Monthly Report
                                                                       (BHN_00004908-
                                                                       BHN_00004921)
PX0083                             Frendberg   F, H, ID, MIL,          2013.09.30 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       Corporate monthly security
                                                                       report attached attaching
                                                                       September 2013 Security and
                                                                       Abuse Monthly Report
                                                                       (BHN_00002234-
                                                                       BHN_00002247)
PX0084                             Frendberg   F, H, ID, MIL,          2013.12.03 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       November monthly report
                                                                       attaching November 2013
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00002263-
                                                                       BHN_00002287)


                                                 10
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 12 of 161 PageID 67445

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
PX0085                             Frendberg   F, H, ID, MIL,          2014.01.06 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       December security report
                                                                       attaching December 2013
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00001743-
                                                                       BHN_00001754)
PX0086                             Frendberg   F, H, ID, MIL,          2014.02.03 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       January monthly security and
                                                                       abuse report attaching January
                                                                       2014 Security and Abuse
                                                                       Monthly Report
                                                                       (BHN_00001755-
                                                                       BHN_00001766)
PX0087                             Frendberg   F, H, ID, MIL,          2014.03.04 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       January monthly security and
                                                                       abuse report attaching February
                                                                       2014 Security and Abuse
                                                                       Monthly Report
                                                                       (BHN_00001767-
                                                                       BHN_00001778)
PX0088                             Frendberg   F, H, MIL, 403-P,       2014.03.00 BHN Security and
                                               403-C, R                Abuse Monthly Report March
                                                                       2014 (BHN_00003230-
                                                                       BHN_00003240)
PX0089                             Frendberg   F, H, ID, MIL,          2014.04.02 Email from T.
                                               403-P, 403-C, R         Frendberg to J. Birenz, R.
                                                                       Brooks, W. Futch, M. Johnson,
                                                                       T. Miller, J. Scazzaro, J.


                                                 11
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 13 of 161 PageID 67446

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       Schrandt, A. Steinhauer, N.
                                                                       Bergman, L. Greer, R. Marks, B.
                                                                       Mitchell, M. Molinaro, B.
                                                                       Osterman, J. Robinson, S.
                                                                       Rosas, C. Severts, A. Smith, and
                                                                       D. Williams Re: March Security
                                                                       Report (Plaintiffs' Deposition Ex.
                                                                       76) (BHN_00003228-
                                                                       BHN_00003240)
PX0090                             Frendberg   F, H, ID, MIL,          2014.05.02 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       April monthly security and abuse
                                                                       report attaching April 2014
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00001779-
                                                                       BHN_00001791)
PX0091                             Frendberg   F, H, ID, MIL,          2014.06.04 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       May monthly security and abuse
                                                                       report attaching May 2014
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00001792-
                                                                       BHN_00001804)
PX0092                             Frendberg   F, H, ID, MIL,          2014.07.02 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       June monthly security and abuse
                                                                       report attaching June 2014
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00001805-
                                                                       BHN_00001816)




                                                 12
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 14 of 161 PageID 67447

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
PX0093                             Frendberg   F, H, ID, MIL,          2014.08.01 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       July monthly security and abuse
                                                                       report attaching July 2014
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00001817-
                                                                       BHN_00001828)
PX0094                             Frendberg   F, H, ID, MIL,          2014.08.29 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       August monthly security and
                                                                       abuse report attaching August
                                                                       2014 Security and Abuse
                                                                       Monthly Report
                                                                       (BHN_00004778-
                                                                       BHN_00004789)
PX0095                             Frendberg   F, H, ID, MIL,          2014.10.31 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, M.
                                                                       Molinaro, B. Osterman, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       October monthly security and
                                                                       abuse report attaching October
                                                                       2014 Security and Abuse
                                                                       Monthly Report
                                                                       (BHN_00001829-
                                                                       BHN_00001841)
PX0096                             Frendberg   F, H, ID, MIL,          2014.12.03 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, R.
                                                                       Marks, T. Miller, B. Mitchell, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and D. Williams Re:
                                                                       November monthly security and
                                                                       abuse report attaching November


                                                 13
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 15 of 161 PageID 67448

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions             Description of Exhibit
                                                                  2014 Security and Abuse
                                                                  Monthly Report
                                                                  (BHN_00001842-
                                                                  BHN_00001854)
PX0097                             Frendberg   F, H, ID, MIL,     2014.12.26 Email from T.
                                               403-P, 403-C, R    Frendberg to N. Bergman, W.
                                                                  Futch, L. Greer, M. Johnson, R.
                                                                  Marks, T. Miller, B. Mitchell, J.
                                                                  Robinson, S. Rosas, C. Severts,
                                                                  A. Smith, and D. Williams Re:
                                                                  December monthly security and
                                                                  abuse report attaching December
                                                                  2014 Security and Abuse
                                                                  Monthly Report
                                                                  (BHN_00001855-
                                                                  BHN_00001867)
PX0098                             Frendberg   F, H, ID, MIL,     2015.02.02 Email from T.
                                               403-P, 403-C, R    Frendberg to N. Bergman, W.
                                                                  Futch, L. Greer, M. Johnson, R.
                                                                  Marks, T. Miller, B. Mitchell, J.
                                                                  Robinson, S. Rosas, C. Severts,
                                                                  A. Smith, and D. Williams Re:
                                                                  January monthly security and
                                                                  abuse report attaching January
                                                                  2015 Security and Abuse
                                                                  Monthly Report
                                                                  (BHN_00001868-
                                                                  BHN_00001880)
PX0099                             Frendberg   DUP of PX-100      2015.02.26 Email from T.
                                               and 101, F, H, ID, Frendberg to N. Bergman, W.
                                               MIL, 403-P, 403-C, Futch, L. Greer, M. Johnson, R.
                                               R                  Marks, T. Miller, B. Mitchell, J.
                                                                  Robinson, S. Rosas, C. Severts,
                                                                  A. Smith, and D. Williams Re:
                                                                  February Security and Abuse
                                                                  Report and Attachment
                                                                  (Plaintiffs' Deposition Ex. 305)
                                                                  (BHN_00001881-
                                                                  BHN_00001893)
PX0100                             Frendberg   DUP of PX-99 and 2015.02.00 BHN Security and
                                               101, F, H, ID,     Abuse Monthly Report February
                                               MIL, 403-P, 403-C, 2015 (Plaintiffs' Deposition Ex.
                                               R                  205) (BHN_00001882-
                                                                  BHN_00001893)
PX0101                             Frendberg   DUP of PX-99 and 2015.02.26 Email from T.
                                               PX-100, F, H, ID,  Frendberg to N. Bergman, W.


                                                 14
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 16 of 161 PageID 67449

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions             Description of Exhibit
                                               MIL, 403-P, 403-C, Futch, L. Greer, M. Johnson, R.
                                               R                  Marks, T. Miller, B. Mitchell, J.
                                                                  Robinson, S. Rosas, C. Severts,
                                                                  A. Smith, and D. Williams Re:
                                                                  February Security and Abuse
                                                                  Report (Plaintiffs' Deposition Ex.
                                                                  127) (BHN_00001881-
                                                                  BHN_00001893)
PX0102                             Frendberg   F, H, ID, MIL.     2015.04.03 Email from T.
                                               403-P, 403-C, R    Frendberg to N. Bergman, W.
                                                                  Futch, L. Greer, M. Johnson, R.
                                                                  Marks, T. Faulkenberry, T.
                                                                  Miller, B. Mitchell, J. Robinson,
                                                                  S. Rosas, C. Severts, A. Smith,
                                                                  and D. Williams Re: monthly
                                                                  security and abuse report for
                                                                  March attaching March 2015
                                                                  Security and Abuse Monthly
                                                                  Report (BHN_00001894-
                                                                  BHN_00001906)
PX0103                             Frendberg   F, H, ID, MIL,     2015.04.00 BHN Security and
                                               403-P, 403-C, R    Abuse Monthly Report April
                                                                  2015 (Plaintiffs' Deposition Ex.
                                                                  4) (BHN_00004923-
                                                                  BHN_00004934)
PX0104                             Frendberg   F, H, ID, MIL,     2015.06.04 Email from T.
                                               403-P, 403-C, R    Frendberg to N. Bergman, W.
                                                                  Futch, L. Greer, M. Johnson, R.
                                                                  Marks, T. Faulkenberry, B.
                                                                  Mitchell, J. Robinson, S. Rosas,
                                                                  C. Severts, A. Smith, and D.
                                                                  Williams Re: monthly security
                                                                  and abuse report for May
                                                                  attaching May 2015 Security and
                                                                  Abuse Monthly Report
                                                                  (BHN_00001907-
                                                                  BHN_00001920)
PX0105                             Frendberg   F, H, ID, MIL,     2015.07.02 Email From T.
                                               403-P, 403-C, R    Frendberg to N. Bergman, T.
                                                                  Faulkenberry, W. Futch, L.
                                                                  Greer, M. Johnson, R. Marks, T.
                                                                  Miller, B. Mitchell, J. Robinson,
                                                                  S. Rosas, C. Severts, A. Smith,
                                                                  and D. Williams Re: June
                                                                  security and abuse report
                                                                  attached (Plaintiffs' Deposition


                                                 15
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 17 of 161 PageID 67450

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Ex. 129) (BHN_00001921-
                                                                       BHN_00001935)
PX0106                             Frendberg   F, H, ID, MIL,          2015.08.03 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, T.
                                                                       Faulkenberry, W. Futch, L.
                                                                       Greer, M. Johnson, R. Marks, B.
                                                                       Mitchell, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, and D.
                                                                       Williams cc: A. Martineau Re:
                                                                       July Monthly Security Report -
                                                                       July 2015 (BHN_00001936-
                                                                       BHN_00001948)
PX0107                             Frendberg   F, H, MIL, 403-P,       2015.08.00 BHN Security and
                                               403-C, R                Abuse Monthly Report August
                                                                       2015 (BHN_00003073-
                                                                       BHN_00003082)
PX0108                             Frendberg   F, H, ID, MIL,          2015.010.02 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, T.
                                                                       Faulkenberry, W. Futch, L.
                                                                       Greer, M. Johnson, R. Marks, B.
                                                                       Mitchell, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, and D.
                                                                       Williams Re: security and abuse
                                                                       report for September attaching
                                                                       September 2015 Security and
                                                                       Abuse Monthly Report
                                                                       (BHN_00001949-
                                                                       BHN_00001959)
PX0109                             Frendberg   F, H, ID, MIL,          2015.11.02 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, T.
                                                                       Faulkenberry, W. Futch, L.
                                                                       Greer, M. Johnson, R. Marks, B.
                                                                       Mitchell, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, and D.
                                                                       Williams Re: October Security
                                                                       and Abuse report attaching
                                                                       October 2015 Security and
                                                                       Abuse Monthly Report
                                                                       (BHN_00004800-
                                                                       BHN_00004811)
PX0110                             Frendberg   DUP of PX-110, F,       2015.12.03 Email from T.
                                               H, ID, MIL, 403-P,      Frendberg to N. Bergman, T.
                                               403-C, R                Faulkenberry, W. Futch, L.
                                                                       Greer, M. Johnson, R. Marks, B.
                                                                       Mitchell, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, and D.


                                                 16
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 18 of 161 PageID 67451

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Williams Re: November Security
                                                                       and Abuse report and
                                                                       Attachment (Plaintiffs'
                                                                       Deposition Ex. 134)
                                                                       (BHN_00004812-
                                                                       BHN_00004824)
PX0111                             Frendberg   DUP of PX-111, F,       2015.11.00 BHN Security and
                                               H, ID, MIL, 403-P,      Abuse Monthly Report
                                               403-C, R                November 2015 (Plaintiffs'
                                                                       Deposition Ex. 210)
                                                                       (BHN_00004813-
                                                                       BHN_00004824)
PX0112                             Frendberg   DUP of PX-114, F,       2015.12.00 BHN Security and
                                               H, MIL, 403-P,          Abuse Monthly Report
                                               403-C, R                December 2015 (Plaintiffs'
                                                                       Deposition Ex. 20)
                                                                       (BHN_00003116-
                                                                       BHN_00003129)
PX0113                             Frendberg   F, H, ID, MIL,          2015.12.28 Email from T.
                                               403-P, 403-C, R         Frendberg to N. Bergman, T.
                                                                       Faulkenberry, W. Futch, L.
                                                                       Greer, M. Johnson, R. Marks, B.
                                                                       Mitchell, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, D.
                                                                       Williams, and T. Hollifield Re:
                                                                       December Security and Abuse
                                                                       report attaching December 2015
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00004825-
                                                                       BHN_00004839)
PX0114                             Frendberg   DUP of PX-112, F,       2015.12.00 BHN Security and
                                               H, MIL, 403-P,          Abuse Monthly Report
                                               403-C, R                December 2015 (Plaintiffs'
                                                                       Deposition Ex. 64)
                                                                       (BHN_00003116-
                                                                       BHN_00003129)
PX0115                             Frendberg   DUP of PX-117, F,       2016.02.02 Email from T.
                                               H, MIL, 403-P,          Frendberg to M. Tomasullo Re:
                                               403-C, R                January Security and Abuse
                                                                       report attaching January 2016
                                                                       Security and Abuse Monthly
                                                                       Report (BHN_00004196-
                                                                       BHN_00004211)
PX0116                             Frendberg   F, H, MIL, 403-P,       2016.01.00 BHN Security and
                                               403-C, R                Abuse Monthly Report January
                                                                       2016 (Plaintiffs' Deposition Ex.


                                                 17
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 19 of 161 PageID 67452

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions               Description of Exhibit
                                                                       21) (BHN_00003130-
                                                                       BHN_00003144)
PX0117                             Frendberg   DUP of PX-115, F,  2016.01.00 BHN Security and
                                               H, ID, MIL, 403-P, Abuse Monthly Report January
                                               403-C, R           2016 (Plaintiffs' Deposition Ex.
                                                                  209) (BHN_00004197-
                                                                  BHN_00004211)
PX0118                             Frendberg   DUP of PX-119      2016.02.00 BHN Security and
                                               and 120, F, H, ID, Abuse Monthly Report February
                                               MIL, 403-P, 403-C, 2016 (Plaintiffs' Deposition Ex.
                                               R                  5) (BHN_00004851-
                                                                  BHN_00004863)
PX0119                             Frendberg   DUP of PX-118      2016.03.02 Email from T.
                                               and 120, F, H, ID, Frendberg to N. Bergman, T.
                                               MIL, 403-P, 403-C, Faulkenberry, W. Futch, L.
                                               R                  Greer, M. Johnson, R. Marks, B.
                                                                  Mitchell, J. Robinson, S. Rosas,
                                                                  C. Severts, A. Smith, D.
                                                                  Williams, T. Hollifield, and A.
                                                                  Martineau Re: Feb. Security and
                                                                  Abuse Monthly Report and
                                                                  Attachment (Plaintiffs'
                                                                  Deposition Ex. 110)
                                                                  (BHN_00004850-
                                                                  BHN_00004863)
PX0120                             Frendberg   DUP of PX-118      2016.03.02 Email from T.
                                               and 119, F, H, ID, Frendberg to N. Bergman, T.
                                               MIL, 403-P, 403-C, Faulkenberry, W. Futch, L.
                                               R                  Greer, M. Johnson, R. Marks, B.
                                                                  Mitchell, J. Robinson, S. Rosas,
                                                                  C. Severts, A. Smith, D.
                                                                  Williams, T. Hollifield, and A.
                                                                  Martineau Re: Feb. Security and
                                                                  Abuse Monthly Report and
                                                                  Attachment (Plaintiffs'
                                                                  Deposition Ex. 46)
                                                                  (BHN_00004850-
                                                                  BHN_00004863)
PX0121                             Frendberg   F, H, ID, MIL,     2016.04.01 Email from T.
                                               403-P, 403-C, R    Frendberg to N. Bergman, T.
                                                                  Faulkenberry, W. Futch, L.
                                                                  Greer, M. Johnson, R. Marks, B.
                                                                  Mitchell, J. Robinson, S. Rosas,
                                                                  C. Severts, A. Smith, D.
                                                                  Williams, T. Hollifield, and A.
                                                                  Martineau Re: March Security


                                                 18
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 20 of 161 PageID 67453

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                 Description of Exhibit
                                                                         and Abuse Monthly Report
                                                                         attaching March 2016 Security
                                                                         and Abuse Monthly Report
                                                                         (BHN_00004864-
                                                                         BHN_00004877)
PX0122                             Frendberg     F, H, ID, MIL,          2016.05.02 Email from T.
                                                 403-P, 403-C, R         Frendberg to N. Bergman, T.
                                                                         Faulkenberry, W. Futch, L.
                                                                         Greer, M. Johnson, R. Marks, B.
                                                                         Mitchell, J. Robinson, S. Rosas,
                                                                         C. Severts, A. Smith, D.
                                                                         Williams, T. Hollifield, and A.
                                                                         Martineau Re: April Security
                                                                         and Abuse Monthly Report
                                                                         attaching April 2016 Security
                                                                         and Abuse Monthly Report
                                                                         (BHN_00004878-
                                                                         BHN_00004891)
PX0123                             Frendberg     F, H, MIL, 403-P,       2016.05.00 BHN Security and
                                                 403-C, R                Abuse Monthly Report May
                                                                         2016 (BHN_00003184-
                                                                         BHN_00003195)
PX0124                             Tomasullo     1006, F, H, INC,        Compilation of BHN Security
                                                 ID, MIL, NA, NB,        and Abuse Monthly Reports
                                                 NE 403-P, 403-C,        (Plaintiffs' Deposition Ex. 47)
                                                 R
PX0125                             Frendberg     1006, F, H, INC,        Compilation of Security and
                                                 ID, MIL, NA, NB,        Abuse Reports from Mar. 2012,
                                                 NE 403-P, 403-C,        Sept. 2012, Feb. 2013 - June
                                                 R                       2013, Aug. 2013 - Sept. 2013,
                                                                         Nov. 2013, Mar. 2014 - Apr.
                                                                         2014, Feb. 2015, June 2015 -
                                                                         Sept. 2015, Nov. 2015 - Dec.
                                                                         2015, Feb. 2016 - Apr. 2016
                                                                         (Plaintiffs' Deposition Ex. 178)
PX0126                                                                   Withdrawn
                                   -

PX0127                             Futch         DUP of PX-126, F,       2012.03.05 Email from W. Futch
                                                 H, ID, MIL, 403-P,      to S. Miron and N. Bergman, cc:
                                                 403-C, R                A. Awad, B. Brennan, K.
                                                                         Broach, J. Chen, L. Cloutier, S.
                                                                         Colafrancsco, C. Cowden, J.
                                                                         Doctor, W. Futera, P. Hagan, K.
                                                                         Hord, K. Hyman, M. Johnson,
                                                                         K. Kramersmeier, N. Lenoci, K.
                                                                         Maki, R. Segers, T. Stewart, M.


                                                   19
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 21 of 161 PageID 67454

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Wasserstrom, M. Wilbur, E.
                                                                       Wiser, M. Robertson Re:
                                                                       February 2012 Monthly Report -
                                                                       Customer Care and Attachments
                                                                       (Plaintiffs' Deposition Ex. 119)
                                                                       (BHN_00001565-
                                                                       BHN_00001569)
PX0128                             Futch       F, H, ID, MIL,          2012.06.05 Email from W. Futch
                                               403-P, 403-C, R         to C. Cowden, B. Brennan, K.
                                                                       Broach, J. Chen, S.
                                                                       Colafrancesco, J. Doctor, K.
                                                                       Hord, M. Johnson, K.
                                                                       Kramersmeier, N. Lenoci, K.
                                                                       Maki, M. Robertson, T. Stewart,
                                                                       M. Wilbur, M. Wasserstrom, E.
                                                                       Wiser, P. Hagan, A. Awad, R.
                                                                       Segers, S. Laris, and D. Marvin
                                                                       cc: S. Miron, N. Bergman, K.
                                                                       Hyman, W. Futera, L. Cloutier
                                                                       Re: Monthly Report - Customer
                                                                       Care - May 2012
                                                                       (BHN_00006181-
                                                                       BHN_00006185)
PX0129                             Futch       F, H, ID, MIL,          2012.08.03 Email from W. Futch
                                               403-P, 403-C, R         to C. Cowden, B. Brennan, K.
                                                                       Broach, J. Chen, S.
                                                                       Colafrancesco, J. Doctor, K.
                                                                       Hord, M. Johnson, K.
                                                                       Kramersmeier, K. Maki, M.
                                                                       Robertson, T. Stewart, M.
                                                                       Wilbur, M. Wasserstrom, E.
                                                                       Wiser, P. Hagan, A. Awad, R.
                                                                       Segers, S. Laris, and D. Marvin
                                                                       cc: S. Miron, N. Bergman, K.
                                                                       Hyman, W. Futera, L. Cloutier
                                                                       Re: Monthly Report - Customer
                                                                       Care - July 2012
                                                                       (BHN_00002019-
                                                                       BHN_00002026)
PX0130                             Futch       F, H, ID, MIL,          2012.09.05 Email from W. Futch
                                               403-P, 403-C, R         to M. Wasserstrom, A. Awad, B.
                                                                       Brennan, K. Broach, J. Chen, S.
                                                                       Colafrancesco, C. Cowden, J.
                                                                       Doctor, P. Hagan, K. Hord, M.
                                                                       Johnson, K. Kramersmeier, S.
                                                                       Laris, K. Maki, D. Marvin, M.


                                                 20
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 22 of 161 PageID 67455

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Robertson, R. Segers, T. Stewart,
                                                                       M. Wilbur, E. Wiser cc: S.
                                                                       Miron, N. Bergman, K. Hyman,
                                                                       W. Futera, L. Cloutier Re:
                                                                       August 2012 Monthly Report -
                                                                       Customer Care (BHN_00002028-
                                                                       BHN_00002034)
PX0131                             Futch       F, H, ID, MIL,          2012.10.05 Email from W. Futch
                                               403-P, 403-C, R         to M. Wasserstrom, B. Brennan,
                                                                       K. Broach, J. Chen, S.
                                                                       Colafrancesco, C. Cowden, J.
                                                                       Doctor, P. Hagan, K. Hord, M.
                                                                       Johnson, K. Kramersmeier, S.
                                                                       Laris, K. Maki, D. Marvin, M.
                                                                       Molinaro, M. Robertson, R.
                                                                       Segers, T. Stewart, M. Wilbur,
                                                                       and E. Wiser cc: S. Miron, N.
                                                                       Bergman, K. Hyman, W. Futera,
                                                                       L. Cloutier Re: September 2012
                                                                       Monthly Report - Customer Care
                                                                       (BHN_00002053-
                                                                       BHN_00002057)
PX0132                             Futch       F, H, ID, MIL,          2012.11.05 Email from W. Futch
                                               403-P, 403-C, R         to B. Brennan, K. Broach, J.
                                                                       Chen, S. Colafrancesco, C.
                                                                       Cowden, J. Doctor, P. Hagan,
                                                                       K. Hord, M. Johnson, K.
                                                                       Kramersmeier, S. Laris, K.
                                                                       Maki, D. Marvin, M. Molinaro,
                                                                       M. Robertson, R. Segers, T.
                                                                       Stewart, M. Wasserstrom, M.
                                                                       Wilbur, and E. Wiser cc: S.
                                                                       Miron, N. Bergman, K. Hyman,
                                                                       W. Futera, L. Cloutier Re:
                                                                       Monthly Report - Customer
                                                                       Care: Oct. 2012
                                                                       (BHN_00004749-
                                                                       BHN_00004754)
PX0133                             Futch       F, H, ID, MIL,          2013.03.05 Email from W. Futch
                                               403-P, 403-C, R         to S. Miron, N. Bergman cc: B.
                                                                       Brennan, K. Broach, J. Chen, L.
                                                                       Cloutier, S. Colafrancesco, C.
                                                                       Cowden, J. Doctor, W. Futera,
                                                                       P. Hagan, K. Hord, K. Hyman,
                                                                       M. Johnson, K. Kramersmeier,
                                                                       S. Laris, K. Maki, D. Marvin, M.


                                                 21
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 23 of 161 PageID 67456

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Molinaro, R. Segers, T. Stewart,
                                                                       M. Wasserstrom, M. Wilbur, E.
                                                                       Wiser, J. Ebert Re: Customer
                                                                       Care Monthly - February 2013
                                                                       (BHN_00002147-
                                                                       BHN_00002157)
PX0134                             Futch       F, H, ID, MIL,          2013.04.05 Email from W. Futch
                                               403-P, 403-C, R         to S. Miron, N. Bergman cc: B.
                                                                       Brennan, K. Broach, J. Chen, L.
                                                                       Cloutier, C. Cowden, J. Doctor,
                                                                       J. Ebert, W. Futera, P.Hagan, K.
                                                                       Hord, K. Hyman, M. Johnson,
                                                                       K. Kramersmeier, S. Laris, K.
                                                                       Maki, D. Marvin, M. Molinaro,
                                                                       R. Segers, T. Stewart, M.
                                                                       Wasserstrom, M. Wilbur, E.
                                                                       Wiser, M. Robertson, S. Martin,
                                                                       S. Colafrancesco Re: Customer
                                                                       Care Monthly - March (Plaintiffs'
                                                                       Deposition Ex. 124)
                                                                       (BHN_00004755-
                                                                       BHN_00004765)
PX0135                             Futch       F, H, ID, MIL,          2013.09.05 Email from W. Futch
                                               403-P, 403-C, R         to M. Wasserstrom, B. Brennan,
                                                                       J. Chen, S. Colafrancesco, C.
                                                                       Cowden, J. Doctor, J. Ebert, P.
                                                                       Hagan, K. Hord, M. Johnson, K.
                                                                       Kramersmeier, S. Laris, K.
                                                                       Maki, D. Marvin, M. Molinaro,
                                                                       M. Robertson, R. Segers, T.
                                                                       Stewart, L. Cloutier, and W.
                                                                       Futera cc: S. Miron, N.
                                                                       Bergman, K. Hyman Re: April
                                                                       2013 Monthly Report - Customer
                                                                       Care (BHN_00007204-
                                                                       BHN_00007213)
PX0136                             Futch       F, H, ID, MIL,          2013.09.06 Email from W. Futch
                                               403-P, 403-C, R         to W. Futch, M. Wasserstrom, J.
                                                                       Chen, S. Colafrancesco, C.
                                                                       Cowden, J. Doctor, J. Ebert, P.
                                                                       Hagan, K. Hord, M. Johnson, K.
                                                                       Kramersmeier, S. Laris, K.
                                                                       Maki, D. Marvin, M. Molinaro,
                                                                       M. Robertson, R. Segers, T.
                                                                       Stewart, L. Cloutier, and W.
                                                                       Futera cc: S. Miron, N.


                                                 22
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 24 of 161 PageID 67457

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Bergman, K. Hyman Re: August
                                                                       2013 Monthly Report - Customer
                                                                       Care (BHN_00007181-
                                                                       BHN_00007193)
PX0137                             Futch       F, H, ID, MIL,          2013.10.07 Email from W. Futch
                                               403-P, 403-C, R         to B. Brennan, J. Chen, S.
                                                                       Colafrancesco, C. Cowden, J.
                                                                       Doctor, J. Ebert, P. Hagan, K.
                                                                       Hord, M. Johnson, K.
                                                                       Kramersmeier, S. Laris, K.
                                                                       Maki, D. Marvin, M. Molinaro,
                                                                       J. Perlman, M. Robertson, R.
                                                                       Segers, T. Stewart, and M.
                                                                       Wasserstrom cc: S. Miron, N.
                                                                       Bergman, K. Hyman, W. Futera,
                                                                       L. Cloutier Re: Care Monthly -
                                                                       September (BHN_00002249-
                                                                       BHN_00002260)
PX0138                             Futch       F, H, ID, MIL,          2013.11.05 Email from W. Futch
                                               403-P, 403-C, R         to B. Brennan, J. Chen, S.
                                                                       Colafrancesco, C. Cowden, J.
                                                                       Doctor, J. Ebert, P. Hagan, K.
                                                                       Hord, M. Johnson, K.
                                                                       Kramersmeier, S. Laris, K.
                                                                       Maki, D. Marvin, M. Molinaro,
                                                                       J. Perlman, M. Robertson, R.
                                                                       Segers, T. Stewart, and M.
                                                                       Wasserstrom cc: S. Miron, N.
                                                                       Bergman, K. Hyman, W. Futera,
                                                                       L. Cloutier Re: Care Monthly -
                                                                       October and Attachment
                                                                       (BHN_00001649-
                                                                       BHN_00001658)
PX0139                             Futch       F, H, ID, MIL,          2013.12.05 Email from W. Futch
                                               403-P, 403-C, R         to M. Molinaro, B. Brennan, J.
                                                                       Chen, S. Colafrancesco, J.
                                                                       Doctor, K. Hord, M. Johnson,
                                                                       K. Kramersmeier, K. Maki, M.
                                                                       Robertson, T. Stewart, M.
                                                                       Wasserstrom, P. Hagan, R.
                                                                       Segers, S.Laris, D. Marvin, J.
                                                                       Ebert, J. Perlman, C. Cowden,
                                                                       W. Futera, and L. Cloutier cc: S.
                                                                       Miron, N. Bergman, K. Hyman
                                                                       Re: November Monthly Report -
                                                                       Customer Care (BHN_00002289-


                                                 23
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 25 of 161 PageID 67458

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       BHN_00002296)

PX0140                             Futch       F, H, ID, MIL,          2014.01.06 Email from W. Futch
                                               403-P, 403-C, R         to M. Molinaro, B. Brennan, J.
                                                                       Chen, S. Colafrancesco, C.
                                                                       Cowden, J. Doctor, J. Ebert, P.
                                                                       Hagan, K. Hord, M. Johnson, K.
                                                                       Kramersmeier, S.Laris, K. Maki,
                                                                       D. Marvin, A. Mason, M.
                                                                       Molinaro, J. Perlman, M.
                                                                       Robertson, R. Segers, T. Stewart,
                                                                       L. Cloutier, and W. Futera cc: S.
                                                                       Miron, N. Bergman, K. Hyman
                                                                       Re: December 2013 Monthly
                                                                       Report - Customer Care
                                                                       (BHN_00006220-
                                                                       BHN_00006227)
PX0141                             Futch       F, H, ID, MIL,          2015.07.06 Email from W. Futch
                                               403-P, 403-C, R         to Staff Notes Re: June 2015
                                                                       Customer Care Monthly
                                                                       (BHN_00007333-
                                                                       BHN_00007342)
PX0142                             Futch       F, H, ID, MIL,          2016.01.05 Email from W. Futch
                                               403-P, 403-C, R         to Staff Notes Re: Customer
                                                                       Care Monthly Report -
                                                                       December 2015
                                                                       (BHN_00004840-
                                                                       BHN_00004849)
PX0143                             Futch       F, H, ID, MIL,          2016.02.05 Email from W. Futch
                                               403-P, 403-C, R         to Staff Notes Re: Customer
                                                                       Care - January 2016 Monthly
                                                                       Report (BHN_00001681-
                                                                       BHN_00001690)
PX0144                             Futch       F, H, ID, MIL,          2016.03.06 Email from W. Futch
                                               403-P, 403-C, R         to Staff Notes Re: Customer
                                                                       Care Monthly Report - February
                                                                       16 (BHN_00001691-
                                                                       BHN_00001700)
PX0145                             Futch       F, H, ID, MIL,          2016.05.04 Email from W. Futch
                                               403-P, 403-C, R         to Staff Notes Re: Customer
                                                                       Care Monthly Report - April
                                                                       2016 (BHN_00001701-
                                                                       BHN_00001710)
PX0146                             Frendberg   F, H, MIL, 403-P,       Excel Spreadsheet titled
                                               403-C, R                CSOC_Metrics_April_2017
                                                                       (BHN_00009125)


                                                 24
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 26 of 161 PageID 67459

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
PX0147                             Frendberg   F, H, ID, MIL,          2015.09.08 Appointment invite
                                               403-P, 403-C, R         from T. Frendberg to T.
                                                                       Hollifield Re: Discuss copyright
                                                                       (Plaintiffs' Deposition Ex. 190)
                                                                       (BHN_00002305-
                                                                       BHN_00002307)
PX0148                             Frendberg   F, H, ID, MIL,          2015.12.02 Email from T.
                                               403-P, 403-C, R         Frendberg to M. Tomasullo Re:
                                                                       all complaints, and the next high
                                                                       volume batch (Plaintiffs'
                                                                       Deposition Ex. 194)
                                                                       (BHN_00002384;
                                                                       BHN_00002386)
PX0149                             Frendberg   F, H, ID, MIL,          Excel Spreadsheet Titled
                                               403-P, 403-C, R         summary all complaint
                                                                       report.xlsx (Plaintiffs' Deposition
                                                                       Ex. 194A) (BHN_00002385)
PX0150                             Frendberg   F, H, ID, MIL,          Excel Spreadsheet Titled Mail
                                               403-P, 403-C, R         Merge Source, nov 30 batch.xlsx
                                                                       (Plaintiffs' Deposition Ex. 194B)
                                                                       (BHN_00002387)
PX0151                             Frendberg   F, H, ID, MIL,          Excel Spreadsheet Titled Final
                                               403-P, 403-C, R         Warning, running report.xlsx
                                                                       (Plaintiffs' Deposition Ex. 194C)
                                                                       (BHN_00002388)
PX0152                             Frendberg   F, H, ID, 403-P,        2016.01.06 Email from T.
                                               403-C, R                Frendberg to M. Tomasullo Re:
                                                                       template for final warning
                                                                       (Plaintiffs' Deposition Ex.
                                                                       194D/195) (BHN_00002419-
                                                                       BHN_00002422)
PX0153                             Frendberg   F, H, ID, 403-P,        2016.01.08 Email chain between
                                               403-C, R                T. Frendberg, J. Hendrickson,
                                                                       and W. Futch Re: Customer
                                                                       Security B246 (Plaintiffs'
                                                                       Deposition Ex. 183)
                                                                       (BHN_00002439-
                                                                       BHN_00002447)
PX0154                             Frendberg   F, H, ID, 403-P,        2016.01.25 Email from M.
                                               403-C, R                Tomasullo to T. Frendberg Re:
                                                                       CRC - Continuing Activity
                                                                       (Plaintiffs' Deposition Ex. 196)
                                                                       and Attachment
                                                                       (BHN_00002474-
                                                                       BHN_00002481)



                                                 25
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 27 of 161 PageID 67460

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
PX0155                             Frendberg   F, H, ID, 403-P,        2016.03.12 Email from A. Ferrar
                                               403-C, R                to M. Tomasullo cc: T.
                                                                       Frendberg Re: quarantined
                                                                       connection of subscriber
                                                                       (Plaintiffs' Deposition Ex. 199)
                                                                       (BHN_00002520)
PX0156                             Frendberg   F, H, ID, 403-P,        2015.10.19 Email chain between
                                               403-C, R                T. Frendberg, S. Horne, K.
                                                                       Maki, L. Mott, W. Futch, and J.
                                                                       Robinson Re: copyright letter,
                                                                       dated September 25 (Plaintiffs'
                                                                       Deposition Ex. 191)
                                                                       (BHN_00003864-
                                                                       BHN_00003866)
PX0157                             Frendberg   F, H, ID, 403-P,        2016.04.07 Email exchange
                                               403-C, R                between M. Tomasullo, T.
                                                                       Frendberg, S. Horne, A.
                                                                       Washington, L. Mott, W. Futch,
                                                                       C. Harrison, J. Birenz, and J.
                                                                       Robinson Re: termination of
                                                                       high speed (Plaintiffs' Deposition
                                                                       Ex. 200) (BHN_00004651)
PX0158                             Frendberg   F, H, ID, 403-P,        Excel Spreadsheet Titled
                                               403-C, R                20160802 final warning
                                                                       copyright montly pivots.xlsx
                                                                       (Plaintiffs' Deposition Ex. 198)
                                                                       (BHN_00005003)
PX0159                             Frendberg   H, 403-P, 1002, F       Communication from BHN
                                                                       subscriber Account Number
                                                                       0035579600-09 re my past
                                                                       Torrent activities (Plaintiffs'
                                                                       Deposition Ex. 192)
                                                                       (BHN_00005987)
PX0160                             Frendberg   F, H, ID, 403-P,        2015.11.11 Email from M.
                                               403-C, R                Tomasullo to T. Frendberg Re:
                                                                       ECAT Review and Comments
                                                                       (Plaintiffs' Deposition Ex. 193)
                                                                       (BHN_00007439-
                                                                       BHN_00007445)
PX0161                             Frendberg   F, H, ID, INC,          2016.03.11 Email from M.
                                               403-P, 403-C, R         Tomasullo to T. Frendberg Re:
                                                                       Copyright Complaints (Plaintiffs'
                                                                       Deposition Ex. 189)
                                                                       (BHN_00007555)
PX0162                             Frendberg   F, H, ID, INC,          2016.01.20 Email from T.
                                               403-P, 403-C, R         Frendberg to M. Tomasullo Re:


                                                 26
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 28 of 161 PageID 67461

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                  CRC Final Notifications as of
                                                                  1/19/2016 (Plaintiffs' Deposition
                                                                  Ex. 197) (BHN_00008541-
                                                                  BHN_00008542)
PX0163                             Frendberg   F, H, ID, INC,     Excel Spreadsheet Titled
                                               403-P, 403-C, R    20160120 Copy of Final
                                                                  Notification Status - 01192016,
                                                                  updated by TF.xlsx (Plaintiffs'
                                                                  Deposition Ex. 197A)
                                                                  (BHN_00008543)
PX0164                             Frendberg   F, H, ID, INC, NB, Excerpt of entries from
                                               NE, 403-P, 403-C, BHN_00007766 (Plaintiffs'
                                               R                  Deposition Ex. 185)
PX0165                             Frendberg   H, 403-C, 403-P,   2021.09.13 Defendant Bright
                                               1002, F, R         House Networks' Supplemental
                                                                  Responses and Objections to
                                                                  Plaintiffs' Second Requests for
                                                                  Admissions (Nos. 10-20)
                                                                  (Plaintiffs' Deposition Ex. 187)
PX0166                             Frendberg   F, H, NA, NB, NE, T. Frendberg LinkedIn Profile
                                               403-P, 403-C, R
PX0167                             Frendberg   MIL, F, H, LA,          2015.11.05 Email from M.
                                               403-P, 403-C, R         Tomasullo to T. Frendberg Re:
                                                                       Rights Corp Top 5 - Update
                                                                       (BHN_00005246)
PX0168                             Frendberg   MIL, F, H, LA,          Attachment to BHN_00005246 -
                                               403-P, 403-C, R,        Excel spreadsheet Titled Top
                                               PROFANITY               Five from RightsCorp.xlsx
                                                                       (BHN_00005247)
PX0169                             Frendberg   MIL, F, H, ID,          2015.11.09 Email from M.
                                               403-P, 403-C, R         Tomasullo to T. Frendberg Re:
                                                                       Special CRC five
                                                                       (BHN_00005248)
PX0170                             Frendberg   MIL, F, H, ID,          Attachment to BHN_00005248 -
                                               LA, 403-P, 403-C,       Excel spreadsheet Titled Top
                                               R                       Five from RightsCorp
                                                                       (BHN_00005249)
PX0171                             Frendberg   F, H, ID, INC,          2016.04.20 Email from M.
                                               403-P, 403-C, R         Tomasullo to T. Frendberg Re:
                                                                       The New Report Feature in
                                                                       ECAT (BHN_00002541)
PX0172                             Frendberg   F, H, ID, INC,          Attachment to BHN_00002541 -
                                               403-P, 403-C, R         Excel spreadsheet Titled
                                                                       CCSEARCH (6).xlsx
                                                                       (BHN_00002542)



                                                 27
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 29 of 161 PageID 67462

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
PX0173                             Frendberg   F, H, ID, 403-P,        2016.02.04 Appointment invite
                                               403-C, R                from V. Chambers to C.
                                                                       Droessler, T. Frendberg, and M.
                                                                       Jagannathan cc: T Raykoff Re:
                                                                       ECAT discussion
                                                                       (BHN_00002485-
                                                                       BHN_00002485)
PX0174                             Frendberg   H, 403-P, 1002, F       2016.03.14 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement / Your
                                                                       Account #5961439-05
                                                                       (BHN_00006081)
PX0175                             Frendberg   H, 403-P, 1002, F       2016.03.14 Letter Response to
                                                                       Final Warning Letter - with
                                                                       handwritten note from T.
                                                                       Frendberg (BHN_00006013)
PX0176                             Frendberg                           2016.03.15 Letter Response to
                                                                       Final Warning Letter
                                                                       (BHN_00006092)
PX0177                             Frendberg   F, H, ID, 403-P,        2016.01.09 Email chain between
                                               403-C, R                T. Frendberg and M. Tomasullo,
                                                                       customer re: Turned On and
                                                                       Back Off Again?
                                                                       (BHN_00002448)
PX0178                             Frendberg   F, H, ID, INC,          2016.03.09 Email chain between
                                               403-P, 403-C, R         T. Frendberg, M. Tomasullo Re:
                                                                       re-start internet
                                                                       (BHN_00005258)
PX0179                             Frendberg   F, H, ID, INC,          Attachment to BHN_00005258 -
                                               403-P, 403-C, R         Excel Spreadsheet Titled re-start
                                                                       internet (BHN_00005259)
PX0180                             Frendberg   F, H, ID, 403-P,        2012.05.14 Email chain between
                                               403-C, R                T. Frendberg, D. Usher, G.
                                                                       Doda, M. Johnson, and K. Maki
                                                                       Re: Security Policy Blog Post
                                                                       (BHN_00001594-
                                                                       BHN_00001596)
PX0181                             Frendberg   F, H, ID, 403-P,        2016.02.25 Email chain between
                                               403-C, R                K, Rowett-O'Neil, T. Frendberg,
                                                                       M. Tomasullo, and J. Neuman
                                                                       Re: Copyright infringement
                                                                       Serve ticket# 824346 Last Name
                                                                       _____ (BHN_00002497-
                                                                       BHN_00002502)
PX0182                             Frendberg   H, 403-P, 1002, F       2015.11.18 Y. Peter Kang, Cox
                                                                       Must Face Copyright Suit Over


                                                 28
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 30 of 161 PageID 67463

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       User Piracy

PX0183                             Frendberg   F, H, ID, 403-P,        2013.03.00 March 2013 Security
                                               403-C, R                Update & Voice Update
                                                                       presentation (BHN_00001633-
                                                                       BHN_00001641)
PX0184                             Frendberg   F, H, ID, 403-P,        2013.05.00 May 2013 Voice and
                                               403-C, R                Security Update
                                                                       (BHN_00001642-
                                                                       BHN_00001648)
PX0185                             Frendberg   F, 403-C, H, R          2014.12.00 Bright House
                                                                       Networks Copyright Automation
                                                                       Tool, December 2014
                                                                       Presentation (BHN_00001659-
                                                                       BHN_00001663)
PX0186                             Frendberg   F, H, ID, 403-P,        2012.07.02 Email chain between
                                               403-C, R                T. Frendberg, T. Hollifield, N.
                                                                       Bergman, K. Broach, W. Futch,
                                                                       M. Johnson, T. Miller, B.
                                                                       Mitchell, M. Molinaro, T.
                                                                       Quincy, J. Robinson, S. Rosas,
                                                                       C. Severts, A. Smith, A.
                                                                       Washington, T. Wheeler, and M.
                                                                       Butler Re: June security report
                                                                       attached (BHN_00004893-
                                                                       BHN_00004894)
PX0187                             Frendberg   F, H, MIL, 403-P,       2016.05.00 Excel spreadsheet
                                               403-C, R                titled 201605 Knotice report
                                                                       (BHN_00005174)
PX0188                             Frendberg   MIL, F, H, INC,         2015.07.13 Email chain between
                                               ID, 403-P, 403-C,       L. Johnson, T. Frendberg, K.
                                               R                       Maki, J. Birenz, W. Futch, N.
                                                                       Bergman, M. Johnson, and A.
                                                                       Steinhauer Re: RightsCorp
                                                                       (BHN_00005216-
                                                                       BHN_00005219)
PX0189                             Frendberg                           2016.03.08 Bright House
                                                                       Networks Abuse Playbook
                                                                       (Plaintiffs' Deposition Ex. 2)
                                                                       (BHN_00000002-
                                                                       BHN_00000022)
PX0190                             Tomasullo   F, H, ID, 403-P,        2012.12.20 Email from M.
                                               403-C, R                Tomasullo to G. Ruiz, R.
                                                                       Kuszmar, R. Hughes, L. Nealy,
                                                                       and D. Robles cc: Ojeda Re:
                                                                       Ticket Processing (Plaintiffs'


                                                 29
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 31 of 161 PageID 67464

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        Deposition Ex. 22)
                                                                        (BHN_00001741)
PX0191                             Tomasullo    F, H, NA, NB, NE, M. Tomasullo LinkedIn Profile
                                                403-P, 403-C, R
PX0192                             Tomasullo    H, MIL, 403-P, R        2016.01.30 Email chain between
                                                                        M. Tomasullo, J. Birenz, T.
                                                                        Frendberg, C. Harrison, and S.
                                                                        Gaynor Re: IP-Echelon
                                                                        Copyright Agents
                                                                        (BHN_00005104-
                                                                        BHN_00005106)
PX0193                             Tomasullo    F, H, ID, 403-P,        2022.05.28 Email from M.
                                                403-C, R                Tomasullo to T. Frendberg Re:
                                                                        Cable Month - May - Corp
                                                                        Report and Attachment
                                                                        (BHN_00004716-
                                                                        BHN_00004729)
PX0194                             Tomasullo    F, H, ID, 403-P,        2016.01.25 Email from M.
                                                403-C, R                Tomasullo to T. Frendberg, C.
                                                                        Droessler, and B. Klimkowski
                                                                        Re: Third Party Copyright
                                                                        Claims (BHN_00005253-
                                                                        BHN_00005257)
PX0195                             Tomasullo    H, 403-P, 1002, F       2016.01.09 Email chain between
                                                                        M. Tomasullo and T. Frendberg
                                                                        Re: Message from _____
                                                                        (3343542812) (BHN_00002452)
PX0196                             Tomasullo    F, H, ID, 403-P,        2015.11.24 Email chain between
                                                403-C, R                T. Frendberg and M. Tomasullo
                                                                        Re: FYI (BHN_00002355)
PX0197                             TBD                                  2012.05.04 BHN High Speed
                                                                        Data Acceptable Use Policy
                                                                        (Plaintiffs' Deposition Ex. 48)
                                                                        (BHN_00000816-
                                                                        BHN_00000817)
PX0198                             Frendberg,   F, H, ID, 403-P,        2016.01.15 Email chain between
                                   Tomasullo    403-C, R                M. Tomasullo, T. Frendberg,
                                                                        and C. Droessler Re: Multiple E-
                                                                        mails Received (Plaintiffs'
                                                                        Deposition Ex. 49)
                                                                        (BHN_00002463-
                                                                        BHN_00002464)
PX0199                             Frendberg,   F, H, ID, 403-P,        2012.04.06 Email chain between
                                   Tomasullo    403-C, R                T. Frendberg, M. Tomasullo,
                                                                        and D. Ramos Re: copyright


                                                  30
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 32 of 161 PageID 67465

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                 Description of Exhibit
                                                                        emails (Plaintiffs' Deposition Ex.
                                                                        50) (BHN_00004700-
                                                                        BHN_00004702)
PX0200                             Frendberg,   F, H, ID, 403-P,        2015.11.06 Email chain between
                                   Tomasullo    403-C, R                T. Frendberg and M. Tomasullo
                                                                        Re: ECAT Dash Stats (Plaintiffs'
                                                                        Deposition Ex. 51)
                                                                        (BHN_00002335-
                                                                        BHN_00002336)
PX0201                             Frendberg,   INC, MIL, F, H,         Excerpt of BHN_00005115 –
                                   Tomasullo    403-P, 403-C, R         Rows Related to IP Address
                                                                        50.88.86.28 and
                                                                        ModemID_MAC 0019477f43f0
                                                                        (Plaintiffs' Deposition Ex. 52)
PX0202                             Frendberg,   INC, MIL, F, H,         Excerpt of BHN_00005115 –
                                   Tomasullo    403-P, 403-C, R         Rows Related to IP Address
                                                                        174.84.235.198 and
                                                                        ModemID_MAC 906ebbd17294
                                                                        (Plaintiffs' Deposition Ex. 53)
PX0203                             Frendberg,   INC, MIL, F, H,         Excerpt of BHN_00005115 –
                                   Tomasullo    403-P, 403-C, R         Rows Related to
                                                                        ModemID_MAC 00237455011a
                                                                        (Plaintiffs' Deposition Ex. 54)
PX0204                             Frendberg,   INC, MIL, F, H,         Excerpt of BHN_00005115 –
                                   Tomasullo    403-P, 403-C, R         Rows Related to
                                                                        ModemID_MAC 0016b538f220
                                                                        (Plaintiffs' Deposition Ex. 55)
PX0205                             Frendberg,   MIL, F, H, ID,          2015.10.30 Email chain between
                                   Tomasullo    LA, MD, 403-P,          T. Frendberg, M. Tomasullo, J.
                                                403-C, R, 1006          Birenz, M. Johnson, W. Futch,
                                                                        N. Bergman, J. Steinhauer, C.
                                                                        Harrison, R. Steele, C. Sabec,
                                                                        and C. Harmon Re: Bright
                                                                        House Networks/Bright House
                                                                        Repeat Infringers - Top 5
                                                                        (Plaintiffs' Deposition Ex. 56)
                                                                        (BHN_00003903-
                                                                        BHN_00003906)
PX0206                             Frendberg,   MIL, F, H, ID,          Rightscorp List of BHN Repeat
                                   Tomasullo    LA, MD, 403-P,          Infringers (Plaintiffs' Deposition
                                                403-C, R                Ex. 57) (BHN_00003907-
                                                                        BHN_00004072)
PX0207                             Frendberg,   MIL, F, H, ID,          Rightscorp Slide Re: BHN
                                   Tomasullo    LA, MD, 403-P,          Repeat Infringers (Plaintiffs'
                                                403-C, R                Deposition Ex. 58)
                                                                        (BHN_00004073)


                                                  31
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 33 of 161 PageID 67466

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                 Description of Exhibit
PX0208                             Frendberg,   MIL, DUP of PX     2015.11.04 Email from M.
                                   Tomasullo    167, 169, F, H, LA,Tomasullo to T. Frendberg Re:
                                                MD, 403-P, 403-C,  Top 5 from RightsCorp - Update
                                                R                  (Plaintiffs' Deposition Ex. 59)
                                                                   (BHN_00005244)
PX0209                             Frendberg,   MIL, F, H, ID,     Rightscorp Spreadsheet Re: Top
                                   Tomasullo    LA, 403-P, 403-C,  5 infringers (Plaintiffs'
                                                R, PROFANITY       Deposition Ex. 60)
                                                                   (BHN_00005245)
PX0210                             Frendberg,   MIL, DUP of PX     2016.01.07 Email from M.
                                   Tomasullo    420, F, H, ID, LA, Tomasullo to T. Frendberg
                                                MD, 403-P, 403-C, forwarding Third Party
                                                R                  Copyright Claim
                                                                   (BHN_00002423-
                                                                   BHN_00002424)
PX0211                             Frendberg,   F, H, ID, 403-P,   2016.02.24 Email chain between
                                   Tomasullo    403-C, R           M. Tomasullo, T. Frendberg,
                                                                   and J. Neuman Re: [WC-
                                                                   3343838] Pending-FCC-Orlando
                                                                   (Central) (BHN_00002493-
                                                                   BHN_00002496)
PX0212                             Hughes       F, H, NB, NE, 403- R. Hughes LinkedIn Profile
                                                P, 403-C, R        (Plaintiffs' Deposition Ex. 61)
PX0213                             Frendberg,   F, H, ID, 403-P,        2015.12.08 Email chain between
                                   Tomasullo,   403-C, R                M. Tomasullo, R. Hughes, and
                                   Hughes                               T. Frendberg Re: Copyright
                                                                        Letter Sent to Account
                                                                        559149308 (Plaintiffs' Deposition
                                                                        Ex. 62) (BHN_00002399-
                                                                        BHN_00002400)
PX0214                             Frendberg,   F, H, ID, 403-P,        2015.12.10 Email chain between
                                   Tomasullo,   403-C, R                M. Tomasullo, T. Frendberg,
                                   Hughes                               and R. Hughes Re: FedEx
                                                                        Copyright Notification For
                                                                        Account 372574801 (Plaintiffs'
                                                                        Deposition Ex. 63)
                                                                        (BHN_00002401-
                                                                        BHN_00002402)
PX0215                             Frendberg,   F, H, ID, 403-P,        2013.09.23 R. Kuszmar Work
                                   Kuszmar      403-C, R                Log Note (Plaintiffs' Deposition
                                                                        Ex. 23) (BHN_00000913)
PX0216                             Sutterby     H, 403-P, 1002, F,      2021.06.10 Plaintiffs’ Notice of
                                                NB, R, 403-C, NE        Deposition to Defendant Bright
                                                                        House Networks, LLC Pursuant
                                                                        to Federal Rule of Civil
                                                                        Procedure 30(b)(6) (Plaintiffs'


                                                  32
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 34 of 161 PageID 67467

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Deposition Ex. 166)

PX0217                             Sutterby    H, 403-P, 1002, F       Excel spreadsheet prepared for
                                                                       monthly meeting (Plaintiffs'
                                                                       Deposition Ex. 167)
                                                                       (BHN_00007782)
PX0218                             Sutterby    H, 403-P, 1002, F,      2015.01.00 Network Engineering
                                               703, 403-C, R           Problem Management 2015-01
                                                                       Presentation (Plaintiffs'
                                                                       Deposition Ex. 168)
                                                                       (BHN_00007784-
                                                                       BHN_00007798)
PX0219                             Sutterby    H, 403-P, 1002, F,      2015.05.00 Network Engineering
                                               703, 403-C, R           Sandvine & SamKnows 2015-05
                                                                       (Plaintiffs' Deposition Ex. 169)
                                                                       (BHN_00007995-
                                                                       BHN_00008007)
PX0220                             Sutterby    H, 403-P, 1002, F,      Price quote from Sandvine to
                                               703, 403-C, R           Bright House (Plaintiffs'
                                                                       Deposition Ex. 170)
                                                                       (BHN_SANDVINE_2_187)
PX0221                             Sutterby    H, 403-P, 1002, F,      2014.11.00 Network Engineering
                                               703, 403-C, R           Procera & SamKnows (Plaintiffs'
                                                                       Deposition Ex. 171)
                                                                       (BHN_00007876-
                                                                       BHN_00007884)
PX0222                             Sutterby    H, 403-P, 1002, F,      2015.03.00 Network Engineering
                                               703, 403-C, R           Sandvine Review 2015-03
                                                                       (Plaintiffs' Deposition Ex. 172)
                                                                       (BHN_00008179-
                                                                       BHN_00008188)
PX0223                             Sutterby    H, 403-P, 1002, F,      2012.08.02 Email chain between
                                               703,R                   T. Hollifield, L. Cloutier, C.
                                                                       Cowden, J. McDaniel, T.
                                                                       Garcia, J. Chattin, and D.
                                                                       Switzer Re: Procera Reports
                                                                       (Plaintiffs' Deposition Ex. 173)
                                                                       (BHN_00005327)
PX0224                             Sutterby    703, F, H, 403-P,       2012.07.23 Bright House
                                               403-C, R, 1002          Networks Traffic Overview for
                                                                       week 2012-07-23 (Plaintiffs'
                                                                       Deposition Ex. 174)
                                                                       (BHN_00005343-
                                                                       BHN_00005356)




                                                  33
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 35 of 161 PageID 67468

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
PX0225                             Sutterby    703, F, H, 403-P,  2015.01.13 Sandvine BHN
                                               403-C, R, 1002     Updates PowerPoint (Plaintiffs'
                                                                  Deposition Ex. 175)
                                                                  (Sandvine_BHN2_906)
PX0226                             Sutterby                       2013.01.16 Bright House
                                                                  Networks - Our Policies High
                                                                  Speed Data Acceptable Use
                                                                  Policy (Plaintiffs' Deposition Ex.
                                                                  176) (BHN_00000818-
                                                                  BHN_00000819)
PX0227                             Sutterby    DUP of No. 226     2013.01.16 Bright House
                                                                  Networks - Our Policies High
                                                                  Speed Data Acceptable Use
                                                                  Policy (Plaintiffs' Deposition Ex.
                                                                  237) (BHN_00000818-
                                                                  BHN_00000819)
PX0228                             Sutterby    F, H, ID, 403-P,   2011.06.06 Fraud, Security, and
                                               403-C, R           Abuse Executive Briefing
                                                                  (Plaintiffs' Deposition Ex. 177)
                                                                  (BHN_00008410-
                                                                  BHN_00008436)
PX0229                             Futch       F, H, NB, NE, 403- W. Futch LinkedIn Profile
                                               P, 403-C, R
PX0230                             Frendberg   H, 403-C, 403-P,        2012.09.03 Email chain between
                                               1002, F                 J. Scazzaro, W. Futch, L. Mott,
                                                                       R. Books, T. Frendberg, C.
                                                                       O'Neil, and B. Artz Re: Voice
                                                                       and Security initiatives update
                                                                       (BHN_00006406-
                                                                       BHN_00006407)
PX0231                             Frendberg   H, 403-C, 403-P,        2012.11.01 Email from T.
                                               1002, F                 Frendberg to C. O'Neill, W.
                                                                       Futch, J. Scazzaro, J. Schrandt,
                                                                       B. Artz, and L. Mott Re: voice
                                                                       and security update on initiatives
                                                                       (BHN_00006426-
                                                                       BHN_00006427)
PX0232                             Frendberg   H, 403-C, 403-P,        2015.07.01 Email from T.
                                               1002, F                 Frendberg to C. O'Neill, W.
                                                                       Futch, J. Scazzaro, J. Schrandt,
                                                                       and M. Mitchell Re: voice
                                                                       update for June
                                                                       (BHN_00007246-
                                                                       BHN_00007252)




                                                 34
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 36 of 161 PageID 67469

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                 Description of Exhibit
PX0233                             Frendberg    H, 403-C, 403-P,        2016.03.02 Email from T.
                                                1002, F                 Frendberg to S. Beck, W. Futch,
                                                                        J. Scazzaro, J. Schrandt, and M.
                                                                        Mitchell Re: voice update for
                                                                        February (BHN_00002506-
                                                                        BHN_00002513)
PX0234                             Bergman,     F, H, ID, 403-P,        2012.04.06 Email chain between
                                   Johnson      403-C, R                N. Bergman, M. Johnson, K.
                                                                        Maki, W. Futch, P. Henson, D.
                                                                        Walsh, A. Washington, T. Ball,
                                                                        and Indiana Customersupport
                                                                        Re: RIAA Email Example from
                                                                        Indianapolis (BHN_00001561-
                                                                        BHN_00001564)
PX0235                             Frendberg,   F, H, ID, 403-P,        2013.04.17 Email chain between
                                   Tomasullo    403-C, R                T. Frendberg, A. Steinhauer, W.
                                                                        Futch, and M. Johnson Re:
                                                                        ECAT - 1st Manual Suspension -
                                                                        Pending/PRIVILGED
                                                                        (BHN_00005110-
                                                                        BHN_00005112)
PX0236                             Frendberg    F, H, ID, 403-P,        2013.09.03 Email chain between
                                                403-C, R                T. Wilson, J. Dosher, T.
                                                                        Frendberg, W. Futch, and L.
                                                                        Zook Re: copyright complaints
                                                                        (BHN_00003781-
                                                                        BHN_00003782)
PX0237                             Frendberg,   MIL, F, H, ID,          2015.06.11 Email chain between
                                   Tomasullo    403-P, 403-C, R         T. Frendberg, J. Birenz, A.
                                                                        Steinhauer, and W. Futch Re:
                                                                        RightsCorp (BHN_00003823-
                                                                        BHN_00003826)
PX0238                             Frendberg    F, H, ID, 403-P,        2015.09.28 Email from T.
                                                403-C, R                Frendberg to D. Williams, C.
                                                                        DelCastillo, S. Horne, D. Wade,
                                                                        M. Champagne, and J. Dosher
                                                                        cc: W. Futch Re: copyright letter,
                                                                        dated September 25
                                                                        (BHN_00003857-
                                                                        BHN_00003859)
PX0239                             Frendberg    F, H, ID, 403-P,        2015.10.19 Email chain between
                                                403-C, R                L. Mott, T. Frendberg, S. Horne,
                                                                        K. Maki, W. Futch, J. Robinson,
                                                                        D. Williams, C. DelCastillo, S.
                                                                        Horne, D. Wade, M.
                                                                        Champagne, and J. Dosher Re:


                                                  35
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 37 of 161 PageID 67470

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       copyright letter, dated September
                                                                       25 (BHN_00003867-
                                                                       BHN_00003868)
PX0240                             Frendberg   F, H, ID, 403-P,        2016.01.13 Email chain between
                                               403-C, R                W. Futch, L. Mott, T.
                                                                       Frendberg, J. Scazzaro, R.
                                                                       Weber, and R. Newhouse Re:
                                                                       Copyright Notification
                                                                       (BHN_00002455-
                                                                       BHN_00002458)
PX0241                             Frendberg   F, H, ID, 403-P,        2016.05.11 Email chain between
                                               403-C, R                T. Frendberg, M. Champagne,
                                                                       D. DiFiore, L. Mott, C.
                                                                       Kavanaugh, R. McCann, W.
                                                                       Futch, C. Harrison, J. Birenz,
                                                                       and J. Robinson Re: HIS
                                                                       terminations (BHN_00004656-
                                                                       BHN_00004657)
PX0242                             Frendberg   F, H, ID, 403-P,        2012.10.26 Email chain between
                                               403-C, R                A. Powell, D. Usher, C. Tinberg,
                                                                       D. Dozier, J. Kelly, S. Ledlow,
                                                                       J. Scazzaro, R. Brooks, M.
                                                                       Salinsa, J. Hall, R. Anglewicz,
                                                                       R. Spencer, S. Mungale, V.
                                                                       Chambers, D. Hernandez, P.
                                                                       Webb, R. Alex, R. Robinson, R.
                                                                       Glueck, K. Kellner, W. Fuitch,
                                                                       S. Lee, J. North, B Pascua, T.
                                                                       Chung, W. Fiero, and T.
                                                                       Frendberg Re: Billing System
                                                                       Consolidation - EDW Reports
                                                                       Meetings: Customer Care
                                                                       (BHN_00006411-
                                                                       BHN_00006415)
PX0243                             Frendberg   F, H, ID, INC,          Attachment to BHN_00006411
                                               403-P, 403-C, R         Customer Care: Meeting
                                                                       Minutes Reports Interview
                                                                       Session with SMEs
                                                                       (BHN_00006421-
                                                                       BHN_00006425)
PX0244                             Frendberg   F, MIL, 403-P,          2013.03.28 Email from T.
                                               403-C                   Frendberg to R. Brooks, W.
                                                                       Futch, M. Johnson, T. Miller, J.
                                                                       Scazzaro, J. Schrandt, A.
                                                                       Steinhauer, and T. Wheeler Re:
                                                                       ECAT, week 4 (BHN_00007034)


                                                 36
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 38 of 161 PageID 67471

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0245                             Frendberg    H: 1002, 403-C,         2013.09.05 Email chain between
                                                403-P, F                T. Frendberg, W. Futch, C.
                                                                        O'Neil, J. Scazzaro, J. Schrandt,
                                                                        L. Mott, and B. Artz Re: Update
                                                                        on Voice Initiatives
                                                                        (BHN_00002232-
                                                                        BHN_00002233)
PX0246                             Futch        F, H, ID, 403-P,        2014.12.29 Email chain between
                                                403-C, R                W. Futch, T. Miller, A. Adams,
                                                                        V. Scuro, J. Perlman, P. Hanson,
                                                                        and C. Gedmin Re: Walled
                                                                        Garden (BHN_00002297-
                                                                        BHN_00002300)
PX0247                             Frendberg,   MIL, F, H, ID,          2015.09.18 Email chain between
                                   Birenz,      403-P, 403-C, R         J. Birenz, N. Bergman, M.
                                   Harrison                             Johnson, W. Futch, T.
                                                                        Frendberg, A. Steinhauer, and C.
                                                                        Harrison Re: Bright House
                                                                        Networks - Rightscorp
                                                                        (BHN_00004791-
                                                                        BHN_00004793)
PX0248                             Frendberg,   H, 403-P                2015.11.05 Email chain between
                                   Birenz,                              T. Frendberg, J. Birenz, M.
                                   Harrison                             Johson, W. Futch, N. Bergman,
                                                                        A. Steinhauer, and C. Harrison
                                                                        Re: Bright House Networks
                                                                        (BHN_00003474-
                                                                        BHN_00003478)
PX0249                             Frendberg,   H, 403-P                2015.11.10 Email chain between
                                   Birenz,                              N. Bergman,W. Futch, T.
                                   Harrison                             Frendberg, J. Birenz, M.
                                                                        Johnson, A. Steinhauer, and C.
                                                                        Harrison Re: copyright updates
                                                                        (BHN_00003488-
                                                                        BHN_00003493)
PX0250                             Frendberg    F, H, ID, 403-P,        2014.04.01 Bright House
                                                403-C, R                Networks Fraud Management in
                                                                        a VolP Environment Follow Up
                                                                        (BHN_00008437-
                                                                        BHN_00008458)
PX0251                             Frendberg,   F, H, ID, 403-P,        2015.12.03 Email chain between
                                   Futch        403-C, R                W. Futch and T. Frendberg, Re:
                                                                        copyright program discussion
                                                                        (BHN_00008524-
                                                                        BHN_00008527)




                                                  37
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 39 of 161 PageID 67472

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
PX0252                                                                   Withdrawn
                                   -

PX0253                             Frendberg,    F, H, ID, 403-P,        2012.04.02 Email chain between
                                   Futch         403-C, R                T. Frendberg and W. Futch Re:
                                                                         What is phase 2 of dmca
                                                                         copyright tool? (Plaintiffs'
                                                                         Deposition Ex. 120)
                                                                         (BHN_00001573)
PX0254                             Frendberg,    F, H, ID, 403-P,        2012.04.05 Email chain between
                                   Futch         403-C, R                T. Frendberg and W. Futch Re:
                                                                         March Security Report
                                                                         (Plaintiffs' Deposition Ex. 121)
                                                                         (BHN_00005188-
                                                                         BHN_00005189)
PX0255                             Frendberg     F, H, ID, 403-P,        2012.05.01 Email exchange
                                                 403-C, R                between M. Johnson, T.
                                                                         Frendberg, and K. Rowett-
                                                                         O'Neil Re: RIAA Email
                                                                         Example from Indianapolis
                                                                         (Plaintiffs' Deposition Ex. 122)
                                                                         (BHN_00001975-
                                                                         BHN_00001978)
PX0256                             TBD           F, H, ID, NA, 403-      2015.03.26 Copyright Notice for
                                                 P, 403-C, R             Notice ID 222104530889
                                                                         (Plaintiffs' Deposition Ex. 1)
                                                                         (PL_BH_InfNotice_0109007)
PX0257                             Frendberg                             BHN Letter to Subscriber Re:
                                                                         Temporary Suspension
                                                                         (Plaintiffs' Deposition Ex. 10)
                                                                         (BHN_00001632)
PX0258                             Frendberg     F, H, ID, MIL,          2013.03.01 Email from T.
                                                 403-P, 403-C, R         Frendberg to N. Bergman, K.
                                                                         Broach, W. Futch, L. Greer, M.
                                                                         Johnson, T. Miller, B. Mitchell,
                                                                         M. Molinaro, T. Quincy, J.
                                                                         Robinson, S. Rosas, C. Severts,
                                                                         A. Smith, A. Washington, and
                                                                         T. Wheeler Re: February
                                                                         monthly security report
                                                                         (Plaintiffs' Deposition Ex. 123)
                                                                         (BHN_00002131-
                                                                         BHN_00002145)
PX0259                             Frendberg,    F, H, ID, 403-P,        2016.03.12 Email chain between
                                   Tomasullo     403-C, R                A. Ferrar, T. Frendberg, and M.
                                                                         Tomasullo Re: Redacted
                                                                         Customer Name Connection


                                                   38
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 40 of 161 PageID 67473

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        Quarantine (Plaintiffs'
                                                                        Deposition Ex. 11)
                                                                        (BHN_00002523-
                                                                        BHN_00002524)
PX0260                             Frendberg,   F, H, ID, MIL,          2013.04.12 Email exchange
                                   Futch        403-P, 403-C, R         between T. Frendberg and W.
                                                                        Futch Re: ECAT - 1st Manual
                                                                        Suspension - Pending (Plaintiffs'
                                                                        Deposition Ex. 125)
                                                                        (BHN_00003761-
                                                                        BHN_00003763)
PX0261                             Frendberg    F, H, ID, 403-P,        2013.08.09 A. Ferrar Work Log
                                                403-C, R                Note (Plaintiffs' Deposition Ex.
                                                                        13) (BHN_00000909)
PX0262                             Frendberg    F, H, ID, 403-P,        2013.08.24 A. Ferrar Work Log
                                                403-C, R                Note (Plaintiffs' Deposition Ex.
                                                                        14) (BHN_00000908)
PX0263                             Frendberg    F, H, ID, 403-P,        2013.10.10 A. Ferrar Work Log
                                                403-C, R                Note (Plaintiffs' Deposition Ex.
                                                                        15) (BHN_00000917)
PX0264                             Frendberg    F, H, ID, MIL,          2015.04.05 Email chain between
                                                403-P, 403-C, R         N. Bergman, T. Frendberg, W.
                                                                        Futch, S. Paulus, J. Birenz, A.
                                                                        Steinhauer, and M. Johnson Re:
                                                                        CAP (Plaintiffs' Deposition Ex.
                                                                        128) (BHN_00003241)
PX0265                             Frendberg                            Final Copyright Warning
                                                                        Process Description (Plaintiffs'
                                                                        Deposition Ex. 17)
                                                                        (BHN_00000001)
PX0266                             Futch        F, H, ID, MIL 403-      2015.10.05 Email W. Futch to
                                                P, 403-C, R             Staff Notes Re: September 2015
                                                                        Monthly Report - Customer Care
                                                                        and Attachment (Plaintiffs'
                                                                        Deposition Ex. 130)
                                                                        (BHN_00001664-
                                                                        BHN_00001674)
PX0267                             Frendberg                            Example of Final Warning Letter
                                                                        (Plaintiffs' Deposition Ex. 18)
                                                                        (BHN_00002420-
                                                                        BHN_00002421)
PX0268                             Frendberg    H, 1002, 403-P, F       2013.05.15 Email chain between
                                                                        T. Frendberg W. Futch, B. Artz,
                                                                        C. Gedmin, S. Bhakta, D.
                                                                        Familo, D. Sheehan, T. Bradley,
                                                                        L. Stepnikoeski, V. Gallaher, A.


                                                  39
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 41 of 161 PageID 67474

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                 Adams, T. Vinson, S. Newberg,
                                                                 S. Derry, L. Greer, M. Jacobs, J.
                                                                 Montgomery, A. Khan, J.
                                                                 Trybiak, D. Fournier, C. Crook,
                                                                 K. Sherwood, OMSe Ops
                                                                 Support, T. Adamski, C.
                                                                 Droessler, A. Soltani, A.
                                                                 Ericksen, L. Anderson, M. Alley,
                                                                 J. Kelly, D. Matthews, J. Batts,
                                                                 D. Keith, K. Stroud, M. Davis,
                                                                 E. Sarita, J. Valdez, B. Gallen,
                                                                 T. Chung, H. Fetner, B. Pascua,
                                                                 K. Smith, and R. Segers Re:
                                                                 Success!! BPS 2.0 2 (Plaintiffs'
                                                                 Deposition Ex. 131)
                                                                 (BHN_00007035-
                                                                 BHN_00007037)
PX0269                             TBD         F, H, NA, NB, NE, Ash Ferrar LinkedIn Profile
                                               403-P, 403-C, R   (Plaintiffs' Deposition Ex. 19)
PX0270                             Futch       F, H, ID, 403-P,        2015.07.05 Email from M.
                                               403-C, R                Mitchell to R. Brooks cc: W.
                                                                       Futch Re: Monthly Report - Care
                                                                       and Attachment (Plaintiffs'
                                                                       Deposition Ex. 132)
                                                                       (BHN_00007253-
                                                                       BHN_00007263)
PX0271                             Frendberg   F, H, ID, 403-P,        2016.02.03 Email chain between
                                               403-C, R                W. Futch, T. Frendberg Re:
                                                                       Abuse Logger issues with ECAT
                                                                       (Plaintiffs' Deposition Ex. 133)
                                                                       (BHN_00002482-
                                                                       BHN_00002483)
PX0272                             Frendberg   F, H, ID, 403-P,        2016.00.00 Attachment to
                                               403-C, R                BHN_00002482 - Complaint
                                                                       Resolution spreadsheet 01/19-
                                                                       02/02/2016 (BHN_00002484)
PX0273                             Frendberg   F, H, ID, 403-P,        2015.12.01 Email chain between
                                               403-C, R                T. Frendberg and W. Futch Re:
                                                                       copyright program discussion
                                                                       (Plaintiffs' Deposition Ex. 135)
                                                                       (BHN_00008520-
                                                                       BHN_00008523)
PX0274                             Frendberg   F, H, ID, 403-P,        2016.01.15 Email chain between
                                               403-C, R                W. Futch, T. Frendberg, D.
                                                                       Usher, T. Faulkenberry, and S.
                                                                       Horton Re: emailing copyright


                                                 40
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 42 of 161 PageID 67475

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        notifications with summary
                                                                        information (Plaintiffs'
                                                                        Deposition Ex. 136)
                                                                        (BHN_00002461-
                                                                        BHN_00002462)
PX0275                             Frendberg    H, 403-P: 403-C         2016.01.13 Email chain between
                                                                        J. Birenz, W. Futch, T.
                                                                        Frendberg, N. Bergman, M.
                                                                        Johnson, C. Harrison, and J.
                                                                        Perlman Re: emailing copyright
                                                                        notifications with summary
                                                                        information (Plaintiffs'
                                                                        Deposition Ex. 137)
                                                                        (BHN_00006290-
                                                                        BHN_00006291)
PX0276                             Frendberg,   H, 1002, 403-C,         2016.02.03 Email exchange
                                   Futch        403-P, F                between W. Futch, T. Frendberg,
                                                                        and B. Klimkowski Re: Notice
                                                                        emails from ECAT (Plaintiffs'
                                                                        Deposition Ex. 138)
                                                                        (BHN_00004975-
                                                                        BHN_00004976)
PX0277                             Frendberg    H, 1002, 403-C,         2016.02.03 Email exchange
                                                403-P, F                between W. Futch, T. Frendberg,
                                                                        and B. Klimkowski Re: Notice
                                                                        emails from ECAT (Plaintiffs'
                                                                        Deposition Ex. 180)
                                                                        (BHN_00004975-
                                                                        BHN_00004976)
PX0278                             Frendberg    INC, H, 1002, 403-      2016.04.01 Email from T.
                                                C, 403-P, F             Frendberg to S. Beck, W. Futch,
                                                                        J. Scazzaro, J. Schrandt, and M.
                                                                        Mitchell Re: voice update for
                                                                        March and Attachment
                                                                        (Plaintiffs' Deposition Ex. 139)
                                                                        (BHN_00002530-
                                                                        BHN_00002537)
PX0279                             Johnson      F, H, INC, NA,          M. Johnson LinkedIn Profile
                                                NB, NE, 403-P,
                                                403-C, R
PX0280                             Bergman,     F, H, ID, 403-P,        2016.05.05 Email chain between
                                   Johnson      403-C, R                K. Rowett-O'Neil, N. Bergman,
                                                                        and M. Johnson Re: RIAA
                                                                        Email example from
                                                                        Indianapolis (BHN_00005312-
                                                                        BHN_00005316)


                                                  41
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 43 of 161 PageID 67476

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0281                             Frendberg,   F, H, ID, 403-P,        2012.05.08 Email chain between
                                   Doda         403-C, R                T. Frendberg, G. Doda, and M.
                                                                        Johnson Re: Security Policy Blog
                                                                        Post (BHN_00001583-
                                                                        BHN_00001585)
PX0282                             Doda,        F, H, ID, 403-P,        2012.06.07 Email chain between
                                   Johnson      403-C, R                K. Maki, M. Johnson, M.
                                                                        Magliano, T. Frendberg, G.
                                                                        Doda, and D. Usher Re: Security
                                                                        Blog Post (BHN_00001624-
                                                                        BHN_00001626)
PX0283                             Sutterby     F, H, 403-P, 403-C,     2013.01.13 Email chain between
                                                R                       C. Cowden to S. Losty, N.
                                                                        Bergman, K. Hyman, S. Miron,
                                                                        L. Cloutier, M. Johnson, K.
                                                                        Maki, M. Robertson, A.
                                                                        Steinhauer, C. Harrison, R.
                                                                        Cherney, S. Martin, K.
                                                                        Kramersmeier, S. Buerkle, F.
                                                                        Festa, P. Tennant, and J.
                                                                        Hendrickson Re: Executive
                                                                        Debrief: Sam Knows/ Procera -
                                                                        Cowden and Attachment
                                                                        (BHN_00005420-
                                                                        BHN_00005430)
PX0284                             Sutterby     F, H, 403-P, 403-C,     2014.08.03 Email chain between
                                                R                       J. Hendrickson, S. Paulus, N.
                                                                        Bergman, S. Miron, L. Cloutier,
                                                                        S. Colafrancesco, C. Cowden,
                                                                        W. Futch, M. Johnson, K.
                                                                        Kramersmeier, K. Maki, A.
                                                                        Steinhauer, M. Robertson, C.
                                                                        Harrison, R. Cherney, S. Martin,
                                                                        S. Buerkle, A. Thompson, P.
                                                                        Cherry, P. Williams, F. Festa,
                                                                        and P. Tennant Re: Executive
                                                                        Debrief: Sam Knows Speed Test
                                                                        - Hendrickson and Attachment
                                                                        (BHN_00005643-
                                                                        BHN_00005652)
PX0285                             Frendberg    F, H, ID, 403-P,        2014.12.12 Email chain between
                                                403-C, R                T. Frendberg, J. Birenz, A.
                                                                        Steinhauer, W. Futch, M.
                                                                        Johnson, and C. Harrison Re:
                                                                        DMCA (BHN_00003809-
                                                                        BHN_00003813)


                                                  42
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 44 of 161 PageID 67477

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0286                             Frendberg,   MIL, F, H, ID,          2015.03.02 Email chain between
                                   Harrison,    403-P, 403-C, R         J. Birenz, N. Bergman, W.
                                   Birenz                               Futch, M. Johnson, T.
                                                                        Frendberg, A. Steinhauer, and C.
                                                                        Harrison Re: Rightscorp Letter
                                                                        (BHN_00005081-
                                                                        BHN_00005089)
PX0287                             Frendberg,   MIL, F, H, ID,          2015.10.28 Email from T.
                                   Johnson      403-P, R                Frendberg to M. Johnson Re:
                                                                        sample mail from Rightscorp, as
                                                                        we discussed this afternoon
                                                                        (BHN_00005242-
                                                                        BHN_00005243)
PX0288                             Frendberg    F, H, ID, 403-P,        2012.04.10 Email chain between
                                                403-C, R                T. Frendberg, M. Johnson, C.
                                                                        Droessler, B. Jones, and M.
                                                                        Battelle Re: Copyright triggers
                                                                        and Attachment (Plaintiffs'
                                                                        Deposition Ex. 37)
                                                                        (BHN_00003197-
                                                                        BHN_00003211)
PX0289                             Futch,       F, H, ID, 403-P,        2012.04.02 Email chain between
                                   Bergman      403-C, R                A. Awad, K. Hyman, E. Wiser,
                                                                        T. Chung, L. Wokoun, W.
                                                                        Futch, K. Kramersmeier, K.
                                                                        Maki, W. Futera, M. Robertson,
                                                                        T. Chung, C. Cowden, N.
                                                                        Bergman, J. Doctor, S.
                                                                        Colafrancesco, R. Segers, J.
                                                                        Chen, S. Miron, and S. Losty
                                                                        Re: Executive Debrief:
                                                                        Continuation of Update from
                                                                        Ala regarding Priorities and the
                                                                        intake / delivery process and
                                                                        Attachment (Plaintiffs'
                                                                        Deposition Ex. 38)
                                                                        (BHN_00005124-
                                                                        BHN_00005136)
PX0290                             Frendberg    F, H, ID, 403-P,        2012.05.03 Email from T.
                                                403-C, R                Frendberg to M. Johnson Re:
                                                                        ECAT update (Plaintiffs'
                                                                        Deposition Ex. 39)
                                                                        (BHN_00001582)
PX0291                             Frendberg    403-P                   2012.05.21 Email chain between
                                                                        T. Frendberg, M. Johnson, B.
                                                                        Jones, and C. Droessler Re:


                                                  43
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 45 of 161 PageID 67478

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                 Description of Exhibit
                                                                         Copyright Administration
                                                                         (ECAT) volume (Plaintiffs'
                                                                         Deposition Ex. 40)
                                                                         (BHN_00001612)
PX0292                             Frendberg     403-P, 403-C            2013.02.27 Email chain between
                                                                         T. Frendberg, M. Johnson, C.
                                                                         Droessler, S. Bhakta, M.
                                                                         Tomasullo, B. Jones, and T.
                                                                         Chung Re: ECAT will be in
                                                                         production as of 2/27 @ Noon
                                                                         (Plaintiffs' Deposition Ex. 41)
                                                                         (BHN_00002123-
                                                                         BHN_00002128)
PX0293                             Frendberg     F, H, ID, 403-P,        2012.05.01 Email chain between
                                                 403-C, R                T. Frendberg, M. Johnson, K.
                                                                         Rowett-O’Neil, K. Maki, W.
                                                                         Futch, and N. Bergman Re:
                                                                         RIAA Email Example from
                                                                         Indianapolis (Plaintiffs'
                                                                         Deposition Ex. 42)
                                                                         (BHN_00001578-
                                                                         BHN_00001581)
PX0294                             Frendberg,    F, H, ID, 403-P,        2012.05.09 Email chain between
                                   Johnson       403-C, R                M. Johnson, K. Maki, T.
                                                                         Frendberg, and G. Doda Re:
                                                                         Security Policy Blog Post
                                                                         (Plaintiffs' Deposition Ex. 43)
                                                                         (BHN_00005213-
                                                                         BHN_00005215)
PX0295                             Frendberg     F, H, ID, 403-P,        2013.02.28 Email from T.
                                                 403-C, R                Frendberg to W. Futch, M.
                                                                         Johnson, J. Scazzaro, and J.
                                                                         Schrandt Re: copyright notices,
                                                                         your opinion? (Plaintiffs'
                                                                         Deposition Ex. 44)
                                                                         (BHN_00002129-
                                                                         BHN_00002130)
PX0296                             Bergman       F, H, INC, NB,          N. Bergman LinkedIn Profile
                                                 NE, 403-P, 403-C,       (Plaintiffs' Deposition Ex. 100)
                                                 R
PX0297                             Knudsen,      Daubert 583, F, H,      Bright House Networks LLC,
                                   Furchtgott-   403-P, 403-C, R,        and Subsidiaries Consolidated
                                   Roth          703                     Financial Statements December
                                                                         31, 2015, 2014 and 2013
                                                                         (Plaintiffs' Deposition Ex. 101)
                                                                         (BHN_00000789-


                                                   44
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 46 of 161 PageID 67479

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       BHN_00000813)

PX0298                             Bergman     H, 403-P, 1002, F       2012.03.23 Email chain between
                                                                       K. Rowett-O’Neil, N. Bergman,
                                                                       P. Henson, A. Washington, T.
                                                                       Ball, and D. Walsh Re: RIAA
                                                                       Chief: ISPs to Start Policing
                                                                       Copyright by July 1 (Plaintiffs'
                                                                       Deposition Ex. 104)
                                                                       (BHN_00001563-
                                                                       BHN_00001564)
PX0299                             Bergman,    H, 403-P                2012.04.06 Email chain between
                                   Johnson                             N. Bergman, K. Rowett-O’Neil,
                                                                       M. Johnson, K. Maki, and W.
                                                                       Futch Re: RIAA Email Example
                                                                       from Indianapolis (Plaintiffs'
                                                                       Deposition Ex. 105)
                                                                       (BHN_00005280-
                                                                       BHN_00005282)
PX0300                             Bergman,    F, H, ID, 403-P,        2012.05.05 Email chain between
                                   Johnson     403-C, R                M. Johnson, N. Bergman, and
                                                                       K. Rowett-O’Neil Re: RIAA
                                                                       Email Example from
                                                                       Indianapolis (Plaintiffs'
                                                                       Deposition Ex. 106)
                                                                       (BHN_00006326-
                                                                       BHN_00006330)
PX0301                             Frendberg   F, 403-P                2012.08.04 Bright House
                                                                       Networks - What is Bright House
                                                                       Networks' anti-piracy program
                                                                       (Plaintiffs' Deposition Ex. 107)
                                                                       (BHN_00000899-
                                                                       BHN_00000901)
PX0302                             Frendberg   F, H, ID, 403-P,        2013.05.03 Email from T.
                                               403-C, R                Frendberg to N. Bergman, W.
                                                                       Futch, L. Greer, M. Johnson, T.
                                                                       Miller, B. Mitchell, M.
                                                                       Molinaro, T. Quincy, J.
                                                                       Robinson, S. Rosas, C. Severts,
                                                                       A. Smith, and A. Washington
                                                                       Re: April Security Report and
                                                                       Attachment (Plaintiffs'
                                                                       Deposition Ex. 108)
                                                                       (BHN_00002174-
                                                                       BHN_00002188)



                                                 45
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 47 of 161 PageID 67480

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
PX0303                             Frendberg     F, H, ID, 403-P,        2015.12.01 Email chain between
                                                 403-C, R                T. Frendberg and W. Futch Re:
                                                                         copyright program discussion
                                                                         (Plaintiffs' Deposition Ex. 109)
                                                                         (BHN_00004164-
                                                                         BHN_00004166)
PX0304                             Frendberg,    MIL, F, H, ID,          2015.01.18 Email chain between
                                   Harrison,     403-P, 403-C, R         A. Steinhauer, N. Bergman, W.
                                   Birenz                                Futch, M. Johnson, T.
                                                                         Frendberg, J. Birenz, C.
                                                                         Harrison, and M. Avery Re:
                                                                         Rightscorp Letter and
                                                                         Attachment (Plaintiffs'
                                                                         Deposition Ex. 111)
                                                                         (BHN_00005063-
                                                                         BHN_00005071)
PX0305                             Frendberg,    MIL, F, H, ID,          2015.03.02 Email chain between
                                   Harrison,     MD, 403-P, 403-C,       J. Birenz, N. Bergman, W.
                                   Birenz        R                       Futch, M. Johnson, T.
                                                                         Frendberg, A. Steinhauer, and C.
                                                                         Harrison Re: Rightscorp Letter
                                                                         and Attachment (Plaintiffs'
                                                                         Deposition Ex. 112)
                                                                         (BHN_00005072-
                                                                         BHN_00005080)
PX0306                             Frendberg,    MIL, F, H, ID,          2015.10.29 Email exchange
                                   Harrison,     LA, MD, 403-P,          between J. Birenz, T. Frendberg,
                                   Birenz        403-C, R                M. Johnson, W. Futch, N.
                                                                         Bergman, A. Steinhauer, C.
                                                                         Harrison, and R. Steele Re:
                                                                         Bright House Networks / Bright
                                                                         House Repeat Infringers - Top 5
                                                                         (Plaintiffs' Deposition Ex. 113)
                                                                         (BHN_00003288-
                                                                         BHN_00003457)
PX0307                                                                   Withdrawn
                                   -

PX0308                             TBD           F, H, ID, NA, NB,       2015.03.31 Contribution
                                                 NE, 403-P, 403-C,       Agreement Between
                                                 R                       Advance/Newhouse Partnership
                                                                         A/NPC Holdings LLC, Charter
                                                                         Communications, Inc., CCH I,
                                                                         LLC and Charter
                                                                         Communications Holdings, LLC
                                                                         Dated as of March 31, 2015
                                                                         (Plaintiffs' Deposition Ex. 115)


                                                   46
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 48 of 161 PageID 67481

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0309                             TBD          F, H, ID, NA, NB,       2021.03.26 Charter
                                                NE, 403-P, 403-C,       Communications, Inc. Schedule
                                                R                       13D/A dated March 26, 2021
                                                                        (Plaintiffs' Deposition Ex. 116)
PX0310                             Sutterby     703, F, H, 403-P,       2015.08.07 Email chain between
                                                403-C, R                S. Paulus, N. Bergman, C.
                                                                        Harrison, and M. Petraotos Re:
                                                                        Executive Debrief Sandive
                                                                        Reporting - Craig and John and
                                                                        Attachment (Plaintiffs'
                                                                        Deposition Ex. 117)
                                                                        (BHN_00005545-
                                                                        BHN_00005561)
PX0311                             Sutterby     703, F, H, 403-P,       2016.02.07 Email from K.
                                                403-C, R                Kramersmeier to S. Paulus, N.
                                                                        Bergman, S. Miron, K. Hyman,
                                                                        S. Colafrancesco, C. Cowden,
                                                                        W. Futch, S. Laris, M.
                                                                        Robertson, A. Martineau, and J.
                                                                        Hendrickson cc: K. Maki, J.
                                                                        Perlman, C. Harrison, R.
                                                                        Cherney, S. Martin, S. Buerkle,
                                                                        P. Tennant, M. Mitchell, M.
                                                                        Moss, F. Festa Re: Executive
                                                                        Debrief: Speed Tiers & Network
                                                                        Analytics Update - Kristi &
                                                                        Craig and Attachments
                                                                        (Plaintiffs' Deposition Ex. 118)
                                                                        (BHN_00004658-
                                                                        BHN_00004682)
PX0312                             Frendberg,   F, H, ID, 403-P,        2012.05.12 Email chain between
                                   Futch        403-C, R                T. Frendberg, D. Usher, W.
                                                                        Futch, A. Bruno, and K. Maki
                                                                        Re: RIAA Email example from
                                                                        Indianapolis (BHN_00001591-
                                                                        BHN_00001593)
PX0313                             Frendberg,   F, H, ID, 403-P,        2012.06.07 Email chain between
                                   Doda         403-C, R                G. Doda, M. Magliano, K.
                                                                        Maki, T. Frendberg, M.
                                                                        Johnson, and D. Usher Re:
                                                                        eSecurity Policy Blog Post
                                                                        (BHN_00001621-
                                                                        BHN_00001623)
PX0314                             TBD          F, NA, 403-P, 403-      2013.02.00 Bright House
                                                C                       Networks - Our Policies - Online
                                                                        Services Agreement from


                                                   47
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 49 of 161 PageID 67482

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        wayback.archive.com

PX0315                             Doda         MIL, 403-P, 403-C, 2012.05.15 Email chain between
                                                H                  K. Maki, G. Doda, M. Johnson,
                                                                   and T. Frendberg Re: Security
                                                                   Policy Blog Post (Plaintiffs'
                                                                   Deposition Ex. 24)
                                                                   (BHN_00005324-
                                                                   BHN_00005326)
PX0316                             Doda         H, 403-P, 1002, F  2012.03.26 Email chain between
                                                                   G. Doda, K. Maki, and J.
                                                                   Hopkins Re: screenshot of
                                                                   copyright complaint notification
                                                                   and Attachment (Plaintiffs'
                                                                   Deposition Ex. 25)
                                                                   (BHN_00005260-
                                                                   BHN_00005262)
PX0317                             Doda         H, 403-P, 403-C,   2012.04.06 Email chain between
                                                1002, F            K. Maki and G. Doda Re: RIAA
                                                                   Email Example from
                                                                   Indianapolis (Plaintiffs'
                                                                   Deposition Ex. 26)
                                                                   (BHN_00005283-
                                                                   BHN_00005287)
PX0318                             Doda         H, 403-P, 403-C,   2012.04.11 Email chain between
                                                1002, F            G. Doda and K. Maki Re: RIAA
                                                                   Email Example from
                                                                   Indianapolis (Plaintiffs'
                                                                   Deposition Ex. 27)
                                                                   (BHN_00005293-
                                                                   BHN_00005298)
PX0319                             Frendberg,   H, 403-P, 403-C,   2012.06.05 Email chain between
                                   Doda         1002, F            G. Doda, T. Frendberg, M.
                                                                   Johnson, and K. Maki Re:
                                                                   Security Policy Blog Post
                                                                   (Plaintiffs' Deposition Ex. 28)
                                                                   (BHN_00001614-
                                                                   BHN_00001616)
PX0320                             Doda         MIL, F, H, R,      DSL Reports Forum
                                                INC, MD, NA,       conversation - [Internet] Need
                                                NB, NE, NTP,       some advice on blocked websites
                                                403-P, 403-C       - Bright House Networks -
                                                                   Legacy (Plaintiffs' Deposition
                                                                   Ex. 29)




                                                  48
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 50 of 161 PageID 67483

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                 Description of Exhibit
PX0321                             Doda         MIL, F, H, R,           DSL Reports Forum
                                                INC, MD, NA,            conversation - Copyright Alert
                                                NB, NE, NTP,            System - Bright House Networks
                                                403-P, 403-C            - Legacy (Plaintiffs' Deposition
                                                                        Ex. 30)
PX0322                             Doda         MIL, F, H, R,           DSL Reports Forum
                                                INC, MD, NA,            conversation - [Internet] Six
                                                NB, NE, NTP,            Strikes Officially Begins On
                                                403-P, 403-C            Monday - Bright House
                                                                        Networks - Legacy (Plaintiffs'
                                                                        Deposition Ex. 31)
PX0323                             Doda         MIL, F, H, R,INC,       DSL Reports Forum
                                                MD, NA, NB, NE,         conversation - [Internet] BHN
                                                NTP, 403-P, 403-C       doesn't monitor packets, but..... -
                                                                        Bright House Networks - Legacy
                                                                        (Plaintiffs' Deposition Ex. 32)
PX0324                             Doda         MIL, F, H, R,           Reddit thread - Roommate
                                                INC, MD, NA,            torrents non-stop making the
                                                NB, NE, NTP,            internet almost unusable for me.
                                                403-P, 403-C            Reddit, Please tell me how I
                                                                        need to handle this (Plaintiffs'
                                                                        Deposition Ex. 33)
PX0325                             Doda         MIL, F, H, R,           DSL Reports Forum
                                                INC, MD, NA,            conversation - [Internet] How to
                                                NB, NE, NTP,            use MAC spoofing with
                                                403-P, 403-C            Motorola SBG6580 cable m -
                                                                        Bright House Networks - Legacy
                                                                        (Plaintiffs' Deposition Ex. 34)
PX0326                             Frendberg,   INC, H, 1002, 403-      2015.10.22 Email chain between
                                   Doda         P, F                    T. Frendberg,
                                                                        BHNinternetvoicesecurityabuse,
                                                                        and G. Doda Re: copyright
                                                                        letter, dated September 25
                                                                        (Plaintiffs' Deposition Ex. 35)
                                                                        and Attachment
                                                                        (BHN_00003873-
                                                                        BHN_00003877)
PX0327                             Frendberg,   H, 1002, 403-P, F       2015.10.19 Email chain between
                                   Doda                                 K. Maki, G. Doda, and T.
                                                                        Frendberg Re: copyright letter,
                                                                        dated September 25 (Plaintiffs'
                                                                        Deposition Ex. 36)
                                                                        (BHN_00003869-
                                                                        BHN_00003872)
PX0328                             Frendberg,   H, 1002, 403-P, F       2012.04.22 Email chain between
                                   Tomasullo                            T. Frendberg and M. Tomasullo


                                                  49
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 51 of 161 PageID 67484

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions            Description of Exhibit
                                                                  Re: Some ECAT info (Plaintiffs'
                                                                  Deposition Ex. 202)
                                                                  (BHN_00007728)
PX0329                             Frendberg,   H, 1002, 403-P, F 2015.09.03 Email exchange
                                   Tomasullo,                     between M. Tomasullo, C.
                                   Droessler                      Droessler, and T. Frendberg Re:
                                                                  ECAT Customer ID (Plaintiffs'
                                                                  Deposition Ex. 206)
                                                                  (BHN_00007388-
                                                                  BHN_00007403)
PX0330                             Frendberg,   403-P, H, R       2015.09.15 Droessler created
                                   Tomasullo,                     Issue: ECAT - Step 6
                                   Droessler                      enhancements / automation
                                                                  received by Suzaane Aliberti
                                                                  (Plaintiffs' Deposition Ex. 207)
                                                                  (BHN_00009060)
PX0331                             Frendberg,   403-P, H, R       2015.11.04 Email chain between
                                   Tomasullo,                     C. Droessler, T. Frendberg, and
                                   Droessler                      M. Tomasullo Re: A Request
                                                                  (Plaintiffs' Deposition Ex. 208)
                                                                  (BHN_00007420-
                                                                  BHN_00007423)
PX0332                             Frendberg,   403-P, H, R       2016.02.05 Email chain between
                                   Droessler                      C. Droessler, V. Chambers, T.
                                                                  Frendberg, M. Jagnnathan Re:
                                                                  reporting ECAT/ECAT Process
                                                                  Flow (Plaintiffs' Deposition Ex.
                                                                  212) (BHN_00004214-
                                                                  BHN_00004218)
PX0333                             TBD          F, H, ID, MD, NA, BHN, TWC, and Charter
                                                403-P, R, NB,     Corporate Structures (Plaintiffs'
                                                NTD, NTP, 403-P, Deposition Ex. 306)
                                                R
PX0334                             Frendberg    F, H, ID, 403-P,  Bright House Networks Security
                                                403-C, R          and Abuse Presentation prepared
                                                                  by T. Frendberg (Plaintiffs'
                                                                  Deposition Ex. 307)
                                                                  (BHN_00002441-
                                                                  BHN_00002447)
PX0335                             TBD          MIL, L, H, 403-P, 2005.08.10 Time Warner Cable
                                                R                 Records Management Policy
                                                                  (Plaintiffs' Deposition Ex. 308)
                                                                  (BHN_00001034-
                                                                  BHN_00001053)
PX0336                             TBD          MIL, L, H, 403-P, 2005.05.18 Time Warner Cable
                                                R                 Records Retention Schedule


                                                  50
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 52 of 161 PageID 67485

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions              Description of Exhibit
                                                                    (Plaintiffs' Deposition Ex. 309)
                                                                    (BHN_00001054-
                                                                    BHN_00001177)
PX0337                             TBD          1006, MIL, F, NB, BHN Internal E-Discovery
                                                NE, 403-P, R        Organization & Software
                                                                    (Plaintiffs' Deposition Ex. 311)
PX0338                             Frendberg,   MIL, DUP of PX      2016.04.15 Letter from M.
                                   Harrison,    338, 614, F, H,     Oppenheim to S. Miron Re:
                                   Birenz       403-P, 403-C, R     Notice of Copyright Claim
                                                                    (Plaintiffs' Deposition Ex. 312)
                                                                    (PL_BH_0084281-
                                                                    PL_BH_0084289)
PX0339                             Harrison     MIL, F, ID, LA,     Excel spreadsheet reflecting
                                                MD, 403-P, 403-C, TWC-BHN legal holds
                                                R                   (Plaintiffs' Deposition Ex. 313)
                                                                    (BHN_00000994)
PX0340                             Harrison     1006, MIL, F, ID,   BHN Harrison Reference 2
                                                MD, NB, NE, 403- spreadsheet (Plaintiffs'
                                                P, R                Deposition Ex. 314)
PX0341                             Henkart      H, 403-P, 403-C, R, 2021.08.18 Subpoena to Testify -
                                                NB                  Nokia of America Corp.
                                                                    (Plaintiffs' Deposition Ex. 81)
PX0342                             Sutterby,    703, F, H, NA,      IP Transit Review PowerPoint
                                   Henkart      403-P, 403-C, R     (Plaintiffs' Deposition Ex. 82)
                                                                    (NOKIA00000145-
                                                                    NOKIA00000168)
PX0343                             Sutterby,    703, F, H, NA,      DeepField Presentation to Bright
                                   Henkart      403-P, 403-C, R     House Networks (Plaintiffs'
                                                                    Deposition Ex. 83)
                                                                    (NOKIA00000056-
                                                                    NOKIA00000064)
PX0344                             Sutterby,    703, F, H, NA,      2015.08.13 Bright House
                                   Henkart      403-P, 403-C, R     Network Purchase Order/
                                                                    2015.07.13 Sales Quote
                                                                    (Plaintiffs' Deposition Ex. 84)
                                                                    (NOKIA00000001-
                                                                    NOKIA00000005)
PX0345                             Henkart      703, F, H, NA,      2016.03.02 Deepfield Sales
                                                403-P, 403-C, R     Quote (Plaintiffs' Deposition Ex.
                                                                    85) (NOKIA00000015-
                                                                    NOKIA00000017)
PX0346                             Henkart      703, F, H, NA,      2015.08.00 Subscriber
                                                403-P, 403-C, R     Intelligence (SI) Essentials -
                                                                    Increase Visibility, Virtualize
                                                                    Performance Management
                                                                    PowerPoint (Plaintiffs'


                                                  51
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 53 of 161 PageID 67486

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
                                                                         Deposition Ex. 86)
                                                                         (NOKIA00000169-
                                                                         NOKIA00000181)
PX0347                             Sutterby,     703, F, H, NA,          Customer Use Cases - Andrew
                                   Henkart       403-P, 403-C, R         Henkart (Plaintiffs' Deposition
                                                                         Ex. 87) (NOKIA00000066-
                                                                         NOKIA00000108)
PX0348                             Henkart       703, F, H, NA,          2016.01.31 DeepField Summary
                                                 403-P, 403-C, R         Craig Mathis Principle Engineer
                                                                         PowerPoint (Plaintiffs'
                                                                         Deposition Ex. 88)
                                                                         (NOKIA00000182-
                                                                         NOKIA00000197)
PX0349                             Henkart       703, F, H, NA,          2016.06.25 DeepField Summary
                                                 403-P, 403-C, R         and Justification PowerPoint
                                                                         (Plaintiffs' Deposition Ex. 89)
                                                                         (NOKIA00000216-
                                                                         NOKIA00000226)
PX0350                             Birenz        F, MIL, 403-P           2003.10.27 Amended Interim
                                                                         Designation of Agent to Receive
                                                                         Notification of Claimed
                                                                         Infringement filed October 27,
                                                                         2003 and received by Copyright
                                                                         office on January 23, 2004
                                                                         (Plaintiffs' Deposition Ex. 67)
                                                                         (ADVANCE_00000001)
PX0351                             Birenz        F, MIL, 403-P           2014.10.21 Amended Interim
                                                                         Designation of Agent to Receive
                                                                         Notification of Claimed
                                                                         Infringement dated October 21,
                                                                         2014 and received by Copyright
                                                                         office on October 29, 2014
                                                                         (Plaintiffs' Deposition Ex. 68)
                                                                         (ADVANCE_00000002-
                                                                         ADVANCE_00000003)
PX0352                                                                   Withdrawn
                                   -

PX0353                             Ikezoye                               2012.07.00 RIAA Content ID
                                                                         Services (AUDIBLE-MAGIC-
                                                                         0000131)
PX0354                             Ikezoye       F, H, 403-P             2012.07.30 Email chain between
                                                                         V. Ikezoye, M. Appert, AM
                                                                         Support, and V. Sheckler Re:
                                                                         MarkMonitor/AudibleMagic/RI
                                                                         AA project (AUDIBLE-
                                                                         MAGIC-0001428-AUDIBLE-


                                                   52
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 54 of 161 PageID 67487

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       MAGIC-0001430)

PX0355                             Ikezoye     F, H, 403-P             2019.00.00 Why Audible Magic?
                                                                       (AUDIBLE-MAGIC-0001497-
                                                                       AUDIBLE-MAGIC-0001503)
PX0356                             Ikezoye     F, H, 403-P             Audible Magic Attachment A
                                                                       Service Level Agreement
                                                                       (AUDIBLE-MAGIC-0007212-
                                                                       AUDIBLE-MAGIC-0007217)
PX0357                             Ikezoye                             2010.07.14 Audible Magic OEM
                                                                       Application Programming Guide
                                                                       and Customer Support
                                                                       Information (AUDIBLE-
                                                                       MAGIC-0007339-AUDIBLE-
                                                                       MAGIC-0007393)
PX0358                             Ikezoye     F, H, 403-P             2012.11.04 Email chain between
                                                                       V. Ikezoye, V. Sheckler, B.
                                                                       Buckles, and S. Marks Re:
                                                                       methodology (AUDIBLE-
                                                                       MAGIC-0064126)
PX0359                             Ikezoye     F, H, 403-P             2012.09.27 Email from J. Casel
                                                                       to T. Denver Re: Explanation of
                                                                       Type 3 (AUDIBLE-MAGIC-
                                                                       0065540)
PX0360                             Ikezoye                             2000-2012 Audible Magic
                                                                       Content Registration
                                                                       (AUDIBLE-MAGIC-0065857-
                                                                       AUDIBLE-MAGIC-0065894)
PX0361                             Ikezoye,                            2016.02.17 Email chain between
                                   Bahun                               J. Casel, S. Paszkowski, J.
                                                                       Landis, S. Bahun, and V.
                                                                       Sheckler Re: Mark Monitor
                                                                       Credential Issue (AUDIBLE-
                                                                       MAGIC-0067842-AUDIBLE-
                                                                       MAGIC-0067844)
PX0362                             Ikezoye,    F, H, 403-P             2016.03.09 Email chain between
                                   Bahun                               J. Casel, S. Bahun, and J. Landis
                                                                       Re: RIAA catalog (AUDIBLE-
                                                                       MAGIC-0067854-AUDIBLE-
                                                                       MAGIC-0067855)
PX0363                             Ikezoye,    F, H, 403-P             2016.03.23 Email chain between
                                   Bahun                               J. Casel, S. Bahun Re: RIAA
                                                                       catalog (AUDIBLE-MAGIC-
                                                                       0067868-AUDIBLE-MAGIC-
                                                                       0067869)



                                                 53
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 55 of 161 PageID 67488

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
PX0364                             Knudsen       Daubert 583, F, H,      2015.08.19 Amendment No. 3 to
                                   Furchtgott-   403-P, 403-C, R,        FORM S-4 Registration
                                   Roth          703                     Statement August 19, 2015
                                                                         (BHN_00000023-
                                                                         BHN_00000765)
PX0365                             Knudsen,      Daubert 583, F, H,      BHN and Subsidiaries
                                   Furchtgott-   403-P, 403-C, R,        Consolidated Financial
                                   Roth          703                     statements December 2013 and
                                                                         2012 (With Independent
                                                                         Auditors' Report Thereon)
                                                                         (Plaintiffs' Deposition Ex. 216)
                                                                         (BHN_00000766-
                                                                         BHN_00000788)
PX0366                             Knudsen,      F, MIL, 403-P,          List of customers or account
                                   Furchtgott-   403-C, ID               numbers that were accused of
                                   Roth                                  infringement prepared by Colton
                                                                         Maab (Plaintiffs' Deposition Ex.
                                                                         225) (BHN_00000815)
PX0367                             TBD                                   2014.03.31 Bright House
                                                                         Networks Our Policies - High
                                                                         Speed Data Acceptable Use
                                                                         Policy from
                                                                         wayback.archive.com
                                                                         (BHN_00000820-
                                                                         BHN_00000821)
PX0368                             TBD                                   2021.03.16 Bright House User
                                                                         Agreement & Privacy Policy
                                                                         (Plaintiffs' Deposition Ex. 66)
                                                                         (BHN_00000822-
                                                                         BHN_00000841)
PX0369                             TBD                                   2021.03.16 Bright House User
                                                                         Agreement & Privacy Policy
                                                                         (Plaintiffs' Deposition Ex. 234)
                                                                         (BHN_00000822-
                                                                         BHN_00000841)
PX0370                             TBD                                   2012.01.19 Bright House
                                                                         Networks Our Policies -
                                                                         Agreement for Residential
                                                                         Services from
                                                                         wayback.archive.com
                                                                         (BHN_00000842-
                                                                         BHN_00000854)
PX0371                             TBD                                   2012.10.29 Bright House
                                                                         Networks Our Policies -
                                                                         Agreement for Residential
                                                                         Services from


                                                   54
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 56 of 161 PageID 67489

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        wayback.archive.com
                                                                        (BHN_00000855-
                                                                        BHN_00000868)
PX0372                             TBD                                  2014.03.31 Bright House
                                                                        Networks Agreement for
                                                                        Residential Services
                                                                        (BHN_00000869-
                                                                        BHN_00000883)
PX0373                             TBD                                  2016.03.18 Bright House
                                                                        Networks Our Policies -
                                                                        Agreement for Residential
                                                                        Services from
                                                                        wayback.archive.com
                                                                        (BHN_00000884-
                                                                        BHN_00000898)
PX0374                             Frendberg,   F, H, 403-P, 403-C,     2015.07.02 R. Hughes work log
                                   Hughes       R                       note (BHN_00000902)
PX0375                             Frendberg    F, H, 403-P, 403-C,     2013.10.05 L.M. Nealy work log
                                                R                       note (BHN_00000903)
PX0376                             Frendberg,   F, H, 403-P, 403-C,     2015.07.01 R. Hughes work log
                                   Hughes       R                       note (BHN_00000904)
PX0377                             Frendberg,   F, H, 403-P, 403-C,     2013.10.01 R. Hughes work log
                                   Hughes       R                       note (BHN_00000905)
PX0378                             Frendberg,   F, H, 403-P, 403-C,     2013.07.09 M. Tomasullo work
                                   Tomasullo    R                       log note (BHN_00000906)
PX0379                             Frendberg,   F, H, 403-P, 403-C,     2015.06.17 A. Ferrar work log
                                   Ferrar       R                       note (BHN_00000907)
PX0380                             Frendberg,   F, H, 403-P, 403-C,     2015.07.02 R. Hughes work log
                                   Hughes       R                       note (BHN_00000910)
PX0381                             Frendberg,   F, H, 403-P, 403-C,     2013.10.05 R. Hughes work log
                                   Hughes       R                       note (BHN_00000911)
PX0382                             Frendberg,   F, H, 403-P, 403-C,     2013.10.17 R. Hughes work log
                                   Hughes       R                       note (BHN_00000912)
PX0383                             Frendberg    F, H, 403-P, 403-C,     2015.06.17 L.M. Nealy work log
                                                R                       note (BHN_00000914)
PX0384                             Frendberg    F, H, 403-P, 403-C,     2015.09.03 L.M. Nealy work log
                                                R                       note (BHN_00000915)
PX0385                             Frendberg,   F, H, 403-P, 403-C,     2016.02.26 R. Hughes work log
                                   Hughes       R                       note (BHN_00000916)
PX0386                             TBD          MIL, F, ID, 403-P,      2016.05.16 Email chain between
                                                403-C, R                D. Vasey, M. Fruechte, L.


                                                  55
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 57 of 161 PageID 67490

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                 Description of Exhibit
                                                                        Christopher, L. Wood, and C.
                                                                        Harrison Re: Please Refresh My
                                                                        Recollection (Plaintiffs'
                                                                        Deposition Ex. 600)
                                                                        (BHN_00000966-
                                                                        BHN_00000986)
PX0387                             TBD          MIL, F, 403-P, R        2016.06.06 Email from D. Vasey
                                                                        to A. Neipert cc:
                                                                        RDC_Bama_Team Re: Legacy
                                                                        TWC & BHN Legal Holds
                                                                        (Plaintiffs' Deposition Ex. 601A)
                                                                        (BHN_00001004)
PX0388                             TBD          MIL, F, 403-P,          Excel spreadsheet - TWC-BHN
                                                403-C, R                Legal Holds 6-6-16 (Plaintiffs'
                                                                        Deposition Ex. 601B)
                                                                        (BHN_00001005)
PX0389                             TBD          MIL, F, MD, 403-        2016.09.28 Appointment invite
                                                P, 403-C, R             from L. Wood to L. Wood, G.
                                                                        Kelly, D. Vasey, J. Paske, K.
                                                                        Fann, and M. O’Keefe Re:
                                                                        Check in on what we have for
                                                                        LBHN eDiscovery data (emails,
                                                                        calendar, loose files, etc.)
                                                                        (Plaintiffs' Deposition Ex. 604)
                                                                        (BHN_00001325)
PX0390                             TBD          MIL, F, H, ID, IX,      2016.10.06 Email from J. Paske
                                                LA, MD, 403-P,          to D. Vassey Re: Current L-BHN
                                                403-C, R                Legal Holds (Plaintiffs'
                                                                        Deposition Ex. 602a)
                                                                        (BHN_00001326)
PX0391                             TBD          MIL, F, H, ID, IX,      Excel spreadsheet - Active LHR
                                                LA, MD, 403-P,          (Plaintiffs' Deposition Ex. 601b)
                                                403-C, R                (BHN_00001327)
PX0392                             TBD          MIL, F, ID, LA,         Report containing file level 2
                                                MD, 403-P, 403-C,       detail that was collected for the 3
                                                R                       static collection for Rightscorp
                                                                        (Plaintiffs' Deposition Ex. 606)
                                                                        (BHN_00001401-
                                                                        BHN_00001560)
PX0393                             Frendberg,   403-P, H, R             2012.03.23 Email from T.
                                   Droessler                            Frendberg to M. Battelle, C.
                                                                        Droessler, and M. Tomasullo
                                                                        Re: ECAT - User Interface
                                                                        Requirements (BHN_00001570-
                                                                        BHN_00001572)



                                                  56
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 58 of 161 PageID 67491

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
PX0394                             Frendberg     403-P, H, R             2012.04.24 Email from T.
                                                                         Frendberg to B. Jones Re:
                                                                         Copyright Tool Items
                                                                         (BHN_00001574)
PX0395                             Frendberg     403-P, H, R             2012.05.11 Email from T.
                                                                         Frendberg to B. Jones Re:
                                                                         20120511 Ecat Items
                                                                         (BHN_00001588-
                                                                         BHN_00001590)
PX0396                             Frendberg     F, H, ID, 403-P,        2012.05.14 Email from T.
                                                 403-C, R                Frendberg to S. Sha Re: article
                                                                         for security (BHN_00001603-
                                                                         BHN_00001604)
PX0397                             Frendberg,    403-P, H, R             2012.05.14 Email from M.
                                   Tomasullo,                            Tomasullo to C. Droessler and
                                   Droessler                             T. Frendberg Re: ECAT - quick
                                                                         updates (BHN_00001605-
                                                                         BHN_00001607)
PX0398                             Frendberg     F, H, ID, 403-P,        2012.06.04 Email from T.
                                                 403-C, R                Frendberg to C. O'Neill, W.
                                                                         Futch, L. Mott, and B. Artz Re:
                                                                         Voice and Security initiatives
                                                                         update (BHN_00001613)
PX0399                             Frendberg     F, H, ID, 403-P,        2012.06.08 Email chain between
                                                 403-C, R                T. Frendberg, M. Tomasullo, D.
                                                                         Magliano, S. Shah, G. Doda, M.
                                                                         Kammert, and D. Usher Re:
                                                                         article for security
                                                                         (BHN_00001627-
                                                                         BHN_00001629)
PX0400                             Frendberg     F, H, 403-P, 403-C,     2012.09.21 What is Bright House
                                                 R                       Network program?
                                                                         (BHN_00001630-
                                                                         BHN_00001631)
PX0401                             Knudsen,      Daubert 583, F, H,      Bright House's Recurring
                                   Furchtgott-   INC, 403-P, 403-C,      Residential ARPC per BHN
                                   Roth          R, 703                  Internal Reporting Packages
                                                                         (Plaintiffs' Deposition Ex. 218)
                                                                         (BHN_00001711)
PX0402                             Knudsen,      Daubert 583, F, H,      Legacy BHN Monthly
                                   Furchtgott-   INC, 403-P, 403-C,      Residential Revenue per
                                   Roth          R, 703                  Residential Customer as reported
                                                                         in Consolidated Charter
                                                                         Trending Schedules (for BHN
                                                                         1Q'14 to 2Q'18) (Plaintiffs'
                                                                         Deposition Ex. 223)


                                                   57
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 59 of 161 PageID 67492

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                 Description of Exhibit
                                                                         (BHN_00001712)

PX0403                             Knudsen,      F, H, 403-P, 403-C,     Bright House's Recurring
                                   Furchtgott-   R                       Residential ARPC per BHN
                                   Roth                                  Internal Reporting Packages
                                                                         (Plaintiffs' Deposition Ex. 222)
                                                                         (BHN_00001713)
PX0404                             Frendberg     MIL, F, H, ID,          2016.01.20 Email chain between
                                                 LA, 403-P, 403-C,       C. Droessler and T. Frendberg
                                                 R                       cc: B. Klimkowski Re: Third
                                                                         Party Copyright Claim
                                                                         (Plaintiffs' Deposition Ex. 7)
                                                                         (BHN_00001715-
                                                                         BHN_00001720)
PX0405                             Frendberg                             2013.12.00 BHN Letter to
                                                                         Subscriber Re: Infringement
                                                                         Notice (Plaintiffs' Deposition Ex.
                                                                         9) (BHN_00001742)
PX0406                             Frendberg     F, H, ID, 403-P,        Bright House Networks form
                                                 403-C, R                letter from Frendberg Re:
                                                                         Allegations of Copyright
                                                                         Infringement (BHN_00001960-
                                                                         BHN_00001961)
PX0407                             Frendberg,    F, H, ID, 403-P,        2015.08.17 Email from M.
                                   Tomasullo     403-C, R                Tomasullo to T. Frendberg Re:
                                                                         An Important Message About
                                                                         Your High Speed Internet
                                                                         Service (Plaintiffs' Deposition
                                                                         Ex. 6) (BHN_00002301-
                                                                         BHN_00002304)
PX0408                             Frendberg     F, H, ID, 403-P,        2015.09.25 Email chain between
                                                 403-C, R                T. Frendberg, D. Magliano, and
                                                                         D. Usher Re: Knotice
                                                                         (BHN_00002309-
                                                                         BHN_00002312)
PX0409                             Frendberg     F, H, ID, MIL,          2015.10.05 Email chain between
                                                 403-P, 403-C, R         T. Frendberg, T. Hollifield Re:
                                                                         copyright complaint monitoring,
                                                                         Account Number 4183319-01
                                                                         (BHN_00002313)
PX0410                             Tomasullo,    403-P, H, R             2015.11.04 Email chain between
                                   Droessler                             M. Tomasullo and C. Droessler
                                                                         Re: A Request (BHN_00002318-
                                                                         BHN_00002322)




                                                   58
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 60 of 161 PageID 67493

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0411                             Tomasullo,   403-P, MIL, R           Attachment to BHN_00002318 -
                                   Droessler                            Excel spreadsheet Titled BPS
                                                                        Data.xlsx (BHN_00002323)
PX0412                             Frendberg,   403-P, H, R             2015.12.03 Email from T.
                                   Tomasullo                            Frendberg to M. Tomasullo Re:
                                                                        20151203 timesource in ECAT,
                                                                        from 12-1 opened, with pivot
                                                                        (BHN_00002389)
PX0413                             Frendberg,   403-P, MIL, R           Excel spreadsheet attached to
                                   Tomasullo                            email from T. Frendberg to M.
                                                                        Tomasullo Re: 20151203
                                                                        timesource in ECAT, from 12-1
                                                                        opened, with pivot.xlsx
                                                                        (BHN_00002390)
PX0414                             Frendberg,   403-P, H, R             2015.12.03 Email chain between
                                   Droessler                            C. Droessler and T. Frendberg
                                                                        Re: ECAT challenges
                                                                        (BHN_00002392-
                                                                        BHN_00002393)
PX0415                             Frendberg,   403-P, H, R             2015.12.03 Email chain between
                                   Tomasullo                            M. Tomasullo and T. Frendberg
                                                                        Re: 20151203 timesource in
                                                                        ECAT, from 12-1 opened, with
                                                                        pivot.xlsx (BHN_00002394-
                                                                        BHN_00002395)
PX0416                             Frendberg,   403-P, MIL, R           Attachment to BHN_00002394 -
                                   Tomasullo                            Excel Spreadsheet Titled -
                                                                        20151203 timesource in ECAT,
                                                                        from 12-1 opened, with
                                                                        pivot.xlsx (BHN_00002396)
PX0417                             Frendberg,   403-P, H, R             2015.12.08 Email chain between
                                   Tomasullo,                           M. Tomasullo, T. Frendberg,
                                   Droessler                            and C. Droessler Re: Importer
                                                                        update (BHN_00002397-
                                                                        BHN_00002398)
PX0418                             Frendberg,   F, H, ID, MIL,          2015.12.15 Email chain between
                                   Tomasullo    403-P, 403-C, R         T. Frendberg, M. Tomasullo,
                                                                        and R. Richardson Re:
                                                                        Copyright Cases, Plus
                                                                        (BHN_00002404-
                                                                        BHN_00002406)
PX0419                             Droessler    F, H, ID, 403-P,        2016.01.05 Email to Frendberg
                                                403-C, R                Re: [JIRA] [Copyright-98] email
                                                                        all complaints - Droessler
                                                                        comment (BHN_00002418)



                                                  59
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 61 of 161 PageID 67494

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
PX0420                             Frendberg,    F, H, ID, 403-P,        2016.01.07 Email chain between
                                   Tomasullo     403-C, R                M. Tomasullo and T. Frendberg
                                                                         Re: Third Party Copyright Claim
                                                                         (Plaintiffs' Deposition Ex. 8)
                                                                         (BHN_00002425-
                                                                         BHN_00002426)
PX0421                             Droessler     F, H, ID, 403-P,        2016.01.07 Email chain between
                                                 403-C, R                T. Frendberg, M. Tomasullo,
                                                                         and C. Droessler Re: Third Party
                                                                         Copyright Claim
                                                                         (BHN_00002429-
                                                                         BHN_00002433)
PX0422                             Frendberg,    F, H, ID, 403-P,        2016.01.09 Email from T.
                                   Tomasullo     403-C, R                Frendberg to M. Tomasullo
                                                                         forwarding voicemail transcript
                                                                         from message left from 334-354-
                                                                         2812 (Plaintiffs' Deposition Ex.
                                                                         12) (BHN_00002449-
                                                                         BHN_00002450)
PX0423                             Frendberg,    H, 403-P                Attachment to BHN_00002464-
                                   Tomasullo                             Excel Spreadsheet Titled
                                                                         $RB4YD2I.xlsx
                                                                         (BHN_00002465)
PX0424                             Frendberg,    F, H, ID, 403-P,        2016.01.19 Email chain between
                                   Tomasullo     403-C, R                T. Frendberg and M. Tomasullo
                                                                         Re: Acct# 261286509
                                                                         (BHN_00002468)
PX0425                             Frendberg,    403-P, H, R             2016.01.20 Email to T.
                                   Droessler                             Frendberg Re: [JIRA]
                                                                         [Copyright-101] email content -
                                                                         Droessler comment
                                                                         (BHN_00002471)
PX0426                             Frendberg,    F, H, ID, 403-P,        2016.01.21 Email exchange
                                   Tomasullo     403-C, R                between M. Tomasullo and T.
                                                                         Frendberg Re: CRC Final
                                                                         Notifications as of 1/19/2016
                                                                         (BHN_00002472-
                                                                         BHN_00002473)
PX0427                                                                   Withdrawn
                                   -

PX0428                             Frendberg,    403-P, H, R             2016.03.02 Email from M.
                                   Tomasullo,                            Tomasullo to T. Frendberg, C.
                                   Droessler                             Droessler Re: ECAT
                                                                         (BHN_00002504)




                                                   60
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 62 of 161 PageID 67495

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0429                             Frendberg,   403-P, H, R             2016.03.10 Email to T.
                                   Droessler                            Frendberg Re: [JIRA]
                                                                        [Copyright-99] update tickets
                                                                        ignored for timestamp -
                                                                        Droessler comment
                                                                        (BHN_00002519)
PX0430                             Frendberg,   F, H, ID, 403-P,        2016.03.12 Email chain between
                                   Tomasullo    403-C, R                T. Frendberg, A. Ferrer, and M.
                                                                        Tomasullo Re: ___4949754-01
                                                                        (BHN_00002521)
PX0431                             Frendberg,   F, H, ID, 403-P,        2016.03.12 Email chain between
                                   Tomasullo    403-C, R                M. Tomasullo and T. Frendberg
                                                                        Re: ___4949754-01
                                                                        (BHN_00002525)
PX0432                             Frendberg,   403-P, H, R             2016.03.24 Email to T.
                                   Droessler                            Frendberg Re: [JIRA]
                                                                        [Copyright-99] update tickets
                                                                        ignored for timestamp -
                                                                        Droessler comment
                                                                        (BHN_00002527)
PX0433                             Frendberg,   F, H, ID, MIL,          2016.04.19 Email chain between
                                   Tomasullo    403-P, 403-C, R         M. Tomasullo, C. Hangey, and
                                                                        T. Frendberg Re: HBO Notice
                                                                        Processing Inquiry
                                                                        (BHN_00002538-
                                                                        BHN_00002540)
PX0434                             Frendberg,   MIL, F, H, ID,          2015.10.26 Email chain between
                                   Harrison,    MD, 403-P, 403-C,       J. Birenz, N. Bergman, M.
                                   Birenz       R                       Johnson, T. Frendberg, W.
                                                                        Futch, A. Steinhauer, and C.
                                                                        Harrison Re: Bright House
                                                                        Networks - Rightscorp
                                                                        (BHN_00003286-
                                                                        BHN_00003287)
PX0435                             Frendberg,   MIL, F, H, INC,         Email chain between J. Birenz,
                                   Harrison,    ID, LA, MD, 403-        T. Frendberg, W. Futch, N.
                                   Birenz       P, 403-C, R             Bergman, C. Harrison, and R.
                                                                        Steele Re: Rightscorp - Bright
                                                                        House Networks (Plaintiffs'
                                                                        Deposition Ex. 114) and
                                                                        Attachment (BHN_00003540-
                                                                        BHN_00003743)
PX0436                             Frendberg,   MIL, F, H, INC,         Attachment to BHN_00003540 -
                                   Harrison,    ID, LA, MD, 403-        Excel spreadsheet titled
                                   Birenz       P, 403-C, R             Brighthouse_BMG Rights
                                                                        Management (US)


                                                  61
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 63 of 161 PageID 67496

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        LLC_1455912995301.csv
                                                                        (BHN_00003744)
PX0437                             Frendberg,   MIL, F, H, ID,          2013.04.19 Email chain between
                                   Futch        MD, 403-P, R            W. Futch, T. Frendberg, J.
                                                                        Birenz, R. Brooks, M. Johnson,
                                                                        T. Miller, J. Scazzaro, J.
                                                                        Schrandt, A. Steinhauer, and T.
                                                                        Wheeler Re: weekly copyright
                                                                        complaint report (Plaintiffs'
                                                                        Deposition Ex. 75)
                                                                        (BHN_00003764-
                                                                        BHN_00003765)
PX0438                             Frendberg    MIL, F, H, LA,          2013.08.27 Email from T.
                                                403-P, R                Frendberg to A. Steinhauer and
                                                                        W. Futch Re: TV GLOBO AV
                                                                        Infringement CaseID - 350370
                                                                        (BHN_00003766-
                                                                        BHN_00003768)
PX0439                             Frendberg    F, H, ID, MIL,          2013.08.27 Email from T.
                                                403-P, 403-C, R         Frendberg to W. Futch and J.
                                                                        Dosher Re: copyright complaints
                                                                        (BHN_00003772)
PX0440                             Frendberg                            2013.09.03 Email from Y. Butler
                                                                        to T. Wilson enclosing
                                                                        Termination letter
                                                                        (BHN_00003783-
                                                                        BHN_00003784)
PX0441                             Frendberg    H, 403-P                2015.02.11 Email chain between
                                                                        N. Bergman, T. Frendberg, A.
                                                                        Steinhauer, M. Johnson, W.
                                                                        Futch, C. Harrison, and J. Birenz
                                                                        Re: Copyright Alert Progam
                                                                        (BHN_00003817-
                                                                        BHN_00003818)
PX0442                             Frendberg    MIL, F, H, 403-P,       2015.08.06 Email exchange
                                                R                       between T. Frendberg, L.
                                                                        Johnson, and K. Maki Re:
                                                                        Rightscorp (BHN_00003833-
                                                                        BHN_00003836)
PX0443                             Frendberg,   F, H, ID, 403-P,        2015.12.01 Email chain between
                                   Futch        403-C, R                T. Frendberg and W. Futch Re:
                                                                        Copyright Program Discussion
                                                                        (Plaintiffs' Deposition Ex. 77)
                                                                        (BHN_00004164-
                                                                        BHN_00004166)



                                                  62
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 64 of 161 PageID 67497

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0444                             Frendberg,   F, H, ID, 403-P,        2016.01.30 Email chain between
                                   Tomasullo,   403-C, R                J. Birenz, M. Tomasullo, T.
                                   Birenz                               Frendberg, C. Harrison, and S.
                                                                        Gaynor Re: IP-Echelon
                                                                        Copyright Agents (Plaintiffs'
                                                                        Deposition Ex. 72)
                                                                        (BHN_00004193-
                                                                        BHN_00004195)
PX0445                             Frendberg,   403-P, H, R             2016.03.09 Email chain between
                                   Droessler                            T. Frendberg and C. Droessler
                                                                        Re: duplicate modem issue
                                                                        (BHN_00004590-
                                                                        BHN_00004593)
PX0446                             Frendberg    F, H, ID, 403-P,        2016.04.22 Email chain between
                                                403-C, R                M. Champagne, T. Frendberg,
                                                                        D. DiFiore, L. Mott, W. Futch,
                                                                        C. Harrison, and J. Birenz Re:
                                                                        disconnects for AUP violation
                                                                        (BHN_00004654-
                                                                        BHN_00004655)
PX0447                             Sutterby,    703, F, H, ID, 403-     2016.02.00 Network Engineering
                                   Knudsen      P, 403-C, R             Capacity Review Presentation
                                                                        (BHN_00004659-
                                                                        BHN_00004682)
PX0448                             Sutterby,    703, F, H, 403-P,       Attachment to BHN_00004659 -
                                   Knudsen      403-C, R                Excel Spreadsheet Titled
                                                                        "Microsoft_Excel_Sheet3.xlsx"
                                                                        (BHN_00004683)
PX0449                             Sutterby,    703, F, H, 403-P,       Attachment to BHN_00004659 -
                                   Knudsen      403-C, R                Excel Spreadsheet Titled
                                                                        "Microsoft_Excel_Sheet2.xlsx"
                                                                        (BHN_00004685)
PX0450                             Frendberg,   F, H, ID, 403-P,        2012.06.07 Email from T.
                                   Doda         403-C, R                Frendberg to G. Doda, M.
                                                                        Johnson, D. Magliano, D.
                                                                        Usher, and K. Maki Re: Security
                                                                        Blog Post (BHN_00004746-
                                                                        BHN_00004748)
PX0451                             Frendberg,   F, H, 403-P, 403-C,     2014.08.00 BHN Security and
                                   Tomasullo    R                       Abuse Monthly Report August
                                                                        2014 (BHN_00004779-
                                                                        BHN_00004789)
PX0452                             Frendberg    F, H, MIL, 403-P,       2015.10.00 BHN Security and
                                                403-C, R                Abuse Monthly Report October
                                                                        2015 (BHN_00004801-
                                                                        BHN_00004811)


                                                   63
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 65 of 161 PageID 67498

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0453                             Frendberg,   F, H, MIL, 403-P,       2016.03.00 BHN Security and
                                   Tomasullo    403-C, R                Abuse Monthly Report March
                                                                        2016 (BHN_00004865-
                                                                        BHN_00004877)
PX0454                             Frendberg,   F, H, MIL, ID,          ESAT Backend Code
                                   Droessler    403-P, 403-C, R         (BHN_00005004-
                                                                        BHN_00005009)
PX0455                             Frendberg,   F, H, ID, MIL,          Leaselogger API Specification
                                   Droessler    403-P, 403-C, R         (BHN_00005010-
                                                                        BHN_00005034)
PX0456                             Frendberg,   F, H, ID, MIL,          2016.09.06 Final warning
                                   Tomasullo    403-P, 403-C, R         copyright monthly pivots.xlsx
                                                                        (BHN_00005035)
PX0457                             Frendberg    F, MIL, 403-P,          Excel Spreadsheet titled
                                                403-C                   Joined_Saada_All_date range
                                                                        2012 to 2016, esat_riaa_match,
                                                                        reduced fields (BHN_00005036)
PX0458                             Frendberg    F, MIL, 403-P,          2016.05.16 Email chain between
                                                403-C                   copyrightagent @sabinfirm.com,
                                                                        Copyright Notifications
                                                                        [HSDCopybox@mybrighthouse.
                                                                        com], C. Sabec, and J. Birenz
                                                                        Re: Bright House Termination
                                                                        request for BMG Rights
                                                                        Management (US) LLC
                                                                        (Plaintiffs' Deposition Ex. 71)
                                                                        (BHN_00005037-
                                                                        BHN_00005039)
PX0459                             Frendberg    F, MIL, 403-P,          2016.05.16 Email from
                                                403-C                   Copyrightagent to Copyright
                                                                        notifications Re: Brighthouse
                                                                        Termination request for
                                                                        MINGUS MUSIC WEKSHOP
                                                                        (BHN_00005040-
                                                                        BHN_00005041)
PX0460                             Frendberg    F, MIL, 403-P,          Attachment to BHN_00005040 -
                                                403-C                   Excel Spreadsheet Titled
                                                                        "Brighthouse_MINGUS MUSIC
                                                                        WERKSHOP_1463437696842.c
                                                                        sv" (BHN_00005042)
PX0461                             Frendberg    F, MIL, 403-P,          2016.05.16 Email from
                                                403-C                   Copyrightagent to Copyright
                                                                        notifications Re: Brighthouse
                                                                        Termination request for Round
                                                                        Hill Music (BHN_00005043-
                                                                        BHN_00005044)


                                                  64
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 66 of 161 PageID 67499

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
PX0462                             Frendberg    F, MIL, 403-P,           Attachment to BHN_00005043 -
                                                403-C                   Excel Spreadsheet Titled
                                                                        "Brighthouse_Round Hill
                                                                        Music_1463437696765.csv"
                                                                        (BHN_00005045)
PX0463                             Frendberg    F, MIL, 403-P,          2016.05.16 Email from
                                                403-C                   Copyrightagent to Copyright
                                                                        notifications Re: Brighthouse
                                                                        Termination request for Imagem
                                                                        USA (BHN_00005046-
                                                                        BHN_00005047)
PX0464                             Frendberg    INC, H, 403-P           Attachment to BHN_00005048 -
                                                                        Excel Spreadsheet Titled
                                                                        "Brighthouse_Imagem
                                                                        USA_1463437697673.csv"
                                                                        (BHN_00005048)
PX0465                             Frendberg,   F, H, ID, MIL,          2016.03.01 Email from T.
                                   Tomasullo    403-P, 403-C, R         Frendberg to M. Tomaullo Re:
                                                                        summary all complaint report
                                                                        (BHN_00005117)
PX0466                             Frendberg,   F, H, ID, MIL,          Attachment to BHN_00005117 -
                                   Tomasullo    403-P, 403-C, R         Excel Spreadsheet Titled
                                                                        "summary all complaint report,
                                                                        593105803.xlsx"
                                                                        (BHN_00005118)
PX0467                             Frendberg    F, H, ID, MIL,          Excel Spreadsheet titled
                                                403-P, 403-C, R         Summary all complaints
                                                                        (BHN_00005119)
PX0468                             Frendberg    F, H, ID, MIL,          ECAT Ticket Data
                                                NA, 403-P, 403-C,       (BHN_00005120)
                                                R
PX0469                             Frendberg    F, H, ID, MIL, ,        ECAT Ticket Data
                                                403-P, 403-C, R         (BHN_00005121)
PX0470                             Frendberg    F, MIL, 403-P,          ECAT Ticket Data
                                                403-C                   (BHN_00005122)
PX0471                             Frendberg    F, MIL, 403-P,          ECAT Ticket Data
                                                403-C                   (BHN_00005123)
PX0472                             TBD          F, H, MIL, 403-P,       2012.06.04 Email chain from A.
                                                403-C, R                Awad to N. Bergman, M.
                                                                        Johnson, K. Kramersmeier, J.
                                                                        Chen, L. Cloutier, C. Cowden,
                                                                        and R. Segers Re: AWAD-OSD
                                                                        Newhouses Exceutive Overview
                                                                        - Final Version
                                                                        (BHN_00005137-


                                                  65
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 67 of 161 PageID 67500

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
                                                                         BHN_00005160)

PX0473                             Knudsen,      703, F, H, 403-P,       2012.07.23 Subscriber Diversity,
                                   Furchtgott-   403-C, R                Brighthouse, Procera Networks
                                   Roth                                  Specific Report for week, 2012-
                                                                         07-23 (BHN_00005337-
                                                                         BHN_00005342)
PX0474                             Sutterby      703, F, H, 403-P,       2012.09.12 Email chain between
                                                 403-C, R                T. Hollifield, L. Cloutier, J.
                                                                         McDaniel, J. Chattin, T. Garcia,
                                                                         and D. Switzer Re: Procera
                                                                         Reports (BHN_00005357-
                                                                         BHN_00005380)
PX0475                             TBD           F, H, ID, MIL,          2020.08.27 Final warning
                                                 403-P, 403-C, R         comments, all accounts.xlsx
                                                                         (BHN_00005384)
PX0476                             Knudsen,      703, F, H, ID,          2014.03.31 Email from A.
                                   Furchtgott-   MIL, 403-P, 403-C,      Martineau to S. Miron, N.
                                   Roth          R                       Bergman, K. Hyman, S.
                                                                         Colafrancesco, C. Cowden, K.
                                                                         Maki, L. Cloutier cc: K.
                                                                         Kramersmeier Re: Recap from
                                                                         tiers exec debrief (Plaintiffs'
                                                                         Deposition Ex. 229)
                                                                         (BHN_00005457-
                                                                         BHN_00005475)
PX0477                             Knudsen,      703, F, H, ID,          2013.09.09 Bright House
                                   Furchtgott-   MIL, 403-P, 403-C,      Networks Residential High
                                   Roth          R                       Speed Internet Tiers PowerPoint
                                                                         Presentation (Plaintiffs'
                                                                         Deposition Ex. 228)
                                                                         (BHN_00005583-
                                                                         BHN_00005594)
PX0478                             Knudsen,      703, F, H, ID,          2014.03.25 Email chain between
                                   Furchtgott-   MIL, 403-P, 403-C,      C. Cowden, J. Hendrickson, and
                                   Roth          R                       S. Buerkle Re: Procera and
                                                                         Samknows decks
                                                                         (BHN_00005614)
PX0479                             Sutterby,     703, F, H, ID,          2014.01.01 Bright House
                                   Knudsen       MIL, 403-P, 403-C,      Networks Presentation -
                                                 R                       Network Engineering
                                                                         SamKnows (BHN_00005615-
                                                                         BHN_00005621)
PX0480                             Sutterby,     703, F, H, 403-P,       2013.11.18 Bright House
                                   Knudsen       403-C, R                Networks Presentation -
                                                                         Network Analytics


                                                    66
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 68 of 161 PageID 67501

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                 Description of Exhibit
                                                                         (BHN_00005622-
                                                                         BHN_00005629)
PX0481                             Bergman,      703, F, H, 403-P,       2014.04.06 Email from J.
                                   Futch,        403-C, R                Hendrickson to S. Paulus, N.
                                   Furchtgott-                           Bergman, S. Miron, K. Hyman,
                                   Roth                                  L. Cloutier, S. Colafrancesco, C.
                                                                         Cowden, W. Futch, K.
                                                                         Kramersmeier, K. Maki, M.
                                                                         Robertson, A. Steinhauer, C.
                                                                         Harrison, R. Cherney, S. Martin,
                                                                         A. Thompson, S. Buerkle, P.
                                                                         Williams, F. Festa, and P.
                                                                         Tennant Re: Executive Debrief:
                                                                         Sam Knows Speed Test -
                                                                         Hendrickson (BHN_00005630-
                                                                         BHN_00005640)
PX0482                             Sutterby,     703, F, H, 403-P,       Attachment to BHN_00005630 -
                                   Knudsen       403-C, R                Excel Spreadsheet Titled
                                                                         Microsoft_Excel_Worksheet2.xls
                                                                         x (BHN_00005641)
PX0483                             Sutterby,     703, F, H, 403-P,       Attachment to BHN_00005630 -
                                   Knudsen       403-C, R                Excel Spreadsheet Titled
                                                                         Microsoft_Excel_Worksheet1.xls
                                                                         x (BHN_00005642)
PX0484                             Frendberg     F, H, ID, MIL,          2021.07.28 Excel Spreadsheet
                                                 403-P, 403-C, R         Titled 20210728 customer facing
                                                                         actions, by calendar month, with
                                                                         calls to custo....xlsx
                                                                         (BHN_00005881)
PX0485                             Frendberg     F, H, ID, MIL,          Excel Spreadsheet titled
                                                 403-P, 403-C, R         ECAT_ESAT_3orMore_ECAT
                                                                         DataWithActions.csv
                                                                         (BHN_00005882)
PX0486                             Knudsen,      Daubert 583, F, H,      2014-2016 Charter
                                   Furchtgott-   ID, MIL, 403-P,         Communications, Inc. Pro
                                   Roth          403-C, R, 703           Forma Customer Metrics (in
                                                                         thousands except ARPU and
                                                                         penetration, unaudited)
                                                                         (Plaintiffs' Deposition Ex. 224)
                                                                         (BHN_00005883-
                                                                         BHN_00005891)
PX0487                             Knudsen,      F, H, ID, MIL,          2016.04.00 Bright House
                                   Furchtgott-   403-P, 403-C, R         Networks, Monthly Financial
                                   Roth                                  Package, April 2016 (Plaintiffs'
                                                                         Deposition Ex. 221)
                                                                         (BHN_00005901-


                                                    67
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 69 of 161 PageID 67502

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                 Description of Exhibit
                                                                         BHN_00005927)

PX0488                             Knudsen,      F, H, ID, MIL,          2014.12.00 Bright House
                                   Furchtgott-   403-P, 403-C, R         Networks, Monthly Financial
                                   Roth                                  Package, December 2014
                                                                         (Plaintiffs' Deposition Ex. 219)
                                                                         (BHN_00005928-
                                                                         BHN_00005954)
PX0489                             Knudsen,      F, H, 403-P, 403-C,     2015.12.00 Bright House
                                   Furchtgott-   R                       Networks, Monthly Financial
                                   Roth                                  Package, December 2015
                                                                         (Plaintiffs' Deposition Ex. 220)
                                                                         (BHN_00005955-
                                                                         BHN_00005981)
PX0490                             Frendberg     F, H, MIL, 403-P,       2021.08.10 RIAA ESAT
                                                 403-C, R                copyright tickets (for plaintiffs)
                                                                         (BHN_00005982)
PX0491                             Frendberg     F, H, ID, MIL,          2021.08.17 Customer facing
                                                 403-P, 403-C, R         actions, by calendar month, with
                                                                         calls to customer
                                                                         (BHN_00005983)
PX0492                             Frendberg     ID                      Letter to T. Frendberg from
                                                                         Account #55722184-02 Re:
                                                                         Copyright Infringement Notice
                                                                         (BHN_00005984-
                                                                         BHN_00005985)
PX0493                             Frendberg     ID                      2016.06.29 Letter to T.
                                                                         Frendberg Re: Allegations of
                                                                         Copyright Infringement
                                                                         (BHN_00005990-
                                                                         BHN_00005992)
PX0494                             Frendberg     ID                      2016.04.26 Letter to T.
                                                                         Frendberg Re: Allegations of
                                                                         Copyright
                                                                         Infringement/Account #
                                                                         2020760-08 (BHN_00005995-
                                                                         BHN_00005996)
PX0495                             Frendberg     F, H, ID, MIL,          2016.03.19 Letter to T.
                                                 403-P, 403-C, R         Frendberg Re: FedEx Letter
                                                                         Received March 15th
                                                                         (BHN_00006009-
                                                                         BHN_00006011)
PX0496                             Frendberg     H, 403-P, 1002, F       Letter to T. Frendberg Re:
                                                                         Allegations of Copyright
                                                                         Infringement/Account #
                                                                         4908484-02 (BHN_00006012)


                                                      68
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 70 of 161 PageID 67503

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0497                             Frendberg   H, 403-P, 1002, F       2016.03.14 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement
                                                                       (BHN_00006014-
                                                                       BHN_00006016)
PX0498                             Frendberg                           2016.03.10 Customer Response
                                                                       to Letter from Bright House
                                                                       Networks Re: Allegations of
                                                                       Copyright Infringement / Your
                                                                       Account # 2473644-01
                                                                       (BHN_00006017-
                                                                       BHN_00006018)
PX0499                             Frendberg   H, 403-P, 1002, F       2016.03.15 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement
                                                                       (BHN_00006023)
PX0500                             Frendberg                           2016.03.26 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement
                                                                       (BHN_00006024-
                                                                       BHN_00006025)
PX0501                             Frendberg                           2016.03.15 Letter to T.
                                                                       Frendberg Re: Copyright
                                                                       Infringement Notice
                                                                       (BHN_00006031-
                                                                       BHN_00006032)
PX0502                             Frendberg                           2016.03.16 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement
                                                                       (BHN_00006037-
                                                                       BHN_00006040)
PX0503                             Frendberg   H, 403-P, 1002, F       2016.03.16 Letter to T.
                                                                       Frendberg Re: Copyright
                                                                       Infringement Notice
                                                                       (BHN_00006060-
                                                                       BHN_00006061)
PX0504                             Frendberg                           2016.03.15 Letter to T.
                                                                       Frendberg from Account
                                                                       #4159786-03 Re: Copyright
                                                                       Infringement Notice
                                                                       (BHN_00006070-
                                                                       BHN_00006071)
PX0505                             Frendberg                           Letter to T. Frendberg from
                                                                       Account #4099853-01 Re:
                                                                       Copyright Infringement Notice
                                                                       (BHN_00006073)


                                                 69
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 71 of 161 PageID 67504

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0506                             Frendberg                           Letter to T. Frendberg Re:
                                                                       Allegations of Copyright
                                                                       Infringement (BHN_00006079)
PX0507                             Frendberg                           Letter to T. Frendberg Re:
                                                                       Copyright Infringement Notice
                                                                       (BHN_00006086)
PX0508                             Frendberg                           2016.03.15 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement
                                                                       (BHN_00006094)
PX0509                             Frendberg                           2016.03.14 Letter to T.
                                                                       Frendberg Re: Copyright
                                                                       Infringement Notice
                                                                       (BHN_00006098-
                                                                       BHN_00006099)
PX0510                             Frendberg                           2016.02.18 Letter to T.
                                                                       Frendberg Re: Copyright
                                                                       Infringement Notice
                                                                       (BHN_00006102-
                                                                       BHN_00006103)
PX0511                             Frendberg                           2016.02.17 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement
                                                                       (BHN_00006106-
                                                                       BHN_00006108)
PX0512                             Frendberg                           2016.02.09 Letter to Tim
                                                                       Frendberg Re: Acceptable Use
                                                                       Policy (BHN_00006113-
                                                                       BHN_00006114)
PX0513                             Frendberg                           2016.02.12 Letter to T.
                                                                       Frendberg from Account
                                                                       #1664128-33 Re: Copyright
                                                                       Infringement Notice
                                                                       (BHN_00006115-
                                                                       BHN_00006117)
PX0514                             Frendberg                           2016.02.10 Letter to T.
                                                                       Frendberg from Account
                                                                       #2941599-02 Re: Copyright
                                                                       Infringement Notice
                                                                       (BHN_00006118-
                                                                       BHN_00006120)
PX0515                             Frendberg                           2016.02.08 Letter to T.
                                                                       Frendberg Re: Allegations of
                                                                       Copyright Infringement/My
                                                                       Account # 1504104-02
                                                                       (BHN_00006121-


                                                 70
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 72 of 161 PageID 67505

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        BHN_00006122)

PX0516                             Frendberg                            2016.02.08 Letter to T.
                                                                        Frendberg Re: Allegations of
                                                                        Copyright Infringement
                                                                        (BHN_00006125-
                                                                        BHN_00006126)
PX0517                             Frendberg                            2016.02.16 Letter to T.
                                                                        Frendberg Re: Allegations of
                                                                        Copyright Infringement
                                                                        (BHN_00006134-
                                                                        BHN_00006135)
PX0518                             Frendberg,   403-P, H, R             2012.05.14 Email chain between
                                   Tomasullo                            T. Frendberg to M. Tomasullo
                                                                        Re: ECAT (BHN_00006156-
                                                                        BHN_00006157)
PX0519                             Frendberg    F, H, ID, 403-P,        2012.05.25 Email chain between
                                                403-C, R                T. Frendberg, M. Molinaro, and
                                                                        M. Ojeda Re: 20101102 BHN
                                                                        High Speed Security and Abuse
                                                                        Playbook (BHN_00006158-
                                                                        BHN_00006177)
PX0520                             Frendberg    403-P, H, R             2015.11.30 Email chain between
                                                                        T. Frendberg and D. Greaves Re:
                                                                        BHN Abuse contact
                                                                        (BHN_00006237-
                                                                        BHN_00006241)
PX0521                             Frendberg    403-P, MIL, R           Attachment to BHN_00006237 -
                                                                        Excel Spreadsheet Titled XML
                                                                        Parse Errors.xlsx
                                                                        (BHN_00006242)
PX0522                             Frendberg,   F, H, ID, 403-P,        2016.03.08 Bright House
                                   Tomasullo    403-C, R                Networks Abuse Playbook -
                                                                        Internet Security and Abuse
                                                                        (BHN_00006292-
                                                                        BHN_00006312)
PX0523                             Frendberg    H, 403-P, 1002, F       2012.03.18 Email chain between
                                                                        N. Bergman and M. Johnson Re:
                                                                        DMCA Update
                                                                        (BHN_00006323)
PX0524                             TBD          403-P                   ESAT Enterprise Security and
                                                                        Abuse Tool PowerPoint
                                                                        (BHN_00006984-
                                                                        BHN_00006990)




                                                  71
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 73 of 161 PageID 67506

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                 Description of Exhibit
PX0525                             TBD          403-P                   2008.00.00 Bright House
                                                                        Networks Solution Design
                                                                        Specification for ESAT
                                                                        Implementation
                                                                        (BHN_00006991-
                                                                        BHN_00007005)
PX0526                             Frendberg,   403-P, H, R             2015.09.22 Email chain between
                                   Tomasullo,                           T. Frendberg, M. Tomasullo,
                                   Droessler                            and C. Droessler Re: ECAT
                                                                        Customer ID (BHN_00007404-
                                                                        BHN_00007419)
PX0527                             Frendberg    403-P, H, R             2015.11.18 Email chain between
                                                                        T. Frendberg and M. Tomasullo
                                                                        Re: ignored due to timestamp
                                                                        (BHN_00007448-
                                                                        BHN_00007449)
PX0528                             Frendberg    403-P, H, R             2015.11.18 Email chain between
                                                                        T. Frendberg and M. Tomasullo
                                                                        Re: ignored due to timestamp
                                                                        (BHN_00007450-
                                                                        BHN_00007451)
PX0529                             Frendberg,   F, H, ID, MIL,          2015.11.18 Email from M.
                                   Tomasullo    403-P, 403-C, R         Tomasullo to T. Frendberg Re:
                                                                        20151117 timestamp closed
                                                                        MTD analysis (BHN_00007456)
PX0530                             Frendberg,   F, H, ID, MIL,          Attachment to BHN_00007456 -
                                   Tomasullo    403-P, 403-C, R         Excel Spreadsheet Titled "Latest
                                                                        Top 5.xlsx" (BHN_00007457)
PX0531                             Frendberg    INC, H, 403-P,          2015.12.03 Email chain between
                                                1002, F                 K. Ifill, P. Mersinger, A. Eskew,
                                                                        di-tno-netops-eft-enterprise, M.
                                                                        Tomasullo, R. Whelan, and T.
                                                                        Frendberg Re: issuetrak question
                                                                        (BHN_00007479-
                                                                        BHN_00007487)
PX0532                             Frendberg    H, 403-P, 1002, F       2015.12.03 Email chain between
                                                                        M. Tomasullo, P. Mersinger, K.
                                                                        Ifill, A. Eskew, di-tno-netops-eft-
                                                                        enterprise, R. Whelan, and T.
                                                                        Frendberg Re: issuetrak question
                                                                        (BHN_00007488-
                                                                        BHN_00007496)
PX0533                             Frendberg    403-P, H, R             2016.02.03 Email chain between
                                                                        T. Frendberg and W. Futch Re:
                                                                        Abuse Logger Issues with ECAT
                                                                        (BHN_00007543-


                                                  72
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 74 of 161 PageID 67507

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        BHN_00007544)

PX0534                             Frendberg,   403-P, H, R             2016.02.23 Email to T.
                                   Droessler                            Frendberg Re: [JIRA]
                                                                        [Copyright-108] update ECAT
                                                                        records for misidentified
                                                                        customers - Droessler comment
                                                                        (BHN_00007548)
PX0535                             Frendberg,   403-P, H, R             2016.03.10 Email from T.
                                   Tomasullo,                           Frenberg to C. Droessler and M.
                                   Droessler                            Tomasullo Re: unidentified
                                                                        complaints (BHN_00007552-
                                                                        BHN_00007554)
PX0536                             Frendberg    403-P, MIL, R           Attachment to BHN_00007555 -
                                                                        Excel Spreadsheet Titles From
                                                                        TWC ABuse Desk - for IP-
                                                                        Echelon.xlsx (BHN_00007556)
PX0537                             Frendberg,   403-P, H, R             2016.03.15 Email from JIRA to
                                   Droessler                            T. Frendberg Re: [JIRA]
                                                                        (Copyright-108) update ECAT
                                                                        records for misidentified
                                                                        customers - Droessler comment
                                                                        (BHN_00007557)
PX0538                             Frendberg,   403-P, H, R             2016.03.22 Email chain between
                                   Droessler                            M. Tomasullo, T. Gray, M.
                                                                        Allison, and T. Frendberg Re:
                                                                        ESAT Migration
                                                                        (BHN_00007558-
                                                                        BHN_00007559)
PX0539                             Frendberg,   403-P, H, R             2016.03.22 Email chain between
                                   Droessler                            T. Gray, M. Tomasullo, M.
                                                                        Allison, and T. Frendberg Re:
                                                                        ESAT Migration
                                                                        (BHN_00007560-
                                                                        BHN_00007561)
PX0540                             Frendberg    403-P, H, R             2016.04.01 Email chain between
                                                                        T. Frendberg, C. Droessler, and
                                                                        M. Tomasullo Re: unidentified
                                                                        complaints (BHN_00007582-
                                                                        BHN_00007587)
PX0541                             Frendberg,   F, H, ID, MIL,          2016.04.15 Email from M.
                                   Tomasullo    403-P, 403-C, R         Tomasullo to T. Frendberg Re:
                                                                        CRC Top 20 (BHN_00007593)
PX0542                             Frendberg,   F, H, ID, MIL,          Attachment to BHN_00007593 -
                                   Tomasullo    403-P, 403-C, R         Excel Spreadsheet Titled
                                                                        CRC_Top20_04152016.xlsx


                                                  73
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 75 of 161 PageID 67508

 Exhibit     Date        Date                   Objections/Stipulated
  No.      Identified   Admitted     Witness        Admissions                Description of Exhibit
                                                                        (BHN_00007594)

PX0543                             Frendberg    403-P, H, R             2016.01.08 Email chain between
                                                                        C. Droessler to T. Frendberg and
                                                                        M. Tomasullo Re: something
                                                                        odd… (BHN_00007738-
                                                                        BHN_00007740)
PX0544                             Frendberg    403-P, H, R             2016.01.08 Email chain between
                                                                        C. Droessler to T. Frendberg and
                                                                        M. Tomasullo Re: something
                                                                        odd… (BHN_00007741-
                                                                        BHN_00007744)
PX0545                             Frendberg    403-P, H, R             2016.01.08 Email chain between
                                                                        M. Tomasullo, C. Droessler, and
                                                                        M. Tomasullo Re: something
                                                                        odd… (BHN_00007745-
                                                                        BHN_00007748)
PX0546                             Frendberg    403-P, H, R             2016.01.12 Email chain between
                                                                        T. Frendberg to M. Tomasullo,
                                                                        and C. Droessler Re: something
                                                                        odd… (BHN_00007749-
                                                                        BHN_00007753)
PX0547                             Frendberg,   403-P, H, R             2016.02.10 Email from C.
                                   Tomasullo,                           Droessler to T. Frendberg and
                                   Droessler                            M. Tomasullo Re: ECAT
                                                                        Reporting (BHN_00007761)
PX0548                             Frendberg,   403-P, H, R             2016.02.10 Email from M.
                                   Tomasullo                            Tomasullo to T. Gray, M.
                                                                        Allison, and T. Frendberg Re:
                                                                        ECAT reporting
                                                                        (BHN_00007762)
PX0549                             Frendberg    403-P, H, R             2016.02.12 Email chain between
                                                                        T. Frendberg, M. Tomasullo,
                                                                        and C. Droessler Re: ECAT
                                                                        reporting (BHN_00007763-
                                                                        BHN_00007764)
PX0550                             Frendberg    F, H, ID, 403-P,        2014.04.01 Appointment invite
                                                403-C, R                from M. Johnson to W. Futch
                                                                        attaching Fraud, Security, and
                                                                        Abuse Executive Briefing dated
                                                                        June 6, 2011 and Fraud
                                                                        Management in a VolP
                                                                        Environment Follow Up dated
                                                                        April 1, 2014 (Plaintiffs'
                                                                        Deposition Ex. 74)
                                                                        (BHN_00008409-


                                                  74
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 76 of 161 PageID 67509

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
                                                                         BHN_00008458)

PX0551                             Frendberg     F, H, ID, MIL,          2016.01.25 Email chain between
                                                 403-P, 403-C, R         P. Hollidge, T. Frendberg, D.
                                                                         Hrarko, and S. Usher Re:
                                                                         Copyright Complaint Processing
                                                                         (BHN_00008528-
                                                                         BHN_00008532)
PX0552                             Frendberg     403-P, H, R             2016.03.22 Email chain between
                                                                         C. Droessler and T. Frendberg
                                                                         Re: duplicate modem issue
                                                                         (BHN_00008533-
                                                                         BHN_00008536)
PX0553                             Knudsen,      Daubert 583, F, H,      Bright House Networks - Income
                                   Furchtgott-   INC, 403-P, 403-C,      Statement - Current Month &
                                   Roth          R, 703                  YTD - Detail vs Budget, June
                                                                         2016 (BHN_00008544)
PX0554                             Knudsen,      Daubert 583, F, H,      Bright House Networks - Income
                                   Furchtgott-   INC, 403-P, 403-C,      Statement - Current Month &
                                   Roth          R, 703                  YTD - Detail vs Budget,
                                                                         December 2013
                                                                         (BHN_00008545)
PX0555                             Knudsen,      Daubert 583, F, H,      Bright House Networks - Income
                                   Furchtgott-   INC, 403-P, 403-C,      Statement - Current Month &
                                   Roth          R, 703                  YTD - Detail vs Budget,
                                                                         December 2014
                                                                         (BHN_00008546)
PX0556                             Knudsen,      Daubert 583, F, H,      2015.12.00 Bright House
                                   Furchtgott-   INC, 403-P, 403-C,      Networks - Income Statement -
                                   Roth          R, 703                  Current Month & YTD - Detail
                                                                         vs Budget, December, 2015
                                                                         (Plaintiffs' Deposition Ex. 217)
                                                                         (BHN_00008547)
PX0557                             Knudsen,      F, H, INC, 403-P,       Bright House Networks - Income
                                   Furchtgott-   403-C, R                Statement - Current Month &
                                   Roth                                  YTD - Detail vs Budget,
                                                                         December 2012
                                                                         (BHN_00008548)
PX0558                             Knudsen,      F, H, 403-P, 403-C,     2012.04.05 BHN Offers and
                                   Furchtgott-   R                       Programs All Markets - April 5,
                                   Roth                                  2012 (Plaintiffs' Deposition Ex.
                                                                         227) (BHN_00008549-
                                                                         BHN_00008559)
PX0559                             Knudsen       F, H, 403-P, 403-C,     2012.05.01 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  May 1, 2012 (BHN_00008560-


                                                   75
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 77 of 161 PageID 67510

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
                                                                         BHN_00008570)

PX0560                             Knudsen       F, H, 403-P, 403-C,     2012.06.01 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  June 1, 2012 (BHN_00008571-
                                                                         BHN_00008582)
PX0561                             Knudsen       F, H, 403-P, 403-C,     2012.07.13 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  July 13, 2012 (BHN_00008583-
                                                                         BHN_00008593)
PX0562                             Knudsen       F, H, 403-P, 403-C,     2012.07.18 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  July 18, 2012 (BHN_00008594-
                                                                         BHN_00008604)
PX0563                             Knudsen       F, H, 403-P, 403-C,     2012.08.21 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  August 21, 2012
                                                                         (BHN_00008605-
                                                                         BHN_00008615)
PX0564                             Knudsen       F, H, 403-P, 403-C,     2012.10.01 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  October 1, 2012
                                                                         (BHN_00008616-
                                                                         BHN_00008626)
PX0565                             Knudsen       F, H, 403-P, 403-C,     2013.01.15 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  January 15, 2013
                                                                         (BHN_00008627-
                                                                         BHN_00008638)
PX0566                             Knudsen       F, H, 403-P, 403-C,     2013.03.01 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  March 1, 2013 (BHN_00008639-
                                                                         BHN_00008650)
PX0567                             Knudsen       F, H, 403-P, 403-C,     2013.04.01 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  April 1, 2013 (BHN_00008651-
                                                                         BHN_00008662)
PX0568                             Knudsen       F, H, 403-P, 403-C,     2013.06.13 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  June 13, 2013 (BHN_00008663-
                                                                         BHN_00008675)
PX0569                             Knudsen       F, H, 403-P, 403-C,     2013.09.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  September 2013
                                                                         (BHN_00008676-
                                                                         BHN_00008688)


                                                   76
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 78 of 161 PageID 67511

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
PX0570                             Knudsen       F, H, 403-P, 403-C,     2013.10.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  October 2013 (BHN_00008689-
                                                                         BHN_00008701)
PX0571                             Knudsen,      Daubert 583, F, H,      2013.11.00 Bright House
                                   Furchtgott-   403-P, 403-C, R,        Networks, Offers and Programs
                                   Roth          703                     All Markets, November 2013
                                                                         (BHN_00008702-
                                                                         BHN_00008714)
PX0572                             Knudsen       F, H, 403-P, 403-C,     2014.02.25 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  February 25, 2014
                                                                         (BHN_00008715-
                                                                         BHN_00008728)
PX0573                             Knudsen       F, H, 403-P, 403-C,     2014.04.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  April 2014 (BHN_00008729-
                                                                         BHN_00008742)
PX0574                             Knudsen       F, H, 403-P, 403-C,     2014.07.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  July 2014 (BHN_00008743-
                                                                         BHN_00008757)
PX0575                             Knudsen       F, H, 403-P, 403-C,     2014.09.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  September 2014
                                                                         (BHN_00008758-
                                                                         BHN_00008772)
PX0576                             Knudsen       F, H, 403-P, 403-C,     2014.10.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  October 2014 (BHN_00008773-
                                                                         BHN_00008787)
PX0577                             Knudsen       F, H, 403-P, 403-C,     2014.12.11 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  December 11, 2014
                                                                         (BHN_00008788-
                                                                         BHN_00008803)
PX0578                             Knudsen       F, H, 403-P, 403-C,     2015.01.30 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  January 30, 2015
                                                                         (BHN_00008804-
                                                                         BHN_00008818)
PX0579                             Knudsen       F, H, 403-P, 403-C,     2015.04.01 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  April 1, 2015 (BHN_00008819-
                                                                         BHN_00008834)



                                                   77
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 79 of 161 PageID 67512

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
PX0580                             Knudsen       F, H, 403-P, 403-C,     2015.05.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  May 2015 (BHN_00008835-
                                                                         BHN_00008851)
PX0581                             Knudsen       F, H, 403-P, 403-C,     2015.07.00 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  July 2015 (BHN_00008852-
                                                                         BHN_00008868)
PX0582                             Knudsen       F, H, 403-P, 403-C,     2015.09.22 Bright House
                                   Furchtgott-   R                       Networks, Offers and Programs,
                                   Roth                                  September 22, 2015
                                                                         (BHN_00008869-
                                                                         BHN_00008887)
PX0583                             Knudsen       F, H, 403-P, 403-C,     2016.02.02 Bright House
                                   Furchtgott-   R                       Networks Promotional Offers -
                                   Roth                                  February 2016 (BHN_00008888-
                                                                         BHN_00008909)
PX0584                             Knudsen       F, H, 403-P, 403-C,     2016.03.02 Bright House
                                   Furchtgott-   R                       Networks Promotional Offers -
                                   Roth                                  March 2016 (BHN_00008910-
                                                                         BHN_00008931)
PX0585                             Knudsen       F, H, 403-P, 403-C,     2016.04.00 Bright House
                                   Furchtgott-   R                       Networks Promotional Offers -
                                   Roth                                  April 2016 (BHN_00008932-
                                                                         BHN_00008957)
PX0586                             Knudsen       Daubert 583, F, H,      Bright House Networks
                                   Furchtgott-   403-P, 403-C, R,        Residential Retail Pricing
                                   Roth          703                     (excludes equipment)
                                                                         (BHN_00008958)
PX0587                             TBD           F, H, 403-P, 403-C,     2012.04.00 Email chain between
                                                 R                       T. Hollifield, BHNIS-Network
                                                                         Engineering, BHNIS-Sustaining
                                                                         Engineering, D. Morrell, T.
                                                                         Garcia, and K. Baker Re:
                                                                         Consumption Based Billing
                                                                         Papers and Attachment
                                                                         (BHN_00008961-
                                                                         BHN_00008972)
PX0588                             TBD           703, F, H, 403-P,       2012.06.18 Email chain between
                                                 403-C, R                T. Hollifield, J. Hendrickson,
                                                                         and J. McDaniel Re: Procera
                                                                         Reports and Attachments
                                                                         (BHN_00008973-
                                                                         BHN_00009001)
PX0589                             TBD           703, F, H, 403-P,       Bright House Networks Traffic
                                                 403-C, R                Overview for week 2012-06-04


                                                    78
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 80 of 161 PageID 67513

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       (Plaintiffs' Deposition Ex. 236)
                                                                       (BHN_00008983-
                                                                       BHN_00008996)
PX0590                             TBD         703, F, H, 403-P,       2012.11.27 Email from B.
                                               403-C, R                Borowicz to M. Molinaro and T.
                                                                       Hollifield cc: G. McLaughlin Re:
                                                                       Web Filtering Categories
                                                                       (BHN_00009002-
                                                                       BHN_00009015)
PX0591                             TBD         H, 403-P, 1002, F       2015.03.15 Email chain between
                                                                       T. Hollifield and J. Allinder Re: I
                                                                       never made it back to my office
                                                                       yesterday and Attachments
                                                                       (BHN_00009016-
                                                                       BHN_00009039)
PX0592                             TBD         INC, W, F, ID,          Defendant Bright House
                                               403-P, 403-C, R, H      Networks, LLC’s September 9,
                                                                       2021 Supplemental Responses to
                                                                       Plaintiffs’ Interrogatories Nos.
                                                                       19-23 (BHN_00009061-
                                                                       BHN_00009063)
PX0593                             Sutterby,   703, F, H, 403-P,       Bright House Networks Traffic
                                   Knudsen     403-C, R, NB, ID        Overview for week 2012-09-03
                                                                       (BHN_00005357-
                                                                       BHN_00005380)
PX0594                             Droessler   403-P, R, VOL           ECAT source code
                                                                       (BHN_SC_000001-
                                                                       BHN_SC_000619)
PX0595                             TBD         F, H, R, 403-P          2019.09.30 Email chain between
                                                                       J. Neller, S. Kendall, K. Hartley,
                                                                       DL-Corp-IT-Storage Team, K.
                                                                       Barrett, and J. Fortney Re: BHN
                                                                       backups (Plaintiffs' Deposition
                                                                       Ex. 603) (BHN_00001373-
                                                                       BHN_00001374)
PX0596                             Birenz      F, H, 403-P             2016.04.28 Email from J. Birenz
                                                                       to M. Oppenheim Re: Copyright
                                                                       Claims Against Bright House
                                                                       Networks (Plaintiffs' Deposition
                                                                       Ex. 78) (Birenz_00000001-
                                                                       Birenz_00000002)
PX0597                             Birenz      F, H, 403-P             2016.05.03 Email chain between
                                                                       M. Oppenheim and J. Birenz Re:
                                                                       Copyright Claims Against Bright
                                                                       House Networks
                                                                       (BIRENZ_00000003-


                                                  79
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 81 of 161 PageID 67514

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions               Description of Exhibit
                                                                       BIRENZ_00000005)

PX0598                             Birenz      408, MIL, F, H,  2016.05.09 Email chain between
                                               ID, LA, NA, 403- J. Birenz, M. Oppenheim, S.
                                               P, 403-C, R      Zebrak, L. Lichtman, and C.
                                                                Harrison Re: Copyright Claims
                                                                Against Bright House Networks
                                                                (Birenz_00000006-
                                                                Birenz_00000011)
PX0599                             Birenz      408, MIL, F, H,  2016.05.13 Email chain between
                                               ID, LA, NA, 403- M. Oppenheim, J. Birenz S.
                                               P, 403-C, R      Zebrak, L. Lichtman, and C.
                                                                Harrison Re: Copyright Claims
                                                                Against Bright House Networks
                                                                (Birenz_00000012-
                                                                Birenz_00000020)
PX0600                             Birenz      408, MIL, F, H,  2016.05.18 Email exchange
                                               ID, LA, NA, 403- between J. Birenz, M.
                                               P, 403-C, R      Oppenheim, S. Zebrak, L.
                                                                Lichtman, and C. Harrison Re:
                                                                Copyright Claims Against Bright
                                                                House Networks
                                                                (Birenz_00000021-
                                                                Birenz_00000026)
PX0601                             Birenz      408, MIL, F, H,  2016.05.20 Email chain between
                                               ID, LA, NA, 403- J. Birenz, M. Oppenheim, S.
                                               P, 403-C, R      Zebrak, L. Lichtman, and C.
                                                                Harrison Re: Copyright Claims
                                                                Against Bright House Networks
                                                                (Plaintiffs' Deposition Ex. 70)
                                                                (BIRENZ_00000027-
                                                                BIRENZ_00000032)
PX0602                             Birenz      408, MIL, F, H,  2016.03.23 Email chain between
                                               ID, INC, MD, NA, J. Birenz, R. Steele, C. Sebec,
                                               403-P, 403-C, R  and C. Harmon Re: Rightscorp -
                                                                Bright House Network
                                                                (Birenz_00000033-
                                                                Birenz_00000035)
PX0603                             Birenz      408, MIL, F, H,  2016.02.22 Email chain between
                                               ID, INC, MD, NA, J. Birenz, R. Steele, C. Sebec,
                                               403-P, 403-C, R  and C. Harmon Re: Rightscorp -
                                                                Bright House Network
                                                                (Birenz_00000036-
                                                                Birenz_00000037)




                                                 80
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 82 of 161 PageID 67515

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
PX0604                             Birenz        MIL, F, H, ID,          2015.10.13 Email chain between
                                                 NA, 403-P, 403-C,       R. Steele and J. Birenz Re:
                                                 R                       Bright House Networks
                                                                         (Birenz_00000038)
PX0605                             Birenz        MIL, F, H, INC,         2015.02.27 Letter from J. Birenz
                                                 ID, NA, NB, 403-        to R. Steele Re: Request for
                                                 P, 403-C, R             Meeting to Discuss Alleged
                                                                         Infringements (Plaintiffs'
                                                                         Deposition Ex. 79)
                                                                         (Birenz_00000039-
                                                                         Birenz_00000041)
PX0606                             Birenz        MIL, F, H, NA,          2015.01.13 Letter from R. Steele
                                                 403-P, 403-C, R         to W. Futera Re: Request for In
                                                                         Person Meeting
                                                                         (BIRENZ_00000042-
                                                                         BIRENZ_00000044)
PX0607                             Knudsen,      F, H, NA, 403-P,        2011.12.31 Bright House
                                   Furchtgott-   403-C, 403-P, R,        Networks, LLC and Subsidiaries
                                   Roth          703, NTP                Consolidated Financial
                                                                         Statements December 31, 2012
                                                                         and 2011 (With Independent
                                                                         Auditors' Report Thereon)
                                                                         (KPMG-BH-0000166-KPMG-
                                                                         BH-0000188)
PX0608                             Knudsen,      Daubert 583, F, H,      Bright House Networks
                                   Furchtgott-   NA, 403-P, 403-C,       Residential Subscriber Revenue
                                   Roth          R, 703, NTP             Expectation as of December 31,
                                                                         2014 (KPMG-BH-0000655-79)
                                                                         (KPMG-BH-0000655-KPMG-
                                                                         BH-0000679)
PX0609                                                                   Withdrawn
                                   -

PX0610                             Bahun         F, H, 403-P             2012.04.11 Mark Monitor P2P
                                                                         Enforcement Process -Prepared
                                                                         for the Motion PictuRe:
                                                                         Association of America and the
                                                                         Recording Industry Association
                                                                         of America (MM000195-
                                                                         MM000227)
PX0611                             Bahun         F, H, 403-P             2011.00.00 Mark Monitor Stroz
                                                                         Friedberg - Overview of Anti-
                                                                         Piracy Process - Sam Bahun,
                                                                         Terri Denver, Jacob Birk
                                                                         (MM000228-MM000236)




                                                   81
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 83 of 161 PageID 67516

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
PX0612                             Bahun         F, H, 403-P             Response to Stroz Friedberg
                                                                         (MM000237-MM000239)
PX0613                             Bahun         F, H, 403-P             Mark Monitor - Response to
                                                                         Harbor Labs Executive
                                                                         Summary (MM000240-
                                                                         MM000241)
PX0614                             TBD           MIL, DUP of PX          2016.04.15 Letter from M.
                                                 338, F, H, 403-P,       Oppenheim to S. Miron Re:
                                                 403-C, R                Notice of Copyright Claim
                                                                         (PL_BH_0084284-
                                                                         PL_BH_0084286)
PX0615                             TBD           MIL, DUP of PX          2016.04.15 Letter from M.
                                                 338, 614, F, H,         Oppenheim to S. Miron Re:
                                                 403-P, 403-C, R         Notice of Copyright Claim
                                                                         (PL_BH_0084287-
                                                                         PL_BH_0084289)
PX0616                             Jang          F, H, MIL, 403-P,       2016.03.09 Email chain between
                                                 403-C, R                D. Price, D. Jang, and J. Banks
                                                                         Re: Market research slides
                                                                         (PL_BH_0121744-
                                                                         PL_BH_0121764)
PX0617                                                                   Withdrawn
                                   -

PX0618                             Marks         F, H, 403-P, INC,       2012.06.29 Email from T.
                                                 NB, NP                  Denver to V. Sheckler cc: M.
                                                                         McDevitt Re: updated
                                                                         Commercial ISP List
                                                                         (RIAA_BH_00000050)
PX0619                             Marks         F, H, 403-P, INC,       Attachment to
                                                 NB, NP                  RIAA_BH_00000051 - Excel
                                                                         Spreadsheet Titled Notice
                                                                         sending ISP change stats.xlsx
                                                                         (RIAA_BH_00000051)
PX0620                             Marks         F, H, 403-P             2012.08.16 Email chain between
                                                                         T. Denver, V. Sheckler, and M.
                                                                         McDevitt Re: New ISP list - new
                                                                         non-participating
                                                                         (RIAA_BH_00000086-
                                                                         RIAA_BH_00000088)
PX0621                             Bahun,        F, H, 403-P             2016.01.08 Email from S. Bahun
                                   Marks                                 to V. Sheckler Re: Non-
                                                                         participating ISP Report
                                                                         (RIAA_BH_00004230)
PX0622                             Bahun,        F, H, 403-P             Excel spreadsheet attachment to
                                   Marks                                 email from S. Bahun to V.


                                                   82
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 84 of 161 PageID 67517

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Sheckler Re: Non-participating
                                                                       ISP Report
                                                                       (RIAA_BH_00004231)
PX0623                             Frendberg   F, H, 403-P             2015.02.24 Email chain between
                                                                       B. Smith and RIAA Re:
                                                                       Copyright Infringement - Notice
                                                                       ID #222103185498 (Plaintiffs'
                                                                       Deposition Ex. 69)
                                                                       (RIAA_BH_00176699-
                                                                       RIAA_BH_00176702)
PX0624                             Frendberg   F, H, ID, MIL,          2012.04.10 Email chain between
                                               NA, 403-P, 403-C,       C. Dzujna, P. Arnhold, and T.
                                               R                       Frendberg Re: copyright
                                                                       complaints (TWC_00000001-
                                                                       TWC_00000002)
PX0625                             Frendberg   H, 403-P                2013.04.30 Email from C.
                                                                       Dzujna to S. Grandstaff Re:
                                                                       Receipt of Notices from IP-
                                                                       Echelon (TWC_00000003-
                                                                       TWC_00000005)
PX0626                             Frendberg   H, 403-P                2013.08.07 Email chain between
                                                                       C. Dzujna, P. Arnhold, and A.
                                                                       Leatherland Re: HBO Copyright
                                                                       Notices & Brighthouse Networks
                                                                       (TWC_00000014-
                                                                       TWC_00000016)
PX0627                             Frendberg   H, 403-P                2013.08.12 Email chain between
                                                                       C. Dzujna, P. Arnhold, and A.
                                                                       Leatherland Re: HBO Copyright
                                                                       Notices & Brighthouse Networks
                                                                       (TWC_00000024-
                                                                       TWC_00000027)
PX0628                             Frendberg   H, 403-P                2010.07.27 Email chain between
                                                                       R. Harman, G. Ruiz, G. Miller,
                                                                       and DL-HRN-Abuse Re: SACS
                                                                       issue over the weekend
                                                                       (TWC_00000087-
                                                                       TWC_00000088)
PX0629                             Tomasullo   403-P, H, R             2014.07.22 Email from M.
                                                                       Tomasullo to twc.issuetrak Re:
                                                                       Recent Reporting Data is
                                                                       Unavailable (TWC_00000089-
                                                                       TWC_00000090)
PX0630                             TBD         Daubert 587, LA,        2021 Is it Worth Torrenting
                                               NA, NB, NE, 403-        These Days? (Plaintiffs'
                                               P, 403-C, R, 703        Deposition Ex. 235)


                                                 83
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 85 of 161 PageID 67518

 Exhibit     Date        Date                     Objections/Stipulated
  No.      Identified   Admitted     Witness          Admissions                 Description of Exhibit
PX0631                             Sutterby       MIL TWC, F, H,          2016.05.18 Charter
                                                  NA, NB, NTD,            Communications, Inc. CCO
                                                  NTP, 403-P, 403-        Holdings LLC Form 8-K
                                                  C, R
PX0632                             Furchtgott-    F, H, NA, NB,           2016.05.18 Charter
                                   Roth           NTD, NTP, 403-P,        Communications, Inc. Schedule
                                                  403-C, R                13D
PX0633                             Frederiksen-   F, H, 403-P, R, NE      Curriculum Vitae,
                                   Cross                                  Qualifications, Testimony of
                                                                          Barbara A. Frederiksen-Cross
PX0634                             McGarty        Daubert 587, F, H,      Curriculum Vitae of Terrence P.
                                                  NA, NB, NE, 403-        McGarty
                                                  P, 403-C, R
PX0635                             Birenz         F, H, INC, NA,          J. Birenz LinkedIn profile
                                                  NB, NE, 403-P,
                                                  403-C, R
PX0636                             TBD            703, F, NE, NA,    2021.08.20 Defendant Bright
                                                  NB, 403-P, 403-C,  House Networks, LLC's August
                                                  R, DUP of P637, H  20, 2021 Amended Response to
                                                                     Plaintiffs' Interrogatory No. 14
                                                                     (Plaintiffs' Deposition Ex. 80)
PX0637                             TBD            703, F, NE, NA,    2021.08.20 Defendant Bright
                                                  NB, 403-P, 403-C,  House Networks, LLC's August
                                                  R, DUP of P636     20, 2021 Amended Response to
                                                                     Plaintiffs' Interrogatory No. 14
                                                                     (Plaintiffs' Deposition Ex. 103)
PX0638                             Buchan         F, H, NA, NB, NE, Curriculum Vitae of Kristofer D.
                                                  MIL, 403-P, 403-C, Buchan
                                                  R
PX0639                             TBD            703, F, H, NB,     2021.09.28 Plaintiffs’
                                                  NA, 403-P, 403-C, Supplemental Objections and
                                                  R, VOL             Responses to Bright House
                                                                     Networks, LLC’s Second Set of
                                                                     Interrogatories to the Music
                                                                     Publisher Plaintiffs, September
                                                                     28, 2021
PX0640                             TBD            703, F, H, NB,     2021.09.28 Plaintiffs’
                                                  NA, 403-P, 403-C, Supplemental Objections and
                                                  R, VOL             Responses to Bright House
                                                                     Networks, LLC’s Second Set of
                                                                     Interrogatories to the Record
                                                                     Company Plaintiffs, September
                                                                     28, 2021.
PX0641                             TBD            F, H, NA, 403-P, R 2013.00.00 Youk Yannikos, et
                                                                     al., Hash-Based File Content
                                                                     Identification Using Distributed


                                                    84
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 86 of 161 PageID 67519

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                       Systems (Plaintiffs' Deposition
                                                                       Ex. 239)
PX0642                             TBD         F, NB, NA, 403-P,       2020.06.29 Bright House
                                               403-C, R                Networks, LLC's Responses to
                                                                       Plaintiffs' First Set of Requests
                                                                       for Admission
PX0643                             TBD         F, NB, NA, 403-P,       2021.02.25 Bright House
                                               403-C, R                Networks, LLC's Responses to
                                                                       Plaintiffs' Second Set of Requests
                                                                       for Admission
PX0644                             Frendberg   703, F, NB, NA,         2021.09.15 Defendant Bright
                                               403-P, 403-C, R, H      House Networks, LLC's
                                                                       Supplemental Responses to
                                                                       Plaintiffs' Interrogatories Nos. 2-
                                                                       6
PX0645                             Frendberg   F, NB, NA, 403-P,       2021.10.21 Verification of
                                               403-C, R, H             Defendant Bright House
                                                                       Networks, LLC's Supplemental
                                                                       Responses to Plaintiffs'
                                                                       Interrogatories Nos. 2-6
PX0646                             Frendberg   F, NB, NA, 403-P,       2021.10.21 Verification of
                                               403-C, R, H             Defendant Bright House
                                                                       Networks, LLC’s Third
                                                                       Supplemental Responses to
                                                                       Plaintiffs’ First Set of
                                                                       Interrogatories
PX0647                             Frendberg   703, F, NB, NA,         2020.12.14 Defendant Bright
                                               403-P, 403-C, R, H      House Networks, LLC's Third
                                                                       Supplemental Responses to
                                                                       Plaintiffs' Second Set of
                                                                       Interrogatories
PX0648                             Frendberg   F, NB, NA, 403-P,       2020.11.02 Defendant Bright
                                               403-C, R, H             House Networks, LLC's
                                                                       Responses to Plaintiffs' Third Set
                                                                       of Interrogatories
PX0649                             Frendberg   F, NB, NA, 403-P,       2021.07.29 Defendant Bright
                                               403-C, R, H             House Networks, LLC's
                                                                       Amended Third Supplemental
                                                                       Responses to Plaintiffs' Second
                                                                       Set of Interrogatories
PX0650                             Frendberg   703, F, NB, NA,         2021.02.25 Defendant Bright
                                               403-P, 403-C, R, H      House Networks, LLC's
                                                                       Responses to Plaintiffs' Fourth
                                                                       Set of Interrogatories




                                                 85
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 87 of 161 PageID 67520

 Exhibit     Date        Date                     Objections/Stipulated
  No.      Identified   Admitted     Witness          Admissions                Description of Exhibit
PX0651                             Frendberg      F, NB, NA, 403-P,       2021.10.21 Verification of
                                                  403-C, R, H             Defendant Bright House
                                                                          Networks, LLC's Response to
                                                                          Plaintiffs' Interrogatory No. 18
PX0652                             Sutterby       F, NB, NA, 403-P,       2021.10.26 Verification of
                                                  403-C, R, H             Defendant Bright House
                                                                          Networks, LLC's Response to
                                                                          Plaintiffs' Interrogatory No. 25
PX0653                             Frendberg      F, NB, NA, 403-P,       2021.11.17 Bright House
                                                  403-C, R, H             Networks, LLC's Amended
                                                                          Responses to Plaintiffs' Fourth
                                                                          Set of Interrogatories (No. 24)
PX0654                             Frendberg      F, NB, NA, 403-P,       2021.11.18 Verification of
                                                  403-C, R, H             Defendant Bright House
                                                                          Networks, LLC's Response to
                                                                          Plaintiffs' Interrogatory No. 24
PX0655                             Frendberg      F, NB, NA, 403-P,       2021.12.08 Defendant Bright
                                                  403-C, R, H             House Networks, LLC’s
                                                                          Response to Plaintiffs’ Fourth
                                                                          Set of Interrogatories (No. 17)
PX0656                             TBD            NA, F, 403-P, H         Bright House Networks, LLC
                                                                          Amended Interim Designation of
                                                                          Agent to Receive Notification of
                                                                          Claimed Infringement, available
                                                                          at:
                                                                          https://cdn.loc.gov/copyright/o
                                                                          nlinesp/agents/b/bright_house_
                                                                          networks.pdf
PX0657                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit G
PX0658                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit H
PX0659                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit L
PX0660                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit N
PX0661                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit O
PX0662                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit Q
PX0663                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit R




                                                    86
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 88 of 161 PageID 67521

 Exhibit     Date        Date                     Objections/Stipulated
  No.      Identified   Admitted     Witness          Admissions                 Description of Exhibit
PX0664                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit S
PX0665                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit T
PX0666                             Frederiksen-   H, R, 403-P, NE,        Frederiksen-Cross Report
                                   Cross          703                     Exhibit U
PX0667                             Harrison       F, H, INC, NB,          C. Harrison LinkedIn Profile
                                                  NE, 403-P, 403-C,       (Plaintiffs' Deposition Ex. 300)
                                                  R
PX0668                             Furchtgott-    MIL, F, H, INC,         “Charter to Acquire: Bright
                                   Roth           NA, NB, NE, 403-        House Networks for $10.4
                                                  P, 403-C, R, 703        Billion,” Charter
                                                                          Communications, March 31,
                                                                          2015, available at
                                                                          https://ir.charter.com/news-
                                                                          releases/news-release-
                                                                          details/charter-acquire-bright-
                                                                          house-networks-104-billion
PX0669                             Furchtgott-    MIL, F, H, INC,         D. Shepardson, “Charter
                                   Roth           NA, NB, NE, 403-        Communications completes
                                                  P, 403-C, R, 703        purchase of Time Warner
                                                                          Cable,” Reuters, May 18, 2016,
                                                                          available at
                                                                          https://www.reuters.com/article
                                                                          /us-twc-m-a/charter-
                                                                          communications-completes-
                                                                          purchase-of-time-warner-cable-
                                                                          idUSKCN0Y92BR
PX0670                             Furchtgott-    703, F, H, NA,          Sandvine Global Internet
                                   Roth           403-P, 403-C, R,        Phenomena Report 1H 2013,
                                                  NB                      https://www.sandvine.com/hub
                                                                          fs/ Sandvine_Redesign_2019/
                                                                          Downloads/Internet%20Pheno
                                                                          mena/2013-1h-global-internet-
                                                                          phenomena-report.pdf
PX0671                             Furchtgott-    703, F, H, NA,          Global Internet Phenomena
                                   Roth           403-P, 403-C, R,        Report,” Sandvine, 2H 2012,
                                                  NB                      available at
                                                                          https://www.sandvine.com/hub
                                                                          fs/Sandvine_Redesign_2019/Do
                                                                          wnloads/Internet%20Phenomen
                                                                          a/2012-2h-global-internet-
                                                                          phenomena-report.pdf
PX0672                             Furchtgott-    Daubert 583, F, H,      Cisco Visual Networking Index:
                                   Roth           LA, NA, NB, NE,         Forecast and Methodology,


                                                    87
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 89 of 161 PageID 67522

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
                                                 403-P, 403-C, R,        2013–2018, Cisco, June 10, 2014
                                                 703
PX0673                             Furchtgott-   Daubert 583, F, H,      Cisco Visual Networking Index:
                                   Roth          LA, NA, NB, NE,         Forecast and Methodology,
                                                 403-P, 403-C, R,        2016–2021, Cisco, June 6, 2017
                                                 703
PX0674                             Furchtgott-   Daubert 583, F, H,      2013.09.00 David Price, Sizing
                                   Roth          LA, NA, NB, NE,         the Piracy Universe, NetNames
                                                 403-P, 403-C, R,
                                                 703
PX0675                             Furchtgott-   Daubert 583, F, H,      2015 IFPI Digital Music Report
                                   Roth          LA, NA, NB, NE,         2015 - Charting the Path to
                                                 403-P, 403-C, R,        Sustainable Growth
                                                 703
PX0676                             Furchtgott-   Daubert 583, F, H,      Sunil Gupta and Donald R.
                                   Roth          LA, NA, NB, NE,         Lehmann, “Models of Customer
                                                 403-P, 403-C, R,        Value,” Handbook of Marketing
                                                 703                     Decision Models
PX0677                             Furchtgott-   Daubert 583, F, H,      2016.00.00 Stan J. Liebowitz,
                                   Roth          LA, NA, NB, NE,         How Much of the Decline in
                                                 403-P, 403-C, R,        Sound Recording Sales Is Due to
                                                 703                     File-Sharing?, Journal of
                                                                         Cultural Economics
PX0678                             Furchtgott-   Daubert 583, F, H,      2017.02.00 B. Danaher, et al.,
                                   Roth          LA, NA, NB, NE,         Copyright Enforcement in the
                                                 403-P, 403-C, R,        Digital Age: Empirical
                                                 703                     Economic Evidence and Policy
                                                                         Implications, Communications
                                                                         of the ACM
PX0679                             Furchtgott-   Daubert 583, F, H,      2020.04.14 Danaher et al., Piracy
                                   Roth          LA, NA, NB, NE,         Landscape Study, Prepared for
                                                 403-P, 403-C, R,        the U.S. Patent and Trademark
                                                 703                     Office, March 20 , 2020
PX0680                             Furchtgott-   Daubert 583, F, H,      2012.08.00 M. Smith and R.
                                   Roth          LA, NA, NB, NE,         Telang, Assessing the Academic
                                                 403-P, 403-C, R,        Literature Regarding the Impact
                                                 703                     of Media Piracy on Sales,
                                                                         Working Paper
PX0681                             Furchtgott-   Daubert 583, F, H,      2006.00.00 S. J. Liebowitz,
                                   Roth          LA, NA, NB, NE,         Economists Examine File-
                                                 403-P, 403-C, R,        Sharing and Music Sales,
                                                 703                     Industrial Organization and the
                                                                         Digital Economy
PX0682                             Furchtgott-   Daubert 583, F, H,      2015.08.25 B. Danaher, M.
                                   Roth          LA, NA, NB, NE,         Smith, and R. Telang, Copyright
                                                 403-P, 403-C, R,        Enforcement in the Digital Age:


                                                   88
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 90 of 161 PageID 67523

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                 Description of Exhibit
                                                 703                     Empirical Economic Evidence
                                                                         and Conclusions, Advisory
                                                                         Committee on Enforcement,
                                                                         World Intellectual Property
                                                                         Organization
PX0683                             Furchtgott-   Daubert 583, F, H,      2016.02.02 B. Danaher, M.
                                   Roth          INC, LA, NA, NB,        Smith, and R. Telang, The Truth
                                                 NE, 403-P, 403-C,       About Piracy, Technology Policy
                                                 R, 703                  Institute
PX0684                             Furchtgott-   Daubert 583, F, H,      2016.03.00 R. S. Hiller, Sales
                                   Roth          LA, NA, NB, NE,         Displacement and Streaming
                                                 403-P, 403-C, R,        Music: Evidence from YouTube,
                                                 703                     Information Economics and
                                                                         Policy
PX0685                             Furchtgott-   Daubert 583, F, H,      2016.09.00 S. J. Liebowitz, Why
                                   Roth          LA, NA, NB, NE,         The Oberholzer-Gee/Strumpf
                                                 403-P, 403-C, R,        Article on File Sharing Is Not
                                                 703                     Credible, Econ Journal Watch
PX0686                             Furchtgott-   Daubert 583, F, H,      2016.02.16 Michael D. Smith,
                                   Roth          LA, NA, NB, NE,         Piracy and the Supply of New
                                                 403-P, 403-C, R,        Creative Works, The Technology
                                                 703                     Policy Institute
PX0687                             Furchtgott-   Daubert 583, F, H,      2010.10.12 A. Zentner, File
                                   Roth          LA, NA, NB, NE,         Sharing and International Sales
                                                 403-P, 403-C, R,        of Copyrighted Music: An
                                                 703                     Empirical Analysis with a Panel
                                                                         of Countries, Topics in
                                                                         Economic Analysis & Policy
PX0688                             Furchtgott-   Daubert 583, F, H,      2007.08.00 S. Siwek, The True
                                   Roth          LA, NA, NB, NE,         Cost of Sound Recording Piracy
                                                 403-P, 403-C, R,        to the U.S. Economy, Institute
                                                 703                     for Policy Innovation
PX0689                             Furchtgott-   Daubert 583, F, H,      2020.03.00 R. Savelkoul,
                                   Roth          LA, NA, NB, NE,         Superstars vs the long tail: How
                                                 403-P, 403-C, R,        does music piracy affect digital
                                                 703                     song sales for different segments
                                                                         of the industry?, Information
                                                                         Economics and Policy
PX0690                             Furchtgott-   Daubert 583, F, H,      2020.06.00 T. Kretschmer and C.
                                   Roth          LA, NA, NB, NE,         Peukert, Video Killed the Radio
                                                 403-P, 403-C, R,        Star? Online Music Videos and
                                                 703                     Recorded Music Sales,
                                                                         Information Systems Research
PX0691                             Furchtgott-   Daubert 583, F, H,      2018.03.00 J. F. Lee, Purchase,
                                   Roth          LA, NA, NB, NE,         pirate, publicize: Private-network
                                                 403-P, 403-C, R,        music sharing and market album


                                                   89
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 91 of 161 PageID 67524

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                 Description of Exhibit
                                                 703                     sales, Information Economics
                                                                         and Policy
PX0692                             Furchtgott-   Daubert 583, F, H,      2010.12.00 J. Waldfogel, Music
                                   Roth          LA, NA, NB, NE,         File Sharing and Sales
                                                 403-P, 403-C, R,        Displacement in the iTunes Era,
                                                 703                     Information Economics and
                                                                         Policy
PX0693                             Furchtgott-   Daubert 583, F, H,      2008.04.00 S. J. Liebowitz,
                                   Roth          LA, NA, NB, NE,         Testing File Sharing’s Impact on
                                                 403-P, 403-C, R,        Music Album Sales in Cities,
                                                 703                     Management Science
PX0694                             Furchtgott-   Daubert 583, F, H,      2016.02.00 N. J. Michel, The
                                   Roth          LA, NA, NB, NE,         Impact of Digital File Sharing on
                                                 403-P, 403-C, R,        the Music Industry: An
                                                 703                     Empirical Analysis, Topics in
                                                                         Economic Analysis & Policy
PX0695                             Furchtgott-   Daubert 583, F, H,      2006.04.00 S. J. Liebowitz, File
                                   Roth          LA, NA, NB, NE,         Sharing: Creative Destruction or
                                                 403-P, 403-C, R,        Just Plain Destruction?, Journal
                                                 703                     of Law and Economics
PX0696                             Furchtgott-   Daubert 583, DUP        2006.04.00 A. Zentner,
                                   Roth          of PX713, F, H,         Measuring the Effect of File
                                                 ID, LA, NA, NB,         Sharing on Music Purchases,
                                                 NE, 403-P, 403-C,       Journal of Law and Economics
                                                 R, 703
PX0697                             TBD           F, H, INC, NA,          U.S. Recorded Music Revenues
                                                 NB, NTD, NTP,           by Format, 2000 to 2016
                                                 403-P, 403-C, R         (inflation adjusted)
PX0698                             TBD           F, H, INC, NA,          U.S. Recorded Music Revenues
                                                 NB, NTD, NTP,           by Format, 2000 to 2016
                                                 403-P, 403-C, R
PX0699                             Furchtgott-   F, NB, NA, NE,          2021.09.15 Defendant Bright
                                   Roth          403-P, 403-C, R, H      House Networks’ Corrected
                                                                         Second Supplemental Responses
                                                                         and Objections to Plaintiffs’ June
                                                                         10, 2021 Notice of Deposition
                                                                         Pursuant to Federal Rule of Civil
                                                                         Procedure 30(b)(6) (Plaintiffs'
                                                                         Deposition Ex. 213)
PX0700                             Furchtgott-   703, H, 403-P, 403-     Undated Residential Internet
                                   Roth          C, R, NB                Tiers and Speeds (Plaintiffs'
                                                                         Deposition Ex. 226)
PX0701                             Marks         F, MIL, 403-P,          2012.10.31 Stroz Friedberg Draft
                                                 403-C, NA, H, NB        Independent Expert Assessment
                                                                         of MarkMonitor AntiPiracy
                                                                         Methodologies


                                                   90
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 92 of 161 PageID 67525

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
PX0702                             Marks         F, MIL, 403-P,          2013.12.05 Harbor Labs
                                                 403-C, NA, H, NB        Evaluation of the MarkMonitor
                                                                         AntiPiracy System
PX0703                             Furchtgott-   F, H, NA, NB,           2016.12.31 Form 10-K for
                                   Roth          NTD, NTP, 403-P,        Charter Communications, Inc.
                                                 403-C, R
PX0704                             Furchtgott-   F, H, NA, NB,           2017.12.31 Form 10-K for
                                   Roth          NTD, NTP, 403-P,        Charter Communications, Inc.
                                                 403-C, R
PX0705                             Furchtgott-   F, H, NA, NB,           2018.12.31 Form 10-K for
                                   Roth          NTD, NTP, 403-P,        Charter Communications, Inc.
                                                 403-C, R
PX0706                             Furchtgott-   F, H, NA, NB,           2019.12.31 Form 10-K for
                                   Roth          NTD, NTP, 403-P,        Charter Communications, Inc.
                                                 403-C, R
PX0707                             Furchtgott-   F, H, NA, NB,           2020.12.31 Form 10-K for
                                   Roth          NTD, NTP, 403-P,        Charter Communications, Inc.
                                                 403-C, R
PX0708                             Furchtgott-   F, H, NA, NB,           2021.12.31 Form 10-K for
                                   Roth          NTD, NTP, 403-P,        Charter Communications, Inc.
                                                 403-C, R
PX0709                                                                   Withdrawn
                                   -

PX0710                                                                   Withdrawn
                                   -

PX0711                                                                   Withdrawn
                                   -

PX0712                                                                   Withdrawn
                                   -

PX0713                                                                   Withdrawn
                                   -

PX0714                             TBD                                   2015.09.00 Bright House, "Our
                                                                         Policies - High Speed Data
                                                                         Acceptable Use Policy," archived
                                                                         September 2015, available at
                                                                         https://web.archive.org/web/20
                                                                         150929022825/http:/brighthouse
                                                                         .com/policies/policies/acceptabl
                                                                         e-use.html.
PX0715                             TBD                                   2016.03.00 Bright House, "Our
                                                                         Policies - High Speed Data
                                                                         Acceptable Use Policy," archived
                                                                         March 2016, available at
                                                                         https://web.archive.org/web/20


                                                   91
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 93 of 161 PageID 67526

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted       Witness       Admissions                Description of Exhibit
                                                                         160306010000/http:/brighthouse
                                                                         .com/policies/acceptable-
                                                                         use.html.
PX0716                             TBD                                   2012.03.16 Bright House,
                                                                         “Bright House Networks’ User
                                                                         Agreement and Privacy Policy,”
                                                                         revised March 16, 2012, archived
                                                                         May 2013, available at
                                                                         https://web.archive.org/web/20
                                                                         130522174343/http:/brighthouse
                                                                         .com/corporate/policies/user-
                                                                         agreement.
PX0717                             TBD                                   2012.03.16 Bright House,
                                                                         “Bright House Networks’ User
                                                                         Agreement and Privacy Policy,”
                                                                         revised March 16, 2012, archived
                                                                         February 2014, available at
                                                                         https://web.archive.org/web/20
                                                                         140220040754/http:/brighthouse
                                                                         .com/corporate/policies/user-
                                                                         agreement.
PX0718                                                                   Withdrawn
                                   -

PX0719                                                                   Withdrawn
                                   -

PX0720                             TBD           1002, H, INC, LA,       2021.07.19 National Bureau of
                                                 NA, NB, 403-P,          Economic Research - US
                                                 403-C, R, 703           Business Cycle Expansions and
                                                                         Contractions (Plaintiffs'
                                                                         Deposition Ex. 261)
PX0721                             Sinnreich    Daubert 583, F, H,       2014.00.00 Brett Danaher, et al.,
                                                LA, NA, NB, NE,          Piracy and Copyright
                                                403-P, 403-C, R,         Enforcement Mechanisms
                                                703                      (Plaintiffs' Deposition Ex. 263)
PX0722                             Furchtgott-  Daubert 583, F, H,       2010.04.00 Report to
                                   Roth, Strong LA, INC, NA, NB,         Congressional Committees,
                                                NE, NTP, 403-P,          Intellectual Property
                                                403-C, R, 703            Observations on Efforts to
                                                                         Quantify the Economic Effects of
                                                                         Counterfeit and Pirated Goods
                                                                         (Plaintiffs' Deposition Ex. 244)
PX0723                             TBD           1006, MIL, F, ID,       BHN Vasey Reference 1
                                                 MD, NB, NE, 403-        Rightscorp Transfers (Plaintiffs'
                                                 P, R                    Deposition Ex. 605)




                                                   92
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 94 of 161 PageID 67527

 Exhibit     Date        Date                    Objections/Stipulated
  No.      Identified   Admitted     Witness         Admissions                 Description of Exhibit
PX0724                             Furchtgott-   Daubert 583, F, H,      Curriculum Vitae of Harold
                                   Roth          NA, NB, 403-P,          Furchtgott-Roth
                                                 403-C, R
PX0725                             Furchtgott-   Daubert 583, F, H,      2011.05.00 Paul Watters, et al.,
                                   Roth          LA, NA, NB, NE,         How Much Material on
                                                 403-P, 403-C, R,        BitTorrent Is Infringing Content?
                                                 703                     A Case Study, Information
                                                                         Security Technical Report
PX0726                             Furchtgott-   F, NB, NA, NE,          2021.09.12 Defendant Bright
                                   Roth          403-P, 403-C, R, H      House Networks, LLC's
                                                                         Corrected First Amended Initial
                                                                         Disclosures
PX0727                             Helman        F, H, R, 403-P          LinkedIn Profile for Motion
                                                                         Picture Laboratories, Inc.
                                                                         (MovieLabs)
PX0728                             Helman        F, H, R, 403-P          2012.04.08 MovieLabs Technical
                                                                         Guidance for College and
                                                                         University COSs and CTOs in
                                                                         Complying with HEOA
                                                                         Provisions (Revision 1)
PX0729                             TBD           F, H, ID, NA, NB,       Plaintiffs’ Sound Recordings - C
                                                 NE, VOL, 403-C,
                                                 403-P
PX0730                             Abitbol,      F, H, ID, NA, NB,       Plaintiffs’ Musical Compositions
                                   Blietz,       NE, VOL, 403-C,         -C
                                   Kokakis       403-P
PX0731                             Leak          INC                     1987.11.01 1987 Assignment and
                                                                         Assumption between CBS Inc.
                                                                         and CBS Records Inc.
                                                                         (PL_BH_0012916-
                                                                         PL_BH_0012927)
PX0732                             Leak          INC                     1987.11.19 1987 Purchase
                                                                         Agreement between Sony
                                                                         Corporation and CBS Inc. for
                                                                         CBS Records Inc. Stock
                                                                         (PL_BH_0012775-
                                                                         PL_BH_0012782)
PX0733                             Leak                                  1999.07.13 1999 Agreement
                                                                         between Roswell Records, Inc.
                                                                         and The RCA Records Label, a
                                                                         Unit of BMG Entertainment
                                                                         (PL_BH_0012873-
                                                                         PL_BH_0012901)
PX0734                             Leak                                  2002.10.16 2002 Catalog
                                                                         Agreement between Roswell
                                                                         Records, Inc. and The RCA


                                                   93
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 95 of 161 PageID 67528

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       Records Label, a Unit of BMG
                                                                       Music (PL_BH_0012830-
                                                                       PL_BH_0012845)
PX0735                             Leak                                2002.10.16 2002 Recording
                                                                       Agreement License between
                                                                       Roswell Records, Inc. and The
                                                                       RCA Records Label, a Unit of
                                                                       BMG Music (PL_BH_0022087-
                                                                       PL_BH_0022099)
PX0736                             Leak                                2007.01.30 2007 Amendment to
                                                                       Catalog Distribution Agreement
                                                                       between Roswell Records, Inc.
                                                                       and The RCA Records Label
                                                                       (PL_BH_0013629-
                                                                       PL_BH_0013632)
PX0737                             Leak                                2007.01.30 2007 Amendment to
                                                                       the 2002 Recording Agreement
                                                                       License between Roswell
                                                                       Records, Inc. and The RCA
                                                                       Records Label
                                                                       (PL_BH_0013633-
                                                                       PL_BH_0013640)
PX0738                             Leak                                2007.01.30 2007 Recording
                                                                       Agreement License between
                                                                       Roswell Records, Inc. and RCA
                                                                       Music Group, a Unit of Sony
                                                                       BMG Music Entertainment
                                                                       (PL_BH_0022100-
                                                                       PL_BH_0022123)
PX0739                             Leak                                2011.12.31 2011 Recording
                                                                       Agreement License between
                                                                       Roswell Records, Inc. and RCA
                                                                       Records, a Division of Sony
                                                                       Music Entertainment
                                                                       (PL_BH_0013641-
                                                                       PL_BH_0013692)
PX0740                             Leak                                2015.09.09 Century Media
                                                                       Records Ltd. Stock Transfer
                                                                       Form and Accompanying
                                                                       Documents (PL_BH_0087595-
                                                                       PL_BH_0087602)
PX0741                             Leak                                1990.12.19 Certificate of
                                                                       Amendment of Certificate of
                                                                       Incorporation of CBS Records,
                                                                       Inc. to Sony Music
                                                                       Entertainment Inc.


                                                 94
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 96 of 161 PageID 67529

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       (PL_BH_0012852-
                                                                       PL_BH_0012853)
PX0742                             Leak                                1987.12.22 Certificate of
                                                                       Recordation of 1987 Assignment
                                                                       between CBS Inc. and CBS
                                                                       Records Inc. (PL_BH_0012928-
                                                                       PL_BH_0012930)
PX0743                             Leak                                2004.08.05 USCO Sony
                                                                       Copyright Assignment between
                                                                       Sony Music Entertainment Inc.
                                                                       and USCO Holdings Inc. in
                                                                       favor of Sony BMG Music
                                                                       Entertainment
                                                                       (PL_BH_0012931-
                                                                       PL_BH_0012934)
PX0744                             Leak                                2012.04.01 2012 Amended and
                                                                       Restated International Repertoire
                                                                       License between Sony Music
                                                                       Entertainment UK Ltd. and
                                                                       Sony Music Entertainment
                                                                       (PL_BH_0013521-
                                                                       PL_BH_0013564)
PX0745                             Leak                                2008.01.01 2008 International
                                                                       Repertoire License between Sony
                                                                       BMG Music Entertainment
                                                                       (UK) Limited and Sony BMG
                                                                       Music Entertainment
                                                                       (PL_BH_0013819-
                                                                       PL_BH_0013865)
PX0746                             Leak                                2008.12.31 Restated Statement
                                                                       of Partnership Existence of Sony
                                                                       BMG Music Entertainment to
                                                                       Sony Music Entertainment
                                                                       (PL_BH_0012828-
                                                                       PL_BH_0012829)
PX0747                             Leak        R, 403-P, NA, F         1982.04.05 SR0000034019
                                                                       Registration Certificate
                                                                       (PL_BH_0028884-
                                                                       PL_BH_0028885)
PX0748                             Leak        NA                      1980.10.20 PA000008496
                                                                       Copyright Office Public Catalog
                                                                       lookup (PL_BH_0032843-
                                                                       PL_BH_0032844)
PX0749                             Leak        R, 403-P, NA, F         1978.12.19 SR0000004979
                                                                       Registration Certificate
                                                                       (PL_BH_0028836-


                                                 95
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 97 of 161 PageID 67530

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       PL_BH_0028837)

PX0750                             Leak                                1986.01.02 SR0000068020
                                                                       Registration Certificate
                                                                       (PL_BH_0028938-
                                                                       PL_BH_0028939)
PX0751                             Leak                                2007.11.05 SR0000617325
                                                                       Registration Certificate
                                                                       (PL_BH_0029237-
                                                                       PL_BH_0029238)
PX0752                             Leak                                2008.02.11 SR0000630132
                                                                       Registration Certificate
                                                                       (PL_BH_0029251-
                                                                       PL_BH_0029252)
PX0753                             Leak                                2010.04.27 SR0000652023
                                                                       Registration Certificate
                                                                       (PL_BH_0029273-
                                                                       PL_BH_0029274)
PX0754                             Leak                                2011.08.22 SR0000683948
                                                                       Registration Certificate
                                                                       (PL_BH_0026851-
                                                                       PL_BH_0026852)
PX0755                             Leak                                2012.08.13 SR0000703746
                                                                       Registration Certificate
                                                                       (PL_BH_0131699-
                                                                       PL_BH_0131701)
PX0756                             Leak                                2012.08.17 SR0000703747
                                                                       Registration Certificate
                                                                       (PL_BH_0027067-
                                                                       PL_BH_0027070)
PX0757                             Leak                                2004.07.19 SR0000355896
                                                                       Registration Certificate
                                                                       (PL_BH_0029144-
                                                                       PL_BH_0029145)
PX0758                             Abitbol                             2008.8.15 Watch the Sasquatch
                                                                       Music Co-Publishing and
                                                                       Administration Agreement
                                                                       (PL_BH_0019935-
                                                                       PL_BH_0019981)
PX0759                             Abitbol                             2008.2.15 Eric Hudson
                                                                       Songwriter and Co-Publishing
                                                                       Agreement (PL_BH_0017701-
                                                                       PL_BH_0017737)
PX0760                             Abitbol     INC                     2011.5.31 2011 Amendment to
                                                                       Eric Hudson Songwriter and Co-
                                                                       Publishing Agreement


                                                 96
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 98 of 161 PageID 67531

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                       (PL_BH_0017738-
                                                                       PL_BH_0017744)
PX0761                             Abitbol                             2008.12.01 Harmony Samuels
                                                                       Co-Publishing and
                                                                       Administration Agreement
                                                                       (PL_BH_0017684-
                                                                       PL_BH_0017700)
PX0762                             Abitbol                             2015.07.23 2015 Amendment to
                                                                       Harmony Samuels co-publishing
                                                                       and administration agreement
                                                                       (PL_BH_0020274-
                                                                       PL_BH_0020277)
PX0763                             Abitbol                             2001.11.01 2001 Amendment to
                                                                       Ludacris Co-Publishing and
                                                                       Administration Agreement
                                                                       (PL_BH_0133968-
                                                                       PL_BH_0133974)
PX0764                             Abitbol                             2003.01.01 2003 Amendment to
                                                                       Louis Biancaniello Songwriter
                                                                       Agreement (PL_BH_0018980-
                                                                       PL_BH_0018981)
PX0765                             Abitbol                             2003.11.01 2003 Amendment to
                                                                       Savan Kotecha Administration
                                                                       and Co-Publishing Agreement
                                                                       (PL_BH_0017019-
                                                                       PL_BH_0017021)
PX0766                             Abitbol                             2005.09.01 2005 Amendment to
                                                                       Matthew Bair Administration
                                                                       and Co-Publishing Agreement
                                                                       (PL_BH_0016945-
                                                                       PL_BH_0016946)
PX0767                             Abitbol                             2006.06.16 2006 Amendment to
                                                                       Aliaune Thiam Copyright
                                                                       Assignment and Co-Publishing
                                                                       Agreement (PL_BH_0018133-
                                                                       PL_BH_0018136)
PX0768                             Abitbol                             2006.11.15 2006 Amendment to
                                                                       Ludacris Co-Publishing and
                                                                       Administration Agreement
                                                                       (PL_BH_0016821-
                                                                       PL_BH_0016897)
PX0769                             Abitbol                             2006.10.01 2006 Amendment to
                                                                       Savan Kotecha Administration
                                                                       and Co-Publishing Agreement
                                                                       (PL_BH_0017022-
                                                                       PL_BH_0017023)


                                                 97
Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 99 of 161 PageID 67532

 Exhibit     Date        Date                  Objections/Stipulated
  No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0770                             Abitbol                             2006.01.01 2006 Amendment to
                                                                       Usher Raymond Co-Publishing
                                                                       and Administration Agreement
                                                                       (PL_BH_0017117-
                                                                       PL_BH_0017133)
PX0771                             Abitbol                             2007.12.20 2007 Amendment to
                                                                       Aliaune Thiam Copyright
                                                                       Assignment and Co-Publishing
                                                                       Agreement (PL_BH_0018113-
                                                                       PL_BH_0018118)
PX0772                             Abitbol     INC                     2007.12.31 2007 Amendment to
                                                                       Savan Kotecha Administration
                                                                       and Co-Publishing Agreement
                                                                       (PL_BH_0017024-
                                                                       PL_BH_0017031)
PX0773                             Abitbol                             2008.07.01 2008 Amendment to
                                                                       Louis Biancaniello Songwriter
                                                                       Agreement (PL_BH_0018977-
                                                                       PL_BH_0018979)
PX0774                             Abitbol                             2008.09.01 2008 Amendment to
                                                                       Usher Raymond Co-Publishing
                                                                       and Administration Agreement
                                                                       (PL_BH_0017134-
                                                                       PL_BH_0017137)
PX0775                             Abitbol                             2009.11.18 2009 Amendment to
                                                                       Louis Biancaniello Songwriter
                                                                       Agreement (PL_BH_0018960-
                                                                       PL_BH_0018976)
PX0776                             Abitbol                             2009.07.01 2009 Amendment to
                                                                       Mail on Sunday Music Co-
                                                                       Publishing and Administration
                                                                       Agreement (PL_BH_0018581-
                                                                       PL_BH_0018588)
PX0777                             Abitbol                             2009.08.15 2009 Amendment to
                                                                       Martin Johnson Co-Publishing
                                                                       and Administration Agreement
                                                                       (PL_BH_0017296-
                                                                       PL_BH_0017300)
PX0778                             Abitbol                             2009.03.01 2009 Amendment to
                                                                       Matthew Bair Administration
                                                                       and Co-Publishing Agreement
                                                                       (PL_BH_0025966-
                                                                       PL_BH_0025972)
PX0779                             Abitbol                             2010.08.06 2010 Amendment to
                                                                       Aliaune Thiam Copyright
                                                                       Assignment and Co-Publishing


                                                 98
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 100 of 161 PageID
                                   67533
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      Agreement (PL_BH_0018125-
                                                                      PL_BH_0018128)
PX0780                            Abitbol                             2010.05.10 2010 Amendment to
                                                                      Lady Gaga Songwriter and Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0018782-
                                                                      PL_BH_0018788)
PX0781                            Abitbol                             2010.11.04 2010 Amendment to
                                                                      Louis Biancaniello Songwriter
                                                                      Agreement (PL_BH_0018952-
                                                                      PL_BH_0018957)
PX0782                            Abitbol                             2011.01.01 2011 Amendment to
                                                                      Indie Pop Music Co-Publishing
                                                                      and Administration Agreement
                                                                      (PL_BH_0018265-
                                                                      PL_BH_0018273)
PX0783                            Abitbol                             2011.04.12 2011 Amendment to
                                                                      Jonathan Rotem Co-Publishing
                                                                      Agreement (PL_BH_0018723-
                                                                      PL_BH_0018726)
PX0784                            Abitbol                             2011.12.16 2011 Amendment to
                                                                      Lady Gaga Songwriter and Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0018840-
                                                                      PL_BH_0018843)
PX0785                            Abitbol                             2011.03.24 2011 Amendment to
                                                                      Mail on Sunday Music Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0018589-
                                                                      PL_BH_0018600)
PX0786                            Abitbol                             2012.02.01 2012 Amendment to
                                                                      Aliaune Thiam Copyright
                                                                      Assignment and Co-Publishing
                                                                      Agreement (PL_BH_0018119-
                                                                      PL_BH_0018121)
PX0787                            Abitbol                             2012.07.20 2012 Amendment to
                                                                      Lady Gaga Songwriter and Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0018770-
                                                                      PL_BH_0018778)
PX0788                            Abitbol                             2012.11.12 2012 Amendment to
                                                                      Nadir Khayat Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0019263-
                                                                      PL_BH_0019265)



                                                99
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 101 of 161 PageID
                                   67534
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0789                            Abitbol                             2013.04.29 2013 Amendment to
                                                                      Aliaune Thiam Copyright
                                                                      Assignment and Co-Publishing
                                                                      Agreement (PL_BH_0018129-
                                                                      PL_BH_0018132)
PX0790                            Abitbol                             2013.06.24 2013 Amendment to
                                                                      Black Chiney Music Songwriter
                                                                      Agreement (PL_BH_0019624-
                                                                      PL_BH_0019625)
PX0791                            Abitbol                             2013.07.01 2013 Amendment to
                                                                      Cocomarie Music Co-Publishing
                                                                      and Administration Agreement
                                                                      (PL_BH_0018438-
                                                                      PL_BH_0018441)
PX0792                            Abitbol                             2014.03.01 2014 Amendment to
                                                                      Jimmy Yeary Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0015818-
                                                                      PL_BH_0015819)
PX0793                            Abitbol                             2014.10.27 2014 Amendment to
                                                                      Jonathan Rotem Co-Publishing
                                                                      Agreement (PL_BH_0133975-
                                                                      PL_BH_0133978)
PX0794                            Abitbol                             2014.05.01 2014 Amendment to
                                                                      Matthew Bair Administration
                                                                      and Co-Publishing Agreement
                                                                      (PL_BH_0025973-
                                                                      PL_BH_0025980)
PX0795                            Abitbol                             2014.10.17 2014 Amendment to
                                                                      Nadir Khayat Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0019261-
                                                                      PL_BH_0019262)
PX0796                            Abitbol                             2015.03.11 2015 Amendment to
                                                                      Indie Pop Music Co-Publishing
                                                                      and Administration Agreement
                                                                      (PL_BH_0018258-
                                                                      PL_BH_0018264)
PX0797                            Abitbol                             2015.04.07 2015 Amendment to
                                                                      Jimmy Yeary Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0015826-
                                                                      PL_BH_0015827)
PX0798                            Abitbol                             2015.04.09 2015 Amendment to
                                                                      Lady Gaga Songwriter and Co-
                                                                      Publishing Agreement


                                                100
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 102 of 161 PageID
                                   67535
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0018779-
                                                                      PL_BH_0018781)
PX0799                            Abitbol                             2015.02.12 2015 Amendment to
                                                                      Louis Biancaniello Songwriter
                                                                      Agreement (PL_BH_0018958-
                                                                      PL_BH_0018959)
PX0800                            Abitbol                             2015.01.23 2015 Amendment to
                                                                      Matthew Bair Administration
                                                                      and Co-Publishing Agreement
                                                                      (PL_BH_0025981-
                                                                      PL_BH_0025985)
PX0801                            Abitbol                             2016.05.01 2016 Amendment to
                                                                      Cocomarie Music Co-Publishing
                                                                      and Administration Agreement
                                                                      (PL_BH_0018434-
                                                                      PL_BH_0018437)
PX0802                            Abitbol                             2016.03.02 2016 Amendment to
                                                                      Jimmy Yeary Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0015820-
                                                                      PL_BH_0015821)
PX0803                            Abitbol                             2016.07.01 2016 Amendment to
                                                                      Mail on Sunday Music Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0018577-
                                                                      PL_BH_0018580)
PX0804                            Abitbol                             2018.05.01 2018 Amendment to
                                                                      Black Chiney Music Songwriter
                                                                      Agreement (PL_BH_0019621-
                                                                      PL_BH_0019623)
PX0805                            Abitbol                             2013.12.15 Adrian Younge Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0018037-
                                                                      PL_BH_0018071)
PX0806                            Abitbol                             2004.12.03 Aliaune Thiam
                                                                      Copyright Assignment and Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0018072-
                                                                      PL_BH_0018112)
PX0807                            Abitbol                             2012.04.18 Amber Streeter Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0018141-
                                                                      PL_BH_0018175)
PX0808                            Abitbol                             2010.03.15 Amendment to
                                                                      Chidera Anamege Co-Publishing
                                                                      and Administration Agreement


                                                101
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 103 of 161 PageID
                                   67536
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0020197-
                                                                      PL_BH_0020202)
PX0809                            Abitbol                             2016.04.28 Amendment to Chris
                                                                      Godbey Administration
                                                                      Agreement (PL_BH_0018391-
                                                                      PL_BH_0018394)
PX0810                            Abitbol                             2017.11.15 Amendment to Eric
                                                                      Bellinger Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0018524-
                                                                      PL_BH_0018529)
PX0811                            Abitbol                             2015.01.01 Amendment to Eric
                                                                      Frederic Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0071665-
                                                                      PL_BH_0071668)
PX0812                            Abitbol                             2009.08.15 Amendment to
                                                                      Gregg Wattenberg Songwriter
                                                                      and Co-Publishing Agreement
                                                                      (PL_BH_0019890-
                                                                      PL_BH_0019894)
PX0813                            Abitbol                             2013.05.15 Amendment to
                                                                      Marimbero Music Publishing
                                                                      Inc. Co-Publishing Agreement
                                                                      (PL_BH_0019104-
                                                                      PL_BH_0019110)
PX0814                            Abitbol     NP                      2014.01.01 Amendment to Nasri
                                                                      Atweh Songwriter and Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0019041-
                                                                      PL_BH_0019058)
PX0815                            Abitbol                             2014.12.01 Amendment to Sean
                                                                      Fenton Administration
                                                                      Agreement (PL_BH_0019575-
                                                                      PL_BH_0019576)
PX0816                            Abitbol                             2006.07.24 Amendment to
                                                                      Sony/ATV Tunes-Rick Ross Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0019434-
                                                                      PL_BH_0019435)
PX0817                            Abitbol                             2016.02.01 Amendment to
                                                                      Trevor Lawrence Co-Publishing
                                                                      and Administration Agreement
                                                                      (PL_BH_0017630-
                                                                      PL_BH_0017635)



                                                102
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 104 of 161 PageID
                                   67537
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0818                            Abitbol                             2015.05.19 Amendment to
                                                                      Warren Felder Songwriter and
                                                                      Co-Publishing Agreement
                                                                      (PL_BH_0071661-
                                                                      PL_BH_0071664)
PX0819                            Abitbol                             2010.11.19 Andrew Thielk Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0070055-
                                                                      PL_BH_0070095)
PX0820                            Abitbol                             2008.04.22 Black Chiney Music
                                                                      Songwriter Agreement
                                                                      (PL_BH_0019577-
                                                                      PL_BH_0019620)
PX0821                            Abitbol                             2000.11.01 Bobby Terry
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0016649-
                                                                      PL_BH_0016675)
PX0822                            Abitbol                             2013.10.01 Carlo Montagnese
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0020365-
                                                                      PL_BH_0020400)
PX0823                            Abitbol                             2015.12.23 Certificate of
                                                                      Assumed Name Filing for
                                                                      Sony/ATV Songs LLC -
                                                                      Assumed Name Sony/ATV
                                                                      Melody Music Publishing
                                                                      (PL_BH_0113484-
                                                                      PL_BH_0113486)
PX0824                            Abitbol                             2015.12.23 Certificate of
                                                                      Assumed Name Filing for
                                                                      Sony/ATV Songs LLC -
                                                                      Sony/ATV Tree Music
                                                                      Publishing (PL_BH_0024670-
                                                                      PL_BH_0024672)
PX0825                            Abitbol                             2017.03.30 Certificate of Merger
                                                                      - Sony/ATV Songs LLC with
                                                                      and into Sony/ATV Music
                                                                      Publishing LLC
                                                                      (PL_BH_0024666-
                                                                      PL_BH_0024668)
PX0826                            Abitbol                             2017.03.31 Certificate of Merger
                                                                      - Sony/ATV Sounds LLC with
                                                                      and into Sony/ATV Music
                                                                      Publishing (PL_BH_0113481-
                                                                      PL_BH_0113483)



                                                103
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 105 of 161 PageID
                                   67538
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0827                            Abitbol                             2017.03.30 Certificate of Merger
                                                                      - Sony/ATV Tunes LLC with
                                                                      and into Sony/ATV Music
                                                                      Publishing LLC
                                                                      (PL_BH_0024669)
PX0828                            Abitbol                             2010.03.15 Chidera Anamege
                                                                      Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0020154-
                                                                      PL_BH_0020196)
PX0829                            Abitbol                             2013.03.06 Chris Godbey
                                                                      Administration Agreement
                                                                      (PL_BH_0018395-
                                                                      PL_BH_0018433)
PX0830                            Abitbol                             2009.07.01 Cocomarie Music
                                                                      Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0018442-
                                                                      PL_BH_0018485)
PX0831                            Abitbol                             2001.12.01 Dallas Austin Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0020217-
                                                                      PL_BH_0020273)
PX0832                            Abitbol                             2010.07.12 Dallas Austin
                                                                      Purchase Agreement
                                                                      (PL_BH_0017480-
                                                                      PL_BH_0017539)
PX0833                            Abitbol                             2008.11.01 Damon Reinagle
                                                                      Songwriter Agreement
                                                                      (PL_BH_0016241-
                                                                      PL_BH_0016282)
PX0834                            Abitbol     ID, W, NA               2006.7.1 Dana Ramey Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0019895-
                                                                      PL_BH_0019934)
PX0835                            Abitbol                             2010.01.01 Darhyl Camper Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0071777-
                                                                      PL_BH_0071813)
PX0836                            Abitbol                             2009.08.24 Email from Lydia
                                                                      Yerrick to Robert Briggs Re:
                                                                      Noel Fisher p/k/a Detail
                                                                      Publishing Credits switching
                                                                      from ASCAP to BMI
                                                                      (PL_BH_0070903)



                                                104
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 106 of 161 PageID
                                   67539
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0837                            Abitbol                             2011.07.05 EMI Blackwood-Rick
                                                                      Ross Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0015828-
                                                                      PL_BH_0015874)
PX0838                            Abitbol                             2009.09.11 Emile Haynie Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0018486-
                                                                      PL_BH_0018523)
PX0839                            Abitbol                             2010.07.01 Eric Bellinger Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0018530-
                                                                      PL_BH_0018576)
PX0840                            Abitbol                             2012.07.25 Eric Frederic Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0071442-
                                                                      PL_BH_0071489)
PX0841                            Abitbol                             2010.06.29 Fresh Goods
                                                                      Publishing Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0019443-
                                                                      PL_BH_0019483)
PX0842                            Abitbol                             2007.11.12 Giorgio Tuinfort Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0018601-
                                                                      PL_BH_0018645)
PX0843                            Abitbol                             2000.09.01 Gregg Wattenberg
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0019856-
                                                                      PL_BH_0019887)
PX0844                            Abitbol                             2010.12.31 Indie Pop Music Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0018274-
                                                                      PL_BH_0018345)
PX0845                            Abitbol                             Jack Antonoff Administration
                                                                      Agreement (PL_BH_0018683-
                                                                      PL_BH_0018722)
PX0846                            Abitbol                             2010.08.01 James Slater Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0025922-
                                                                      PL_BH_0025957)
PX0847                            Abitbol                             2016.01.19 January 2016
                                                                      Amendment to Tiyon Mack Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0019628-
                                                                      PL_BH_0019645)


                                                105
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 107 of 161 PageID
                                   67540
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0848                            Abitbol                             2007.07.01 Jayceon Taylor Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0014756-
                                                                      PL_BH_0014829)
PX0849                            Abitbol                             2010.06.01 Jimmy Yeary Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0015410-
                                                                      PL_BH_0015451)
PX0850                            Abitbol                             2007.08.23 Jonathan Rotem Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0018727-
                                                                      PL_BH_0018769)
PX0851                            Abitbol                             2016.06.03 June 2016
                                                                      Amendment to Tiyon Mack Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0019626-
                                                                      PL_BH_0019627)
PX0852                            Abitbol                             2011.05.17 Keith James
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0071340-
                                                                      PL_BH_0071380)
PX0853                            Abitbol                             2007.07.01 Kelly Rowland Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0070250-
                                                                      PL_BH_0070303)
PX0854                            Abitbol                             2004.07.01 Kevin Risto and
                                                                      Waynne Nugent Co-Publishing
                                                                      and Administration Agreement
                                                                      (PL_BH_0018982-
                                                                      PL_BH_0019037)
PX0855                            Abitbol                             2008.04.07 Lady Gaga
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0018789-
                                                                      PL_BH_0018839)
PX0856                            Abitbol                             1999.12.17 Louis Biancaniello
                                                                      Songwriter Agreement
                                                                      (PL_BH_0018884-
                                                                      PL_BH_0018951)
PX0857                            Abitbol                             2000.11.01 Ludacris Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0133916-
                                                                      PL_BH_0133967)
PX0858                            Abitbol                             2007.12.20 Mail on Sunday
                                                                      Music Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0019714-


                                                106
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 108 of 161 PageID
                                   67541
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      PL_BH_0019768)

PX0859                            Abitbol                             2011.03.28 Mail on Sunday
                                                                      Purchase Agreement
                                                                      (PL_BH_0113425-
                                                                      PL_BH_0113480)
PX0860                            Abitbol                             Marimbero Music Publishing
                                                                      Inc. Co-Publishing Agreement
                                                                      (PL_BH_0019111-
                                                                      PL_BH_0019156)
PX0861                            Abitbol                             2012.06.01 Mario Winans
                                                                      Purchase Agreement
                                                                      (PL_BH_0020055-
                                                                      PL_BH_0020097)
PX0862                            Abitbol                             2014.03.15 Marlin Bonds Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0020317-
                                                                      PL_BH_0020364)
PX0863                            Abitbol                             2006.08.01 Martin Johnson Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0017248-
                                                                      PL_BH_0017295)
PX0864                            Abitbol                             2004.12.01 Matthew Bair
                                                                      Administration and Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0016898-
                                                                      PL_BH_0016944)
PX0865                            Abitbol                             2009.10.02 Mike Posner Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0070306-
                                                                      PL_BH_0070361)
PX0866                            Abitbol                             2011.11.28 Nadir Khayat Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0019208-
                                                                      PL_BH_0019260)
PX0867                            Abitbol                             2008.08.15 Nasri Atweh
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0019059-
                                                                      PL_BH_0019103)
PX0868                            Abitbol                             2008.10.15 Noel Fisher Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0017745-
                                                                      PL_BH_0017780)
PX0869                            Abitbol                             2012.08.01 Porter Robinson Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0019157-


                                                107
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 109 of 161 PageID
                                   67542
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      PL_BH_0019198)

PX0870                            Abitbol                             2008.08.14 Robert Allen Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0070441-
                                                                      PL_BH_0070482)
PX0871                            Abitbol                             2007.06.01 Robin Tadross Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0017301-
                                                                      PL_BH_0017339)
PX0872                            Abitbol                             Ronald Colson Songwriter and
                                                                      Co-Publishing Agreement
                                                                      (PL_BH_0071490-
                                                                      PL_BH_0071569)
PX0873                            Abitbol                             2013.03.06 Sam Dew Songwriter
                                                                      and Co-Publishing Agreement
                                                                      (PL_BH_0019484-
                                                                      PL_BH_0019520)
PX0874                            Abitbol                             2009.01.01 Samuel Jean Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0070530-
                                                                      PL_BH_0070545)
PX0875                            Abitbol                             2002.05.01 Savan Kotecha
                                                                      Administration and Co-
                                                                      Publishing Agreement
                                                                      (PL_BH_0016976-
                                                                      PL_BH_0017017)
PX0876                            Abitbol                             2010.11.11 Sean Fenton
                                                                      Administration Agreement
                                                                      (PL_BH_0019521-
                                                                      PL_BH_0019574)
PX0877                            Abitbol                             2020.12.28 Sony Music
                                                                      Publishing Certificate of Name
                                                                      Change (PL_BH_0131640-
                                                                      PL_BH_0131641)
PX0878                            Abitbol                             2006.05.01 Sony/ATV Tunes-
                                                                      Rick Ross Co-Publishing
                                                                      Agreement (PL_BH_0019359-
                                                                      PL_BH_0019433)
PX0879                            Abitbol                             2008.10.01 The Book
                                                                      Productions Co-Publishing and
                                                                      Administration Agreement
                                                                      (PL_BH_0041547-
                                                                      PL_BH_0041588)




                                                108
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 110 of 161 PageID
                                   67543
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0880                            Abitbol                             2010.05.01 Tiyon Mack Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0019646-
                                                                      PL_BH_0019713)
PX0881                            Abitbol                             2008.12.15 Toby Gad Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0017075-
                                                                      PL_BH_0017116)
PX0882                            Abitbol                             2008.09.01 Tony Scales Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0017806-
                                                                      PL_BH_0017822)
PX0883                            Abitbol                             2009.07.15 Trevor Lawrence Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0017596-
                                                                      PL_BH_0017629)
PX0884                            Abitbol                             2011.05.09 Tyler Okonma Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0019769-
                                                                      PL_BH_0019849)
PX0885                            Abitbol                             2011.08.15 Urales Vargas Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0017640-
                                                                      PL_BH_0017681)
PX0886                            Abitbol                             1998.03.01 Usher Raymond Co-
                                                                      Publishing and Administration
                                                                      Agreement (PL_BH_0017033-
                                                                      PL_BH_0017074)
PX0887                            Abitbol                             2006.12.08 Warren Felder
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0071574-
                                                                      PL_BH_0071612)
PX0888                            Abitbol                             2009.07.29 PA0001656977
                                                                      Registration Certificate
                                                                      (PL_BH_0038180-
                                                                      PL_BH_0038183)
PX0889                            Abitbol                             2011.06.14 PA0001743353
                                                                      Registration Certificate
                                                                      (PL_BH_0032310-
                                                                      PL_BH_0032313)
PX0890                            Abitbol                             2015.11.19 PA0002004490
                                                                      Registration Certificate
                                                                      (PL_BH_0078086-
                                                                      PL_BH_0078088)
PX0891                            Abitbol                             2008.09.29 PA0001640776
                                                                      Registration Certificate


                                                109
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 111 of 161 PageID
                                   67544
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0032080-
                                                                      PL_BH_0032082)
PX0892                            Abitbol                             2013.02.13 PA0001832802
                                                                      Registration Certificate
                                                                      (PL_BH_0077954-
                                                                      PL_BH_0077957)
PX0893                            Abitbol                             2014.10.07 PA0001917890
                                                                      Registration Certificate
                                                                      (PL_BH_0078378-
                                                                      PL_BH_0078381)
PX0894                            Abitbol                             2007.07.11 PA0001167815
                                                                      Registration Certificate
                                                                      (PL_BH_0031993)
PX0895                            Abitbol                             2014.10.14 PA0001933961
                                                                      Registration Certificate
                                                                      (PL_BH_0078212-
                                                                      PL_BH_0078214)
PX0896                            Abitbol                             2015.11.19 PA0002004472
                                                                      Registration Certificate
                                                                      (PL_BH_0078227-
                                                                      PL_BH_0078229)
PX0897                            Abitbol                             2009.07.29 PA0001656968
                                                                      Registration Certificate
                                                                      (PL_BH_0038176-
                                                                      PL_BH_0038179)
PX0898                            Abitbol                             2011.02.15 PA0001731496
                                                                      Registration Certificate
                                                                      (PL_BH_0038042-
                                                                      PL_BH_0038043)
PX0899                            Abitbol                             2003.07.14 PA0001157819
                                                                      Registration Certificate
                                                                      (PL_BH_0077515-
                                                                      PL_BH_0077516)
PX0900                            Abitbol                             2008.12.22 PA0001395676
                                                                      Registration Certificate
                                                                      (PL_BH_0077842-
                                                                      PL_BH_0077845)
PX0901                            Abitbol                             2013.03.19 PA0001840841
                                                                      Registration Certificate
                                                                      (PL_BH_0030076-
                                                                      PL_BH_0030079)
PX0902                            Abitbol                             2015.02.20 PA0001967419
                                                                      Registration Certificate
                                                                      (PL_BH_0032711-
                                                                      PL_BH_0032714)



                                                110
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 112 of 161 PageID
                                   67545
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0903                            Abitbol                             2011.06.27 PA0001742330
                                                                      Registration Certificate
                                                                      (PL_BH_0077910-
                                                                      PL_BH_0077913)
PX0904                            Abitbol                             2015.11.19 PA0002004468
                                                                      Registration Certificate
                                                                      (PL_BH_0078391-
                                                                      PL_BH_0078393)
PX0905                            Abitbol                             2002.09.16 PA0001109842
                                                                      Registration Certificate
                                                                      (PL_BH_0031737-
                                                                      PL_BH_0031738)
PX0906                            Abitbol                             2006.12.11 PA0001166251
                                                                      Registration Certificate
                                                                      (PL_BH_0031975-
                                                                      PL_BH_0031976)
PX0907                            Abitbol                             2006.06.28 PA0001334589
                                                                      Registration Certificate
                                                                      (PL_BH_0077502-
                                                                      PL_BH_0077503)
PX0908                            Abitbol                             2006.09.25 PA0001338581
                                                                      Registration Certificate
                                                                      (PL_BH_0087894-
                                                                      PL_BH_0087897)
PX0909                            Abitbol                             2007.02.28 PA0001367972
                                                                      Registration Certificate
                                                                      (PL_BH_0078260-
                                                                      PL_BH_0078261)
PX0910                            Abitbol                             2007.10.16 PA0001391445
                                                                      Registration Certificate
                                                                      (PL_BH_0087898-
                                                                      PL_BH_0087901)
PX0911                            Abitbol                             2017.01.06 PA0001398432
                                                                      Registration Certificate
                                                                      (PL_BH_0077846-
                                                                      PL_BH_0077847)
PX0912                            Abitbol                             2008.11.24 PA0001617361
                                                                      Registration Certificate
                                                                      (PL_BH_0088105-
                                                                      PL_BH_0088108)
PX0913                            Abitbol     ID, W                   2009.04.22 PA0001647942
                                                                      Registration Certificate
                                                                      (PL_BH_0032092-
                                                                      PL_BH_0032094)
PX0914                            Abitbol                             2009.02.18 PA0001638917
                                                                      Registration Certificate


                                                111
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 113 of 161 PageID
                                   67546
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0077848-
                                                                      PL_BH_0077851)
PX0915                            Abitbol                             2008.05.06 PA0001639897
                                                                      Registration Certificate
                                                                      (PL_BH_0088149-
                                                                      PL_BH_0088152)
PX0916                            Abitbol                             2009.05.13 PA0001644855
                                                                      Registration Certificate
                                                                      (PL_BH_0088029-
                                                                      PL_BH_0088032)
PX0917                            Abitbol                             2009.04.09 PA0001644870
                                                                      Registration Certificate
                                                                      (PL_BH_0032089-
                                                                      PL_BH_0032091)
PX0918                            Abitbol                             2009.04.09 PA0001644871
                                                                      Registration Certificate
                                                                      (PL_BH_0088165-
                                                                      PL_BH_0088168)
PX0919                            Abitbol                             2009.04.09 PA0001644872
                                                                      Registration Certificate
                                                                      (PL_BH_0088169-
                                                                      PL_BH_0088172)
PX0920                            Abitbol                             2009.04.09 PA0001644874
                                                                      Registration Certificate
                                                                      (PL_BH_0078262-
                                                                      PL_BH_0078265)
PX0921                            Abitbol                             2009.04.09 PA0001644888
                                                                      Registration Certificate
                                                                      (PL_BH_0088173-
                                                                      PL_BH_0088176)
PX0922                            Abitbol                             2009.04.09 PA0001644889
                                                                      Registration Certificate
                                                                      (PL_BH_0088177-
                                                                      PL_BH_0088180)
PX0923                            Abitbol                             2009.04.09 PA0001644943
                                                                      Registration Certificate
                                                                      (PL_BH_0078266-
                                                                      PL_BH_0078269)
PX0924                            Abitbol                             2009.04.09 PA0001644944
                                                                      Registration Certificate
                                                                      (PL_BH_0088181-
                                                                      PL_BH_0088184)
PX0925                            Abitbol                             2009.04.09 PA0001644948
                                                                      Registration Certificate
                                                                      (PL_BH_0078270-
                                                                      PL_BH_0078273)


                                                112
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 114 of 161 PageID
                                   67547
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0926                            Abitbol                             2009.02.06 PA0001647060
                                                                      Registration Certificate
                                                                      (PL_BH_0077852-
                                                                      PL_BH_0077855)
PX0927                            Abitbol                             2009.02.06 PA0001647062
                                                                      Registration Certificate
                                                                      (PL_BH_0077856-
                                                                      PL_BH_0077859)
PX0928                            Abitbol     ID, W                   2009.02.18 PA0001622996
                                                                      Registration Certificate
                                                                      (PL_BH_0078043-
                                                                      PL_BH_0078046)
PX0929                            Abitbol                             2008.05.06 PA0001647947
                                                                      Registration Certificate
                                                                      (PL_BH_0077860-
                                                                      PL_BH_0077863)
PX0930                            Abitbol                             2009.04.07 PA0001648304
                                                                      Registration Certificate
                                                                      (PL_BH_0029799-
                                                                      PL_BH_0029802)
PX0931                            Abitbol                             2008.03.03 PA0001648764
                                                                      Registration Certificate
                                                                      (PL_BH_0038160-
                                                                      PL_BH_0038163)
PX0932                            Abitbol                             2008.03.03 PA0001648809
                                                                      Registration Certificate
                                                                      (PL_BH_0077868-
                                                                      PL_BH_0077871)
PX0933                            Abitbol                             2008.03.03 PA0001648869
                                                                      Registration Certificate
                                                                      (PL_BH_0030368-
                                                                      PL_BH_0030371)
PX0934                            Abitbol                             2009.09.04 PA0001651715
                                                                      Registration Certificate
                                                                      (PL_BH_0077872-
                                                                      PL_BH_0077875)
PX0935                            Abitbol                             2009.10.22 PA0001658976
                                                                      Registration Certificate
                                                                      (PL_BH_0032109-
                                                                      PL_BH_0032112)
PX0936                            Abitbol                             2009.09.30 PA0001659024
                                                                      Registration Certificate
                                                                      (PL_BH_0087942-
                                                                      PL_BH_0087945)
PX0937                            Abitbol     INC, ID                 2009.07.23 PA0001661345
                                                                      Registration Certificate


                                                113
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 115 of 161 PageID
                                   67548
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0032117-
                                                                      PL_BH_0032119)
PX0938                            Abitbol                             2009.07.23 PA0001661359
                                                                      Registration Certificate
                                                                      (PL_BH_0032120-
                                                                      PL_BH_0032122)
PX0939                            Abitbol     INC                     2009.07.23 PA0001661378
                                                                      Registration Certificate
                                                                      (PL_BH_0032123-
                                                                      PL_BH_0032124)
PX0940                            Abitbol                             2009.07.23 PA0001661382
                                                                      Registration Certificate
                                                                      (PL_BH_0032125-
                                                                      PL_BH_0032127)
PX0941                            Abitbol     INC                     2007.07.17 PA0001663701
                                                                      Registration Certificate
                                                                      (PL_BH_0087992-PL_BH
                                                                      _0087996)
PX0942                            Abitbol                             2010.03.15 PA0001668360
                                                                      Registration Certificate
                                                                      (PL_BH_0030012-
                                                                      PL_BH_0030014)
PX0943                            Abitbol                             2009.11.06 PA0001677761
                                                                      Registration Certificate
                                                                      (PL_BH_0030222-
                                                                      PL_BH_0030226)
PX0944                            Abitbol                             2010.02.16 PA0001682910
                                                                      Registration Certificate
                                                                      (PL_BH_0088025-
                                                                      PL_BH_0088028)
PX0945                            Abitbol                             2008.09.05 PA0001692669
                                                                      Registration Certificate
                                                                      (PL_BH_0088041-
                                                                      PL_BH_0088044)
PX0946                            Abitbol                             2010.07.27 PA0001708382
                                                                      Registration Certificate
                                                                      (PL_BH_0088081-
                                                                      PL_BH_0088084)
PX0947                            Abitbol     INC                     2008.03.05 PA0001708388
                                                                      Registration Certificate
                                                                      (PL_BH_0032228)
PX0948                            Abitbol                             2010.10.14 PA0001719812
                                                                      Registration Certificate
                                                                      (PL_BH_0088289-
                                                                      PL_BH_0088292)



                                                114
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 116 of 161 PageID
                                   67549
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0949                            Abitbol                             2010.12.16 PA0001722077
                                                                      Registration Certificate
                                                                      (PL_BH_0090449-
                                                                      PL_BH_0090452)
PX0950                            Abitbol                             2011.03.09 PA0001730981
                                                                      Registration Certificate
                                                                      (PL_BH_0078242-
                                                                      PL_BH_0078245)
PX0951                            Abitbol                             2010.10.28 PA0001733390
                                                                      Registration Certificate
                                                                      (PL_BH_0088309-
                                                                      PL_BH_0088312)
PX0952                            Abitbol                             2010.10.28 PA0001733987
                                                                      Registration Certificate
                                                                      (PL_BH_0088313-
                                                                      PL_BH_0088316)
PX0953                            Abitbol                             2011.03.08 PA0001735747
                                                                      Registration Certificate
                                                                      (PL_BH_0088317-
                                                                      PL_BH_0088320)
PX0954                            Abitbol                             2011.04.11 PA0001739159
                                                                      Registration Certificate
                                                                      (PL_BH_0077896-
                                                                      PL_BH_0077899)
PX0955                            Abitbol                             2011.05.05 PA0001740827
                                                                      Registration Certificate
                                                                      (PL_BH_0077900-
                                                                      PL_BH_0077901)
PX0956                            Abitbol                             2011.06.06 PA0001741677
                                                                      Registration Certificate
                                                                      (PL_BH_0077906-
                                                                      PL_BH_0077909)
PX0957                            Abitbol                             2011.07.08 PA0001745303
                                                                      Registration Certificate
                                                                      (PL_BH_0088333-
                                                                      PL_BH_0088336)
PX0958                            Abitbol                             2011.07.08 PA0001745306
                                                                      Registration Certificate
                                                                      (PL_BH_0088337-
                                                                      PL_BH_0088340)
PX0959                            Abitbol                             2011.04.15 PA0001745641
                                                                      Registration Certificate
                                                                      (PL_BH_0088341-
                                                                      PL_BH_0088344)
PX0960                            Abitbol                             2011.06.22 PA0001747296
                                                                      Registration Certificate


                                                115
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 117 of 161 PageID
                                   67550
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0078304-
                                                                      PL_BH_0078307)
PX0961                            Abitbol                             2011.10.17 PA0001757756
                                                                      Registration Certificate
                                                                      (PL_BH_0077922-
                                                                      PL_BH_0077925)
PX0962                            Abitbol                             2011.09.27 PA0001771867
                                                                      Registration Certificate
                                                                      (PL_BH_0030233-
                                                                      PL_BH_0030234)
PX0963                            Abitbol                             2011.12.30 PA0001771871
                                                                      Registration Certificate
                                                                      (PL_BH_0078316-
                                                                      PL_BH_0078319)
PX0964                            Abitbol                             2011.09.23 PA0001771888
                                                                      Registration Certificate
                                                                      (PL_BH_0077934-
                                                                      PL_BH_0077937)
PX0965                            Abitbol                             2012.03.15 PA0001780734
                                                                      Registration Certificate
                                                                      (PL_BH_0090457-
                                                                      PL_BH_0090460)
PX0966                            Abitbol                             2012.04.10 PA0001783660
                                                                      Registration Certificate
                                                                      (PL_BH_0087974-
                                                                      PL_BH_0087977)
PX0967                            Abitbol                             2012.05.02 PA0001784623
                                                                      Registration Certificate
                                                                      (PL_BH_0030191-
                                                                      PL_BH_0030194)
PX0968                            Abitbol     ID, W                   2013.06.10 PA0001856245
                                                                      Registration Certificate
                                                                      (PL_BH_0078105-
                                                                      PL_BH_0078108)
PX0969                            Abitbol                             2012.04.24 PA0001787047
                                                                      Registration Certificate
                                                                      (PL_BH_0078332-
                                                                      PL_BH_0078335)
PX0970                            Abitbol                             2012.05.11 PA0001789134
                                                                      Registration Certificate
                                                                      (PL_BH_0032456-
                                                                      PL_BH_0032459)
PX0971                            Abitbol                             2012.05.21 PA0001790417
                                                                      Registration Certificate
                                                                      (PL_BH_0087990-
                                                                      PL_BH_0087991)


                                                116
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 118 of 161 PageID
                                   67551
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0972                            Abitbol                             2012.09.26 PA0001807238
                                                                      Registration Certificate
                                                                      (PL_BH_0030042-
                                                                      PL_BH_0030045)
PX0973                            Abitbol                             2012.09.26 PA0001808178
                                                                      Registration Certificate
                                                                      (PL_BH_0029583-
                                                                      PL_BH_0029584)
PX0974                            Abitbol                             2012.08.15 PA0001811984
                                                                      Registration Certificate
                                                                      (PL_BH_0032500-
                                                                      PL_BH_0032502)
PX0975                            Abitbol                             2012.10.26 PA0001816534
                                                                      Registration Certificate
                                                                      (PL_BH_0088201-
                                                                      PL_BH_0088204)
PX0976                            Abitbol                             2012.11.23 PA0001820569
                                                                      Registration Certificate
                                                                      (PL_BH_0088209-
                                                                      PL_BH_0088212)
PX0977                            Abitbol                             2012.12.14 PA0001822166
                                                                      Registration Certificate
                                                                      (PL_BH_0088233-
                                                                      PL_BH_0088236)
PX0978                            Abitbol                             2013.01.07 PA0001825038
                                                                      Registration Certificate
                                                                      (PL_BH_0088245-
                                                                      PL_BH_0088248)
PX0979                            Abitbol                             2013.01.30 PA0001827951
                                                                      Registration Certificate
                                                                      (PL_BH_0088257-
                                                                      PL_BH_0088260)
PX0980                            Abitbol                             2013.01.30 PA0001827956
                                                                      Registration Certificate
                                                                      (PL_BH_0088261-
                                                                      PL_BH_0088264)
PX0981                            Abitbol                             2012.08.15 PA0001828069
                                                                      Registration Certificate
                                                                      (PL_BH_0088265-
                                                                      PL_BH_0088268)
PX0982                            Abitbol                             2013.03.20 PA0001832089
                                                                      Registration Certificate
                                                                      (PL_BH_0088277-
                                                                      PL_BH_0088280)
PX0983                            Abitbol                             2013.02.27 PA0001835570
                                                                      Registration Certificate


                                                117
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 119 of 161 PageID
                                   67552
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0088361-
                                                                      PL_BH_0088364)
PX0984                            Abitbol     NA                      2013.04.17 PA0001837905
                                                                      Registration Certificate
                                                                      (PL_BH_0026738-
                                                                      PL_BH_0026740)
PX0985                            Abitbol                             2013.05.02 PA0001839489
                                                                      Registration Certificate
                                                                      (PL_BH_0088369-
                                                                      PL_BH_0088372)
PX0986                            Abitbol                             2013.05.23 PA0001842281
                                                                      Registration Certificate
                                                                      (PL_BH_0029645-
                                                                      PL_BH_0029648)
PX0987                            Abitbol                             2013.05.24 PA0001842289
                                                                      Registration Certificate
                                                                      (PL_BH_0078136-
                                                                      PL_BH_0078139)
PX0988                            Abitbol                             2012.09.26 PA0001842407
                                                                      Registration Certificate
                                                                      (PL_BH_0029486-
                                                                      PL_BH_0029489)
PX0989                            Abitbol                             2013.05.16 PA0001842641
                                                                      Registration Certificate
                                                                      (PL_BH_0088373-
                                                                      PL_BH_0088376)
PX0990                            Abitbol                             2013.05.16 PA0001842646
                                                                      Registration Certificate
                                                                      (PL_BH_0088377-
                                                                      PL_BH_0088380)
PX0991                            Abitbol                             2013.04.26 PA0001843834
                                                                      Registration Certificate
                                                                      (PL_BH_0088381-
                                                                      PL_BH_0088384)
PX0992                            Abitbol                             2013.06.20 PA0001846377
                                                                      Registration Certificate
                                                                      (PL_BH_0088385-
                                                                      PL_BH_0088388)
PX0993                            Abitbol                             2012.08.10 PA0001848513
                                                                      Registration Certificate
                                                                      (PL_BH_0088389-
                                                                      PL_BH_0088392)
PX0994                            Abitbol                             2013.05.13 PA0001850389
                                                                      Registration Certificate
                                                                      (PL_BH_0088401-
                                                                      PL_BH_0088404)


                                                118
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 120 of 161 PageID
                                   67553
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX0995                            Abitbol                             2013.05.16 PA0001851192
                                                                      Registration Certificate
                                                                      (PL_BH_0078152-
                                                                      PL_BH_0078155)
PX0996                            Abitbol                             2013.07.15 PA0001852371
                                                                      Registration Certificate
                                                                      (PL_BH_0078156-
                                                                      PL_BH_0078159)
PX0997                            Abitbol                             2013.04.17 PA0001854208
                                                                      Registration Certificate
                                                                      (PL_BH_0088405-
                                                                      PL_BH_0088408)
PX0998                            Abitbol     ID, W                   2012.04.24 PA0001787041
                                                                      Registration Certificate
                                                                      (PL_BH_0032411-
                                                                      PL_BH_0032413)
PX0999                            Abitbol                             2013.06.10 PA0001856248
                                                                      Registration Certificate
                                                                      (PL_BH_0078168-
                                                                      PL_BH_0078171)
PX1000                            Abitbol                             2013.06.14 PA0001858590
                                                                      Registration Certificate
                                                                      (PL_BH_0088413-
                                                                      PL_BH_0088416)
PX1001                            Abitbol                             2013.06.14 PA0001858593
                                                                      Registration Certificate
                                                                      (PL_BH_0088417-
                                                                      PL_BH_0088420)
PX1002                            Abitbol                             2013.08.09 PA0001858773
                                                                      Registration Certificate
                                                                      (PL_BH_0030353-
                                                                      PL_BH_0030354)
PX1003                            Abitbol                             2013.08.09 PA0001858799
                                                                      Registration Certificate
                                                                      (PL_BH_0078356-
                                                                      PL_BH_0078359)
PX1004                            Abitbol                             2013.08.09 PA0001858805
                                                                      Registration Certificate
                                                                      (PL_BH_0029927-
                                                                      PL_BH_0029928)
PX1005                            Abitbol                             2013.08.09 PA0001858812
                                                                      Registration Certificate
                                                                      (PL_BH_0078172-
                                                                      PL_BH_0078175)
PX1006                            Abitbol                             2013.08.09 PA0001858834
                                                                      Registration Certificate


                                                119
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 121 of 161 PageID
                                   67554
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0078176-
                                                                      PL_BH_0078179)
PX1007                            Abitbol                             2013.06.03 PA0001861898
                                                                      Registration Certificate
                                                                      (PL_BH_0078180-
                                                                      PL_BH_0078183)
PX1008                            Abitbol                             2013.09.10 PA0001863569
                                                                      Registration Certificate
                                                                      (PL_BH_0077547-
                                                                      PL_BH_0077550)
PX1009                            Abitbol                             2013.08.30 PA0001864023
                                                                      Registration Certificate
                                                                      (PL_BH_0088433-
                                                                      PL_BH_0088436)
PX1010                            Abitbol                             2013.09.19 PA0001864281
                                                                      Registration Certificate
                                                                      (PL_BH_0088441-
                                                                      PL_BH_0088444)
PX1011                            Abitbol                             2013.09.05 PA0001865872
                                                                      Registration Certificate
                                                                      (PL_BH_0030321-
                                                                      PL_BH_0030322)
PX1012                            Abitbol                             2013.08.22 PA0001867242
                                                                      Registration Certificate
                                                                      (PL_BH_0088453-
                                                                      PL_BH_0088454)
PX1013                            Abitbol                             2013.09.20 PA0001868417
                                                                      Registration Certificate
                                                                      (PL_BH_0030287-
                                                                      PL_BH_0030288)
PX1014                            Abitbol                             2013.10.21 PA0001872896
                                                                      Registration Certificate
                                                                      (PL_BH_0078192-
                                                                      PL_BH_0078195)
PX1015                            Abitbol                             2013.10.31 PA0001874308
                                                                      Registration Certificate
                                                                      (PL_BH_0078360-
                                                                      PL_BH_0078363)
PX1016                            Abitbol                             2013.10.31 PA0001874344
                                                                      Registration Certificate
                                                                      (PL_BH_0078230-
                                                                      PL_BH_0078233)
PX1017                            Abitbol                             2013.09.27 PA0001877914
                                                                      Registration Certificate
                                                                      (PL_BH_0088455-
                                                                      PL_BH_0088458)


                                                120
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 122 of 161 PageID
                                   67555
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1018                            Abitbol                             2014.01.27 PA0001878202
                                                                      Registration Certificate
                                                                      (PL_BH_0078364-
                                                                      PL_BH_0078369)
PX1019                            Abitbol                             2013.11.04 PA0001879169
                                                                      Registration Certificate
                                                                      (PL_BH_0088547-
                                                                      PL_BH_0088550)
PX1020                            Abitbol                             2013.11.04 PA0001879175
                                                                      Registration Certificate
                                                                      (PL_BH_0088459-
                                                                      PL_BH_0088462)
PX1021                            Abitbol                             2013.11.04 PA0001879186
                                                                      Registration Certificate
                                                                      (PL_BH_0088463-
                                                                      PL_BH_0088466)
PX1022                            Abitbol                             2013.11.04 PA0001879197
                                                                      Registration Certificate
                                                                      (PL_BH_0026735-
                                                                      PL_BH_0026737)
PX1023                            Abitbol                             2013.12.12 PA0001885790
                                                                      Registration Certificate
                                                                      (PL_BH_0078374-
                                                                      PL_BH_0078377)
PX1024                            Abitbol                             2013.12.09 PA0001887676
                                                                      Registration Certificate
                                                                      (PL_BH_0088483-
                                                                      PL_BH_0088486)
PX1025                            Abitbol                             2014.02.27 PA0001888782
                                                                      Registration Certificate
                                                                      (PL_BH_0088491-
                                                                      PL_BH_0088494)
PX1026                            Abitbol                             2014.05.01 PA0001896430
                                                                      Registration Certificate
                                                                      (PL_BH_0078208-
                                                                      PL_BH_0078211)
PX1027                            Abitbol                             2014.05.01 PA0001896439
                                                                      Registration Certificate
                                                                      (PL_BH_0088507-
                                                                      PL_BH_0088510)
PX1028                            Abitbol     ID, W                   2015.08.04 PA0001985062
                                                                      Registration Certificate
                                                                      (PL_BH_0078410-
                                                                      PL_BH_0078412)
PX1029                            Abitbol                             2014.06.13 PA0001903036
                                                                      Registration Certificate


                                                121
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 123 of 161 PageID
                                   67556
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0088519-
                                                                      PL_BH_0088522)
PX1030                            Abitbol                             2012.08.03 PA0001917492
                                                                      Registration Certificate
                                                                      (PL_BH_0029877-
                                                                      PL_BH_0029878)
PX1031                            Abitbol                             2014.07.17 PA0001920169
                                                                      Registration Certificate
                                                                      (PL_BH_0088539-
                                                                      PL_BH_0088542)
PX1032                            Abitbol                             2014.09.11 PA0001920253
                                                                      Registration Certificate
                                                                      (PL_BH_0088543-
                                                                      PL_BH_0088546)
PX1033                            Abitbol                             2014.09.11 PA0001920258
                                                                      Registration Certificate
                                                                      (PL_BH_0026732-
                                                                      PL_BH_0026734)
PX1034                            Abitbol                             2014.06.09 PA0001924140
                                                                      Registration Certificate
                                                                      (PL_BH_0029901-
                                                                      PL_BH_0029902)
PX1035                            Abitbol                             2014.06.09 PA0001924144
                                                                      Registration Certificate
                                                                      (PL_BH_0029897-
                                                                      PL_BH_0029898)
PX1036                            Abitbol                             2014.09.09 PA0001932906
                                                                      Registration Certificate
                                                                      (PL_BH_0078125-
                                                                      PL_BH_0078127)
PX1037                            Abitbol                             2013.06.07 PA0001951623
                                                                      Registration Certificate
                                                                      (PL_BH_0078215-
                                                                      PL_BH_0078217)
PX1038                            Abitbol                             2015.05.22 PA0001961615
                                                                      Registration Certificate
                                                                      (PL_BH_0078221-
                                                                      PL_BH_0078223)
PX1039                            Abitbol                             2015.02.26 PA0001969613
                                                                      Registration Certificate
                                                                      (PL_BH_0088564-
                                                                      PL_BH_0088566)
PX1040                            Abitbol                             2015.02.06 PA0001976122
                                                                      Registration Certificate
                                                                      (PL_BH_0030517-
                                                                      PL_BH_0030520)


                                                122
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 124 of 161 PageID
                                   67557
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1041                            Abitbol                             2015.02.06 PA0001976123
                                                                      Registration Certificate
                                                                      (PL_BH_0030281-
                                                                      PL_BH_0030282)
PX1042                            Abitbol                             2015.02.06 PA0001976126
                                                                      Registration Certificate
                                                                      (PL_BH_0078224-
                                                                      PL_BH_0078226)
PX1043                            Abitbol                             2015.02.06 PA0001976129
                                                                      Registration Certificate
                                                                      (PL_BH_0030279-
                                                                      PL_BH_0030280)
PX1044                            Abitbol     ID, W                   2014.02.14 PA0001896718
                                                                      Registration Certificate
                                                                      (PL_BH_0029969-
                                                                      PL_BH_0029970)
PX1045                            Abitbol                             2015.11.19 PA0002000106
                                                                      Registration Certificate
                                                                      (PL_BH_0077833-
                                                                      PL_BH_0077835)
PX1046                            Abitbol                             2013.04.09 PA0001841819
                                                                      Registration Certificate
                                                                      (PL_BH_0078132-
                                                                      PL_BH_0078135)
PX1047                            TBD                                 2012.04.01 2012 Confirmation
                                                                      Agreement for the Universal
                                                                      Music Group Inter Company
                                                                      License Agreement, between
                                                                      UMG Recordings, Inc., UMG
                                                                      Recordings Services, Inc., and
                                                                      Universal Music Operations Ltd.
                                                                      (PL_BH_0025296-
                                                                      PL_BH_0025296)
PX1048                            TBD                                 2011.01.28 2011 Deed of License
                                                                      of Copyright and Benefit of
                                                                      Recording Artist Agreements
                                                                      between Mercury Records
                                                                      Limited and Universal Music
                                                                      Operations Limited
                                                                      (PL_BH_0114297-
                                                                      PL_BH_0114303)
PX1049                            TBD                                 2011.01.28 2012 Deed of
                                                                      Transfer between Mercury
                                                                      Records Limited and Universal
                                                                      Music Operations Limited
                                                                      (PL_BH_0024705-


                                                123
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 125 of 161 PageID
                                   67558
Exhibit     Date        Date                 Objections/Stipulated
 No.      Identified   Admitted    Witness       Admissions                Description of Exhibit
                                                                     PL_BH_0024707)

PX1050                            TBD                                1986.09.30 PolyGram Leisure
                                                                     Ltd. acquisition of Dick James
                                                                     Music Limited, including
                                                                     wholly-owned subsidiary This
                                                                     Record Company, Ltd.
                                                                     (PL_BH_0042474-
                                                                     PL_BH_0042554)
PX1051                            TBD                                2012.04.01 2012 Confirmation
                                                                     Agreement for the Universal
                                                                     Music Group Inter Company
                                                                     License Agreement, between
                                                                     UMG Recordings, Inc., UMG
                                                                     Recordings Services, Inc., and
                                                                     Universal International Music
                                                                     B.V. (PL_BH_0026118-
                                                                     PL_BH_0026118)
PX1052                            TBD                                1999.03.29 Certificate of
                                                                     Incorporation on Change of
                                                                     Name, from PolyGram Leisure
                                                                     Limited to Universal Music
                                                                     Leisure Limited
                                                                     (PL_BH_0133445-
                                                                     PL_BH_0133446)
PX1053                            TBD                                2012.00.00 Universal Music
                                                                     Group Inter Company License
                                                                     Agreement Applicable to 2012
                                                                     and 2013 (PL_BH_0024075-
                                                                     PL_BH_0024141)
PX1054                            TBD                                2014.00.00 Universal Music
                                                                     Group Inter Company License
                                                                     Agreement Applicable to 2014
                                                                     through 2017 (PL_BH_0024142-
                                                                     PL_BH_0024205)
PX1055                            TBD                                2018.00.00 Universal Music
                                                                     Group Inter Company License
                                                                     Agreement Applicable to 2018
                                                                     (PL_BH_0020954-
                                                                     PL_BH_0020988)
PX1056                            TBD                                1973.10.12 N10950 Registration
                                                                     Certificate (PL_BH_0037478-
                                                                     PL_BH_0037478)
PX1057                            TBD                                1972.10.27 N6758 Registration
                                                                     Certificate (PL_BH_0040473-
                                                                     PL_BH_0040473)


                                               124
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 126 of 161 PageID
                                   67559
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1058                            TBD                                 2007.10.29 SR0000617110
                                                                      Registration Certificate
                                                                      (PL_BH_0039078-
                                                                      PL_BH_0039079)
PX1059                            Kokakis                             2005.09.01 2005 Prince Nelson
                                                                      Administration Agreement
                                                                      (PL_BH_0062863-
                                                                      PL_BH_0062873)
PX1060                            Kokakis                             2007.06.27 2007 Amendment to
                                                                      Robbie Nevil Administration
                                                                      Agreement (PL_BH_0048815-
                                                                      PL_BH_0048816)
PX1061                            Kokakis                             2009.03.10 2009 Amendment to
                                                                      Robbie Nevil Administration
                                                                      Agreement (PL_BH_0064738-
                                                                      PL_BH_0064743)
PX1062                            Kokakis                             2009.05.08 2009 Amendment to
                                                                      Shroom Shady Music
                                                                      Administration Agreement
                                                                      (PL_BH_0064402-
                                                                      PL_BH_0064434)
PX1063                            Kokakis                             2012.04.17 2012 Amendment to
                                                                      Ann Wilson and Nancy Wilson
                                                                      Administration Agreement
                                                                      (PL_BH_0074969-
                                                                      PL_BH_0074973)
PX1064                            Kokakis                             2012.03.28 2012 Amendment to
                                                                      Prince Nelson Administration
                                                                      Agreement (PL_BH_0023888-
                                                                      PL_BH_0023891)
PX1065                            Kokakis                             2012.08.09 2012 Amendment to
                                                                      Shroom Shady Music
                                                                      Administration Agreement
                                                                      (PL_BH_0023883-
                                                                      PL_BH_0023887)
PX1066                            Kokakis                             2013.04.30 2013 Amendment to
                                                                      Jeff Hanneman, Tom Araya, and
                                                                      Kerry King Administration
                                                                      Agreement (PL_BH_0076044-
                                                                      PL_BH_0076048)
PX1067                            Kokakis                             2013.01.01 2013 Prince Nelson
                                                                      Administration Agreement
                                                                      (PL_BH_0043389-
                                                                      PL_BH_0043391)
PX1068                            Kokakis                             2014.12.19 2014 Amendment to
                                                                      Lonnie Rashid Lynn Songwriter


                                                125
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 127 of 161 PageID
                                   67560
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      and Co-Publishing Agreement
                                                                      (PL_BH_0076440-
                                                                      PL_BH_0076454)
PX1069                            Kokakis                             2015.06.18 2015 Amendment to
                                                                      Ann Wilson and Nancy Wilson
                                                                      Administration Agreement
                                                                      (PL_BH_0133691-
                                                                      PL_BH_0133692)
PX1070                            Kokakis                             2015.09.01 2015 Amendment to
                                                                      Shroom Shady Music
                                                                      Administration Agreement
                                                                      (PL_BH_0112380-
                                                                      PL_BH_0112387)
PX1071                            Kokakis                             2018.06.01 2018 Amendment to
                                                                      Ann Wilson and Nancy Wilson
                                                                      Administration Agreement
                                                                      (PL_BH_0074953-
                                                                      PL_BH_0074968)
PX1072                            Kokakis                             Abandonment of Use of
                                                                      Fictitious Business Name
                                                                      (PL_BH_0076489-
                                                                      PL_BH_0076499)
PX1073                            Kokakis                             Alexander Kronlund Publishing
                                                                      Agreement and Amendment
                                                                      (PL_BH_0075264-
                                                                      PL_BH_0075277)
PX1074                            Kokakis                             1986.12.24 Almo Music and
                                                                      Rondor Certificate of Merger
                                                                      (PL_BH_0072167-
                                                                      PL_BH_0072168)
PX1075                            Kokakis                             Amendment to 2013 Prince
                                                                      Nelson Administration
                                                                      Agreement (PL_BH_0042555-
                                                                      PL_BH_0042658)
PX1076                            Kokakis                             2013.07.09 Amendment to
                                                                      exclusive Songwriter & Co-
                                                                      Publishing Agreement by and
                                                                      between Universal Music Corp.
                                                                      and Harris Productions, Inc. and
                                                                      Keith Harris d/b/a/ Broke,
                                                                      Spoke and Gone Publishing
                                                                      Songwriter Agreement
                                                                      (PL_BH_0074924-
                                                                      PL_BH_0074926)
PX1077                            Kokakis                             Ann Wilson and Nancy Wilson
                                                                      Administration Agreement


                                                126
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 128 of 161 PageID
                                   67561
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                      (PL_BH_0074974-
                                                                      PL_BH_0075014)
PX1078                            Kokakis                             Anthony Petraglia Songwriter
                                                                      Agreement and Amendments
                                                                      (PL_BH_0077146-
                                                                      PL_BH_0077230)
PX1079                            Kokakis                             BMG Music Publishing NA, Inc.
                                                                      Fictitious Business Name
                                                                      Statement (PL_BH_0076462-
                                                                      PL_BH_0076465)
PX1080                            Kokakis                             Catalogue/Publishing East
                                                                      Memphis/Birdees Exhibit A
                                                                      (PL_BH_0043186-
                                                                      PL_BH_0043308)
PX1081                            Kokakis                             2019.02.05 Certificate of Merger
                                                                      - Rondor Music International,
                                                                      Inc. with and into Universal
                                                                      Music Corp. under the name of
                                                                      Universal Music Corp.
                                                                      (PL_BH_0024541-
                                                                      PL_BH_0024544)
PX1082                            Kokakis                             2017.02.24 Certificate of Merger
                                                                      - Universal - PolyGram
                                                                      International Publishing, Inc.
                                                                      with and into PolyGram
                                                                      Publishing, Inc. under the name
                                                                      under the name of PolyGram
                                                                      Publishing, Inc.
                                                                      (PL_BH_0024553-
                                                                      PL_BH_0024554)
PX1083                            Kokakis                             2017.02.24 Certificate of Merger
                                                                      - Universal - Songs of PolyGram
                                                                      International, Inc. with and into
                                                                      PolyGram Publishing, Inc. under
                                                                      the name under the name of
                                                                      PolyGram Publishing, Inc.
                                                                      (PL_BH_0024555-
                                                                      PL_BH_0024556)
PX1084                            Kokakis                             2017.02.28 Company Profile -
                                                                      Universal - Polygram
                                                                      International Publishing, Inc.
                                                                      (PL_BH_0024533-
                                                                      PL_BH_0024540)
PX1085                            Kokakis                             2020.02.14 Company Profile -
                                                                      Universal Music Publishing AB
                                                                      (PL_BH_0055412-


                                                127
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 129 of 161 PageID
                                   67562
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                 Description of Exhibit
                                                                      PL_BH_0055416)

PX1086                            Kokakis                             2000.02.18 Corporate Name
                                                                      Change - Songs of Polygram
                                                                      International (PL_BH_0076485-
                                                                      PL_BH_0076488)
PX1087                            Kokakis                             1999.06.04 Corporate Name
                                                                      Change. - "Polygram
                                                                      International Publishing, Inc. to
                                                                      Universal - Polygram
                                                                      International Publishing, Inc.
                                                                      (PL_BH_0076478-
                                                                      PL_BH_0076484)
PX1088                            Kokakis                             Exclusive Songwriter & Co-
                                                                      Publishing Agreement by and
                                                                      between Music Corporation of
                                                                      America, Inc. and Kelly Price,
                                                                      individually and doing business
                                                                      as Price is Right Music
                                                                      (PL_BH_0043392-
                                                                      PL_BH_0043445)
PX1089                            Kokakis                             2011.02.18 Exclusive Songwriter
                                                                      & Co-Publishing Agreement by
                                                                      and between Universal Music
                                                                      Corp. and Harris Productions,
                                                                      Inc. and Keith Harris d/b/a/
                                                                      Broke, Spoke and Gone
                                                                      Publishing (PL_BH_0042360-
                                                                      PL_BH_0042388)
PX1090                            Kokakis                             2009.12.21 Exclusive Songwriter
                                                                      & Co-Publishing Agreement by
                                                                      and between Universal Music
                                                                      Corp. and Harris Productions,
                                                                      Inc. and Keith Harris d/b/a/
                                                                      Broke, Spoke and Gone
                                                                      Publishing Songwriter
                                                                      Agreement (PL_BH_0074927-
                                                                      PL_BH_0074952)
PX1091                            Kokakis                             2010.12.20 Frederick Hibbert
                                                                      Asset Purchase Agreement
                                                                      (PL_BH_0042900-
                                                                      PL_BH_0042929)
PX1092                            Kokakis                             2005.04.01 Jeff Hanneman, Tom
                                                                      Araya, and Kerry King
                                                                      Administration Agreement
                                                                      (PL_BH_0076529-


                                                128
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 130 of 161 PageID
                                   67563
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      PL_BH_0076561)

PX1093                            Kokakis                             2009.06.10 John Eugene Wesley
                                                                      Co-Publishing Agreement
                                                                      (PL_BH_0044676-
                                                                      PL_BH_0044689)
PX1094                            Kokakis                             2000.04.28 Lonnie Rashid Lynn
                                                                      Songwriter and Co-Publishing
                                                                      Agreement (PL_BH_0064934-
                                                                      PL_BH_0064962)
PX1095                            Kokakis                             Notice of Assignment of
                                                                      Copyrights from Hall-Clement
                                                                      Publications to Songs of
                                                                      Polygram International, Inc.
                                                                      (PL_BH_0078595-
                                                                      PL_BH_0078979)
PX1096                            Kokakis                             2003.03.30 Obie Trice
                                                                      Songwriter Agreement
                                                                      (PL_BH_0064989-
                                                                      PL_BH_0065029)
PX1097                            Kokakis                             1982.03.11 Purchase and Sale
                                                                      Agreement by and between
                                                                      Cream Records, Inc., doing
                                                                      business as East Memphis Music
                                                                      and JEC Music; and Bencorp
                                                                      Publishing, Inc., doing business
                                                                      as Birdees Music and Fi Music
                                                                      (PL_BH_0043123-
                                                                      PL_BH_0043185)
PX1098                            Kokakis                             Robbie Nevil Administration
                                                                      Agreement (PL_BH_0048817-
                                                                      PL_BH_0048845)
PX1099                            Kokakis                             2005.03.21 Robin Carlsson
                                                                      Amendment (PL_BH_0075261-
                                                                      PL_BH_0075263)
PX1100                            Kokakis                             2005.03.21 Robin Carlsson
                                                                      Amendment (PL_BH_0075260)
PX1101                            Kokakis                             2018.12.18 Rondor Music
                                                                      International, Inc. Company
                                                                      Profile (PL_BH_0024376-
                                                                      PL_BH_0024382)
PX1102                            Kokakis                             2006.12.22 Shroom Shady Music
                                                                      Administration Agreement
                                                                      (PL_BH_0024009-
                                                                      PL_BH_0024044)


                                                129
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 131 of 161 PageID
                                   67564
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1103                            Kokakis                             2017.03.01 Universal - Songs of
                                                                      PolyGram International, Inc.
                                                                      Company Profile
                                                                      (PL_BH_0024545-
                                                                      PL_BH_0024552)
PX1104                            Kokakis                             2013.03.29 Universal Music - Z
                                                                      Tunes Company Profile
                                                                      (PL_BH_0072189-
                                                                      PL_BH_0072197)
PX1105                            Kokakis                             Universal Music Publishing
                                                                      MGB Scandinavia AB and UMP
                                                                      AB Corporate Meeting Notes
                                                                      (PL_BH_0075361-
                                                                      PL_BH_0075467)
PX1106                            Kokakis                             2015.09.23 Universal/MCA
                                                                      Music Scandinavia AB
                                                                      Acquisition Notes
                                                                      (PL_BH_0075278-
                                                                      PL_BH_0075289)
PX1107                            Kokakis                             1978.09.18 PA0000018884
                                                                      Registration Certificate
                                                                      (PL_BH_0093003-
                                                                      PL_BH_0093004)
PX1108                            Kokakis                             1979.09.24 PA0000057204
                                                                      Registration Certificate
                                                                      (PL_BH_0093001-
                                                                      PL_BH_0093002)
PX1109                            Kokakis     ID, W                   1980.10.28 PA0000086306
                                                                      Registration Certificate
                                                                      (PL_BH_0093151-
                                                                      PL_BH_0093152)
PX1110                            Kokakis                             1980.10.14 PA0000088151
                                                                      Registration Certificate
                                                                      (PL_BH_0093101-
                                                                      PL_BH_0093102)
PX1111                            Kokakis                             1981.12.28 PA0000126583
                                                                      Registration Certificate
                                                                      (PL_BH_0093067-
                                                                      PL_BH_0093068)
PX1112                            Kokakis                             1981.12.28 PA0000126622
                                                                      Registration Certificate
                                                                      (PL_BH_0093069-
                                                                      PL_BH_0093070)
PX1113                            Kokakis                             1982.01.25 PA0000126702
                                                                      Registration Certificate
                                                                      (PL_BH_0113403-


                                                130
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 132 of 161 PageID
                                   67565
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      PL_BH_0113404)

PX1114                            Kokakis                             1982.03.22 PA0000132713
                                                                      Registration Certificate
                                                                      (PL_BH_0093077-
                                                                      PL_BH_0093078)
PX1115                            Kokakis     ID, W                   1985.10.11 PA0000266437
                                                                      Registration Certificate
                                                                      (PL_BH_0113397-
                                                                      PL_BH_0113398)
PX1116                            Kokakis     ID, W                   1966.02.28 PAu0000817628
                                                                      Registration Certificate
                                                                      (PL_BH_0113423-
                                                                      PL_BH_0113424)
PX1117                            Kokakis                             1986.11.17 PA0000310517
                                                                      Registration Certificate
                                                                      (PL_BH_0093099-
                                                                      PL_BH_0093100)
PX1118                            Kokakis                             1987.09.17 PA0000343989
                                                                      Registration Certificate
                                                                      (PL_BH_0093113-
                                                                      PL_BH_0093114)
PX1119                            Kokakis                             1989.10.23 PA0000437593
                                                                      Registration Certificate
                                                                      (PL_BH_0093206-
                                                                      PL_BH_0093207)
PX1120                            Kokakis                             1992.07.13 PA0000583382
                                                                      Registration Certificate
                                                                      (PL_BH_0093121-
                                                                      PL_BH_0093122)
PX1121                            Kokakis                             1992.11.18 PA0000593703
                                                                      Registration Certificate
                                                                      (PL_BH_0028685-
                                                                      PL_BH_0028686)
PX1122                            Kokakis                             1993.03.15 PA0000606001
                                                                      Registration Certificate
                                                                      (PL_BH_0093123-
                                                                      PL_BH_0093124)
PX1123                            Kokakis                             1993.03.30 PA0000607812
                                                                      Registration Certificate
                                                                      (PL_BH_0093234-
                                                                      PL_BH_0093235)
PX1124                            Kokakis                             1994.07.25 PA0000642408
                                                                      Registration Certificate
                                                                      (PL_BH_0093127-
                                                                      PL_BH_0093128)


                                                131
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 133 of 161 PageID
                                   67566
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1125                            Kokakis                             1995.07.17 PA0000676158
                                                                      Registration Certificate
                                                                      (PL_BH_0093129-
                                                                      PL_BH_0093130)
PX1126                            Kokakis                             1998.03.30 PA0000740722
                                                                      Registration Certificate
                                                                      (PL_BH_0089268-
                                                                      PL_BH_0089271)
PX1127                            Kokakis                             1998.03.31 PA0000741101
                                                                      Registration Certificate
                                                                      (PL_BH_0089272-
                                                                      PL_BH_0089275)
PX1128                            Kokakis                             1995.11.20 PA0000764860
                                                                      Registration Certificate
                                                                      (PL_BH_0028720-
                                                                      PL_BH_0028721)
PX1129                            Kokakis                             1996.02.15 PA0000774129
                                                                      Registration Certificate
                                                                      (PL_BH_0089286-
                                                                      PL_BH_0089289)
PX1130                            Kokakis                             1996.05.20 PA0000801851
                                                                      Registration Certificate
                                                                      (PL_BH_0089290-
                                                                      PL_BH_0089293)
PX1131                            Kokakis                             1996.08.12 PA0000809080
                                                                      Registration Certificate
                                                                      (PL_BH_0089129-
                                                                      PL_BH_0089132)
PX1132                            Kokakis                             1996.06.13 PA0000809516
                                                                      Registration Certificate
                                                                      (PL_BH_0027148-
                                                                      PL_BH_0027151)
PX1133                            Kokakis                             1997.09.30 PA0000863872
                                                                      Registration Certificate
                                                                      (PL_BH_0089944-
                                                                      PL_BH_0089945)
PX1134                            Kokakis                             1998.01.22 PA0000877830
                                                                      Registration Certificate
                                                                      (PL_BH_0089302-
                                                                      PL_BH_0089303)
PX1135                            Kokakis                             1998.04.17 PA0000890663
                                                                      Registration Certificate
                                                                      (PL_BH_0089304-
                                                                      PL_BH_0089305)
PX1136                            Kokakis                             1998.05.01 PA0000896403
                                                                      Registration Certificate


                                                132
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 134 of 161 PageID
                                   67567
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0089306-
                                                                      PL_BH_0089307)
PX1137                            Kokakis                             1998.05.01 PA0000896404
                                                                      Registration Certificate
                                                                      (PL_BH_0089308-
                                                                      PL_BH_0089309)
PX1138                            Kokakis                             1998.05.01 PA0000896405
                                                                      Registration Certificate
                                                                      (PL_BH_0089310-
                                                                      PL_BH_0089313)
PX1139                            Kokakis                             1999.05.17 PA0000938844
                                                                      Registration Certificate
                                                                      (PL_BH_0089946-
                                                                      PL_BH_0089947)
PX1140                            Kokakis                             1999.05.11 PA0000947848
                                                                      Registration Certificate
                                                                      (PL_BH_0088837-
                                                                      PL_BH_0088838)
PX1141                            Kokakis                             2000.03.14 PA0000955483
                                                                      Registration Certificate
                                                                      (PL_BH_0090174-
                                                                      PL_BH_0090175)
PX1142                            Kokakis                             1999.12.08 PA0000976309
                                                                      Registration Certificate
                                                                      (PL_BH_0088839-
                                                                      PL_BH_0088840)
PX1143                            Kokakis                             1999.12.08 PA0000976310
                                                                      Registration Certificate
                                                                      (PL_BH_0089332-
                                                                      PL_BH_0089335)
PX1144                            Kokakis                             1999.12.08 PA0000976311
                                                                      Registration Certificate
                                                                      (PL_BH_0089336-
                                                                      PL_BH_0089339)
PX1145                            Kokakis                             2000.04.19 PA0000996029
                                                                      Registration Certificate
                                                                      (PL_BH_0089342-
                                                                      PL_BH_0089344)
PX1146                            Kokakis                             2000.03.06 PA0000999862
                                                                      Registration Certificate
                                                                      (PL_BH_0089237-
                                                                      PL_BH_0089238)
PX1147                            Kokakis                             2000.06.12 PA0001003696
                                                                      Registration Certificate
                                                                      (PL_BH_0089138-
                                                                      PL_BH_0089141)


                                                133
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 135 of 161 PageID
                                   67568
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1148                            Kokakis                             2000.11.24 PA0001028241
                                                                      Registration Certificate
                                                                      (PL_BH_0088985-
                                                                      PL_BH_0088986)
PX1149                            Kokakis                             2001.03.26 PA0001092508
                                                                      Registration Certificate
                                                                      (PL_BH_0090196-
                                                                      PL_BH_0090201)
PX1150                            Kokakis                             2001.07.23 PA0001053165
                                                                      Registration Certificate
                                                                      (PL_BH_0089142-
                                                                      PL_BH_0089143)
PX1151                            Kokakis                             2002.09.06 PA0001073138
                                                                      Registration Certificate
                                                                      (PL_BH_0090585-
                                                                      PL_BH_0090588)
PX1152                            Kokakis                             2003.01.31 PA0001113927
                                                                      Registration Certificate
                                                                      (PL_BH_0089390-
                                                                      PL_BH_0089391)
PX1153                            Kokakis                             2002.10.10 PA0001114802
                                                                      Registration Certificate
                                                                      (PL_BH_0028588-
                                                                      PL_BH_0028589)
PX1154                            Kokakis                             2002.10.10 PA0001114803
                                                                      Registration Certificate
                                                                      (PL_BH_0089146-
                                                                      PL_BH_0089147)
PX1155                            Kokakis                             2002.11.07 PA0001120335
                                                                      Registration Certificate
                                                                      (PL_BH_0089582-
                                                                      PL_BH_0089583)
PX1156                            Kokakis                             2002.11.07 PA0001120337
                                                                      Registration Certificate
                                                                      (PL_BH_0089586-
                                                                      PL_BH_0089587)
PX1157                            Kokakis                             2002.11.07 PA0001120340
                                                                      Registration Certificate
                                                                      (PL_BH_0089590-
                                                                      PL_BH_0089591)
PX1158                            Kokakis                             2003.06.10 PA0001145821
                                                                      Registration Certificate
                                                                      (PL_BH_0089594-
                                                                      PL_BH_0089595)
PX1159                            Kokakis                             2004.07.20 PA0001159522
                                                                      Registration Certificate


                                                134
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 136 of 161 PageID
                                   67569
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0089152-
                                                                      PL_BH_0089155)
PX1160                            Kokakis                             2002.10.24 PA0001237298
                                                                      Registration Certificate
                                                                      (PL_BH_0089096-
                                                                      PL_BH_0089099)
PX1161                            Kokakis                             2004.09.08 PA0001245479
                                                                      Registration Certificate
                                                                      (PL_BH_0089794-
                                                                      PL_BH_0089797)
PX1162                            Kokakis                             2004.09.08 PA0001245480
                                                                      Registration Certificate
                                                                      (PL_BH_0090634-
                                                                      PL_BH_0090636)
PX1163                            Kokakis                             2004.09.08 PA0001245484
                                                                      Registration Certificate
                                                                      (PL_BH_0089798-
                                                                      PL_BH_0089799)
PX1164                            Kokakis                             2004.09.08 PA0001245485
                                                                      Registration Certificate
                                                                      (PL_BH_0089110-
                                                                      PL_BH_0089112)
PX1165                            Kokakis                             2008.09.08 PA0001245486
                                                                      Registration Certificate
                                                                      (PL_BH_0089113-
                                                                      PL_BH_0089114)
PX1166                            Kokakis                             2004.09.08 PA0001245487
                                                                      Registration Certificate
                                                                      (PL_BH_0089800-
                                                                      PL_BH_0089801)
PX1167                            Kokakis                             2004.09.08 PA0001245491
                                                                      Registration Certificate
                                                                      (PL_BH_0089802-
                                                                      PL_BH_0089803)
PX1168                            Kokakis                             2004.09.08 PA0001245492
                                                                      Registration Certificate
                                                                      (PL_BH_0089804-
                                                                      PL_BH_0089806)
PX1169                            Kokakis                             2004.09.08 PA0001245493
                                                                      Registration Certificate
                                                                      (PL_BH_0028600-
                                                                      PL_BH_0028602)
PX1170                            Kokakis                             2005.03.07 PA0001295395
                                                                      Registration Certificate
                                                                      (PL_BH_0089948-
                                                                      PL_BH_0089951)


                                                135
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 137 of 161 PageID
                                   67570
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1171                            Kokakis                             2005.03.07 PA0001295397
                                                                      Registration Certificate
                                                                      (PL_BH_0090254-
                                                                      PL_BH_0090257)
PX1172                            Kokakis                             2005.08.30 PA0001295883
                                                                      Registration Certificate
                                                                      (PL_BH_0089239-
                                                                      PL_BH_0089242)
PX1173                            Kokakis                             2005.10.31 PA0001302582
                                                                      Registration Certificate
                                                                      (PL_BH_0088865-
                                                                      PL_BH_0088866)
PX1174                            Kokakis                             2006.02.22 PA0001312069
                                                                      Registration Certificate
                                                                      (PL_BH_0089819-
                                                                      PL_BH_0089820)
PX1175                            Kokakis                             2007.06.29 PA0001334252
                                                                      Registration Certificate
                                                                      (PL_BH_0089841-
                                                                      PL_BH_0089842)
PX1176                            Kokakis                             2008.03.06 PA0001396084
                                                                      Registration Certificate
                                                                      (PL_BH_0027264-
                                                                      PL_BH_0027265)
PX1177                            Kokakis                             2007.11.26 PA0001624202
                                                                      Registration Certificate
                                                                      (PL_BH_0090589-
                                                                      PL_BH_0090592)
PX1178                            Kokakis                             2008.05.27 PA0001639096
                                                                      Registration Certificate
                                                                      (PL_BH_0028717-
                                                                      PL_BH_0028719)
PX1179                            Kokakis                             2008.05.27 PA0001639100
                                                                      Registration Certificate
                                                                      (PL_BH_0089406-
                                                                      PL_BH_0089409)
PX1180                            Kokakis                             2008.03.06 PA0001653571
                                                                      Registration Certificate
                                                                      (PL_BH_0089424-
                                                                      PL_BH_0089427)
PX1181                            Kokakis                             2009.07.29 PA0001656968
                                                                      Registration Certificate
                                                                      (PL_BH_0038176-
                                                                      PL_BH_0038179)
PX1182                            Kokakis                             2009.07.29 PA0001656977
                                                                      Registration Certificate


                                                136
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 138 of 161 PageID
                                   67571
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0038180-
                                                                      PL_BH_0038183)
PX1183                            Kokakis                             2009.07.29 PA0001656994
                                                                      Registration Certificate
                                                                      (PL_BH_0090425-
                                                                      PL_BH_0090428)
PX1184                            Kokakis                             2009.11.17 PA0001677408
                                                                      Registration Certificate
                                                                      (PL_BH_0090258-
                                                                      PL_BH_0090261)
PX1185                            Kokakis                             2008.05.12 PA0001693337
                                                                      Registration Certificate
                                                                      (PL_BH_0090593-
                                                                      PL_BH_0090596)
PX1186                            Kokakis                             2010.04.27 PA0001698118
                                                                      Registration Certificate
                                                                      (PL_BH_0090597-
                                                                      PL_BH_0090600)
PX1187                            Kokakis                             2010.04.05 PA0001699599
                                                                      Registration Certificate
                                                                      (PL_BH_0089448-
                                                                      PL_BH_0089451)
PX1188                            Kokakis                             2008.12.08 PA0001705474
                                                                      Registration Certificate
                                                                      (PL_BH_0089205-
                                                                      PL_BH_0089208)
PX1189                            Kokakis                             2011.01.25 PA0001727659
                                                                      Registration Certificate
                                                                      (PL_BH_0089464-
                                                                      PL_BH_0089467)
PX1190                            Kokakis                             2011.02.15 PA0001731495
                                                                      Registration Certificate
                                                                      (PL_BH_0038044-
                                                                      PL_BH_0038045)
PX1191                            Kokakis                             2011.02.15 PA0001731496
                                                                      Registration Certificate
                                                                      (PL_BH_0038042-
                                                                      PL_BH_0038043)
PX1192                            Kokakis                             2011.04.22 PA0001735121
                                                                      Registration Certificate
                                                                      (PL_BH_0089504-
                                                                      PL_BH_0089507)
PX1193                            Kokakis                             2011.12.15 PA0001767537
                                                                      Registration Certificate
                                                                      (PL_BH_0089562-
                                                                      PL_BH_0089565)


                                                137
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 139 of 161 PageID
                                   67572
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
PX1194                            Kokakis                             2011.12.30 PA0001771872
                                                                      Registration Certificate
                                                                      (PL_BH_0090363-
                                                                      PL_BH_0090366)
PX1195                            Kokakis                             2012.02.01 PA0001776732
                                                                      Registration Certificate
                                                                      (PL_BH_0090429-
                                                                      PL_BH_0090432)
PX1196                            Kokakis                             2011.12.27 PA0001779598
                                                                      Registration Certificate
                                                                      (PL_BH_0027644-
                                                                      PL_BH_0027646)
PX1197                            Kokakis                             2012.02.09 PA0001781742
                                                                      Registration Certificate
                                                                      (PL_BH_0090433-
                                                                      PL_BH_0090436)
PX1198                            Kokakis                             2012.04.23 PA0001784195
                                                                      Registration Certificate
                                                                      (PL_BH_0027551-
                                                                      PL_BH_0027553)
PX1199                            Kokakis                             2012.06.21 PA0001804402
                                                                      Registration Certificate
                                                                      (PL_BH_0089027-
                                                                      PL_BH_0089030)
PX1200                            Kokakis                             2012.12.13 PA0001821987
                                                                      Registration Certificate
                                                                      (PL_BH_0089614-
                                                                      PL_BH_0089617)
PX1201                            Kokakis                             2012.09.26 PA0001842406
                                                                      Registration Certificate
                                                                      (PL_BH_0131685-
                                                                      PL_BH_0131688)
PX1202                            Kokakis                             2013.08.01 PA0001856271
                                                                      Registration Certificate
                                                                      (PL_BH_0027976-
                                                                      PL_BH_0027978)
PX1203                            Kokakis                             2013.08.01 PA0001856280
                                                                      Registration Certificate
                                                                      (PL_BH_0027967-
                                                                      PL_BH_0027969)
PX1204                            Kokakis                             2013.08.01 PA0001856289
                                                                      Registration Certificate
                                                                      (PL_BH_0027979-
                                                                      PL_BH_0027981)
PX1205                            Kokakis                             2013.08.01 PA0001856298
                                                                      Registration Certificate


                                                138
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 140 of 161 PageID
                                   67573
Exhibit     Date        Date                  Objections/Stipulated
 No.      Identified   Admitted     Witness       Admissions                Description of Exhibit
                                                                      (PL_BH_0027970-
                                                                      PL_BH_0027972)
PX1206                            Kokakis                             2013.08.01 PA0001856319
                                                                      Registration Certificate
                                                                      (PL_BH_0089698-
                                                                      PL_BH_0089701)
PX1207                            Kokakis                             2013.08.01 PA0001856324
                                                                      Registration Certificate
                                                                      (PL_BH_0089702-
                                                                      PL_BH_0089705)
PX1208                            Kokakis                             2013.08.01 PA0001859140
                                                                      Registration Certificate
                                                                      (PL_BH_0027973-
                                                                      PL_BH_0027975)
PX1209                            Kokakis                             2013.08.01 PA0001859144
                                                                      Registration Certificate
                                                                      (PL_BH_0089706-
                                                                      PL_BH_0089709)
PX1210                            Kokakis                             2013.11.21 PA0001892789
                                                                      Registration Certificate
                                                                      (PL_BH_0089964-
                                                                      PL_BH_0089967)
PX1211                            Kokakis                             2013.11.21 PA0001892797
                                                                      Registration Certificate
                                                                      (PL_BH_0089732-
                                                                      PL_BH_0089735)
PX1212                            Kokakis                             2013.11.21 PA0001892798
                                                                      Registration Certificate
                                                                      (PL_BH_0090437-
                                                                      PL_BH_0090440)
PX1213                            Kokakis                             2014.05.01 PA0001896435
                                                                      Registration Certificate
                                                                      (PL_BH_0089736-
                                                                      PL_BH_0089739)
PX1214                            Kokakis                             2015.05.22 PA0001981018
                                                                      Registration Certificate
                                                                      (PL_BH_0089913-
                                                                      PL_BH_0089915)
PX1215                            Kokakis                             1988.08.30 PA000398144
                                                                      Registration Certificate
                                                                      (PL_BH_0093019-
                                                                      PL_BH_0093020)
PX1216                            Kokakis                             1988.08.30 PA000398145
                                                                      Registration Certificate
                                                                      (PL_BH_0093013-
                                                                      PL_BH_0093014)


                                                139
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 141 of 161 PageID
                                   67574
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions               Description of Exhibit
PX1217                            Kokakis                              1988.08.30 PA000398146
                                                                       Registration Certificate
                                                                       (PL_BH_0027121-
                                                                       PL_BH_0027122)
PX1218                            Kokakis                              1988.08.30 PA000398147
                                                                       Registration Certificate
                                                                       (PL_BH_0027123-
                                                                       PL_BH_0027124)
PX1219                            Kokakis                              1988.08.30 PA000398148
                                                                       Registration Certificate
                                                                       (PL_BH_0027125-
                                                                       PL_BH_0027126)
PX1220                            Kokakis                              1988.08.30 PA000398149
                                                                       Registration Certificate
                                                                       (PL_BH_0027127-
                                                                       PL_BH_0027128)
PX1221                            Kokakis                              1988.08.30 PA000398150
                                                                       Registration Certificate
                                                                       (PL_BH_0027129-
                                                                       PL_BH_0027130)
PX1222                            Kokakis      ID, W                   1985.03.28 PA0000243349
                                                                       Registration Certificate
                                                                       (PL_BH_0113395-
                                                                       PL_BH_0113396)
PX1223                            Kokakis                              1998.10.05 PAu002345664
                                                                       Registration Certificate
                                                                       (PL_BH_0089928-
                                                                       PL_BH_0089929)
PX1224                            Kokakis                              2012.03.15 PA0001780734
                                                                       Registration Certificate
                                                                       (PL_BH_0090457-
                                                                       PL_BH_0090460)
PX1225                            Kokakis                              2010.12.16 PA0001722077
                                                                       Registration Certificate
                                                                       (PL_BH_0090449-
                                                                       PL_BH_0090452)
PX1226                            Blietz                               1994.01.01 1994 Dynatone
                                                                       Publishing Company
                                                                       Administration Agreement,
                                                                       Settlement Agreement, and
                                                                       Assignments (PL_BH_0041966-
                                                                       PL_BH_0042194)
PX1227                            Blietz                               1997.03.18 1997 Dynatone
                                                                       Publishing Company
                                                                       Assignment (PL_BH_0044725)



                                                 140
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 142 of 161 PageID
                                   67575
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1228                            Blietz                               1997.01.01 1997 Administration
                                                                       Agreement with WB Music
                                                                       Corp. and Flames of Albion
                                                                       Music, Inc., James Page, Robert
                                                                       Plant, John Baldwin p/k/a John
                                                                       Paul Jones, Patricia Bonham,
                                                                       Jason Bonham, and Zoe
                                                                       Bonham (PL_BH_0023172-
                                                                       PL_BH_0023235)
PX1229                            Blietz                               1998.06.15 1998 Clamike
                                                                       Recordation of Agreement
                                                                       (PL_BH_0041849-
                                                                       PL_BH_0041853)
PX1230                            Blietz                               2005.01.01 2005 Dwayne Carter
                                                                       Co-Publishing Agreement
                                                                       (PL_BH_0023249-
                                                                       PL_BH_0023278)
PX1231                            Blietz                               2008.01.01 2008 Administration
                                                                       Agreement with WB Music
                                                                       Corp. and Flames of Albion
                                                                       Music Ltd., James Page, Robert
                                                                       Plant, John Baldwin p/k/a John
                                                                       Paul Jones, Patricia Bonham,
                                                                       Jason Bonham, and Zoe
                                                                       Bonham (PL_BH_0023236-
                                                                       PL_BH_0023248)
PX1232                            Blietz                               2008.07.23 2008 Mike Dean
                                                                       Administration Agreement
                                                                       (PL_BH_0043462-
                                                                       PL_BH_0043468)
PX1233                            Blietz                               2010.12.07 2010 Amendment to
                                                                       Dwayne Carter Co-Publishing
                                                                       Agreement (PL_BH_0023279-
                                                                       PL_BH_0023281)
PX1234                            Blietz                               2010.05.04 2010 catalog
                                                                       acquisition and Co-Publishing
                                                                       Agreement with Ashley Gorley,
                                                                       Southside Independent Music
                                                                       Publishing, and Combustion III,
                                                                       LLC (PL_BH_0022222-
                                                                       PL_BH_0022276)
PX1235                            Blietz       INC                     2010.12.01 2010 Mike Dean
                                                                       Administration Agreement
                                                                       (PL_BH_0043446-
                                                                       PL_BH_0043461)



                                                 141
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 143 of 161 PageID
                                   67576
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1236                            Blietz                               2013.10.01 2013 Catalog
                                                                       Purchase Agreement with Ashley
                                                                       Gorley (PL_BH_0022277-
                                                                       PL_BH_0022293)
PX1237                            Blietz                               2014.09.22 2014 Amendment to
                                                                       Shawn Carter Administration
                                                                       Agreement (PL_BH_0023055)
PX1238                            Blietz                               2016.01.01 2016 Amendment to
                                                                       Roc Nation Administration
                                                                       Agreement (PL_BH_0044781-
                                                                       PL_BH_0044782)
PX1239                            Blietz       INC                     2017.03.24 2017 Amendment to
                                                                       2014 Mike Dean Administration
                                                                       Agreement (PL_BH_0023321-
                                                                       PL_BH_0023323)
PX1240                            Blietz                               2010.05.19 2010 Agreement
                                                                       between Warner Music UK
                                                                       Limited and James Ford
                                                                       (PL_BH_0046631-
                                                                       PL_BH_0046655)
PX1241                            Blietz                               2017.04.21 2017 Amendment
                                                                       between Warner Music UK
                                                                       Limited, Warner/Chappell
                                                                       Music Limited and James Ford
                                                                       (PL_BH_0046656-
                                                                       PL_BH_0046658)
PX1242                            Blietz                               2009.10.26 2009 Amendment to
                                                                       Trill Productions Administration
                                                                       Agreement (PL_BH_0023720)
PX1243                            Blietz                               1998.10.01 1998 Bernhardt
                                                                       Music Administration
                                                                       Agreement (PL_BH_0041589-
                                                                       PL_BH_0041611)
PX1244                            Blietz                               2010.01.01 2010 Cameron
                                                                       Thomaz Co-Publishing
                                                                       Agreement (PL_BH_0071902-
                                                                       PL_BH_0071936)
PX1245                            Blietz                               2015.01.01 2015 Charles Kelley
                                                                       Administration Agreement
                                                                       (PL_BH_0071937-
                                                                       PL_BH_0071984)
PX1246                            Blietz                               2015.01.01 2015 David
                                                                       Haywood Administration
                                                                       Agreement (PL_BH_0071985-
                                                                       PL_BH_0072032)



                                                 142
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 144 of 161 PageID
                                   67577
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1247                            Blietz                               1992.11.01 Golden Wheat Music
                                                                       Amendment and Marv Green
                                                                       Co-Publishing Agreement
                                                                       (PL_BH_0043985-
                                                                       PL_BH_0044047)
PX1248                            Blietz                               2015.01.01 2015 Hillary Scott
                                                                       Administration Agreement
                                                                       (PL_BH_0072033-
                                                                       PL_BH_0072078)
PX1249                            Blietz                               2014.01.01 2014 Jerome Harmon
                                                                       Catalog Purchase Agreement
                                                                       (PL_BH_0042271-
                                                                       PL_BH_0042285)
PX1250                            Blietz                               2012.03.01 2012 Kendrick
                                                                       Lamar Co-Publishing Agreement
                                                                       (PL_BH_0041105-
                                                                       PL_BH_0041140)
PX1251                            Blietz                               2010.09.01 2010 Khalil Walton
                                                                       Administration Agreement and
                                                                       Amendment (PL_BH_0043787-
                                                                       PL_BH_0043831)
PX1252                            Blietz                               2013.04.01 2013 Lamar Edwards
                                                                       Administration Agreement
                                                                       (PL_BH_0022529-
                                                                       PL_BH_0022578)
PX1253                            Blietz                               2013.09.01 2013 Lee Thomas
                                                                       Miller Catalog Purchase
                                                                       Agreement (PL_BH_0044743-
                                                                       PL_BH_0044780)
PX1254                            Blietz       INC                     2013.10.11 2013 Ludwig
                                                                       Goransson Co-Publishing and
                                                                       Administration Agreement
                                                                       (PL_BH_0042286-
                                                                       PL_BH_0042304)
PX1255                            Blietz                               2012.10.01 2012 Michael Len
                                                                       Williams Co-Publishing
                                                                       Agreement (PL_BH_0022582-
                                                                       PL_BH_0022608)
PX1256                            Blietz                               2014.04.01 2014 Mike Dean
                                                                       Administration Agreement
                                                                       (PL_BH_0023324-
                                                                       PL_BH_0023348)
PX1257                            Blietz                               1995.08.18 1995 Certificate of
                                                                       Recordation of 1992 Motley
                                                                       Crue Music Co. Assignment
                                                                       (PL_BH_0021876-


                                                 143
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 145 of 161 PageID
                                   67578
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       PL_BH_0021900)

PX1258                            Blietz                               2012.10.01 Pierre Ramon
                                                                       Slaughter Co-Publishing
                                                                       Agreement (PL_BH_0070792-
                                                                       PL_BH_0070843)
PX1259                            Blietz                               2001.11.21 2001 Purchase
                                                                       Agreement among WMGA LLC
                                                                       and Gaylord Entertainment
                                                                       Company and Gaylord Creative
                                                                       Group for Word Music Group,
                                                                       Inc. (PL_BH_0094477-
                                                                       PL_BH_0094575)
PX1260                            Blietz                               1998.04.01 1998 Rick Williams
                                                                       Co-Publishing Agreement
                                                                       (PL_BH_0041914-
                                                                       PL_BH_0041937)
PX1261                            Blietz                               2012.11.30 2012 Roc Nation
                                                                       Administration Agreement
                                                                       (PL_BH_0022676-
                                                                       PL_BH_0022691)
PX1262                            Blietz                               2011.11.11 2011 Ross Golan Co-
                                                                       Publishing Agreement and
                                                                       Amendments (PL_BH_0022706-
                                                                       PL_BH_0022751)
PX1263                            Blietz       F, INC                  Schedule A-3 to the 2012 Shawn
                                                                       Carter Administration
                                                                       Agreement (PL_BH_0043618-
                                                                       PL_BH_0043620)
PX1264                            Blietz       F, INC                  Schedule to the 2012 Shawn
                                                                       Carter Administration
                                                                       Agreement (PL_BH_0043569-
                                                                       PL_BH_0043617)
PX1265                            Blietz                               2012.01.01 2012 Sean Maxwell
                                                                       Douglas Co-Publishing
                                                                       Agreement and Amendments
                                                                       (PL_BH_0041229-
                                                                       PL_BH_0041272)
PX1266                            Blietz                               2012.12.11 2012 Shawn Carter
                                                                       Administration Agreement
                                                                       (PL_BH_0023034-
                                                                       PL_BH_0023054)
PX1267                            Blietz                               2010.12.29 2010 Southside
                                                                       Independent Publishing Bill of
                                                                       Sale and Assignment
                                                                       (PL_BH_0022752-


                                                 144
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 146 of 161 PageID
                                   67579
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       PL_BH_0022772)

PX1268                            Blietz       NP                      2011.01.01 2011 Southside
                                                                       Independent Publishing Letter of
                                                                       Direction and Notice of
                                                                       Assignment (PL_BH_0013956)
PX1269                            Blietz                               2002.08.01 2002 Stuart Brawley
                                                                       Administration Agreement
                                                                       (PL_BH_0041273-
                                                                       PL_BH_0041287)
PX1270                            Blietz                               1996.07.01 1996 Timothy
                                                                       Mosley Administration
                                                                       Agreement and Amendments
                                                                       (PL_BH_0023663-
                                                                       PL_BH_0023689)
PX1271                            Blietz                               2012.09.12 2012 Timothy
                                                                       Mosley Settlement Agreement
                                                                       (PL_BH_0043375-
                                                                       PL_BH_0043381)
PX1272                            Blietz                               2005.01.27 2005 Torence Hatch
                                                                       Co-Publishing Agreement with
                                                                       Trill Productions
                                                                       (PL_BH_0065030-
                                                                       PL_BH_0065034)
PX1273                            Blietz                               2005.10.01 2005 Trill
                                                                       Productions Administration
                                                                       Agreement (PL_BH_0023705-
                                                                       PL_BH_0023719)
PX1274                            Blietz                               1996.10.01 1996 Vince Neil
                                                                       Purchase Agreement
                                                                       (PL_BH_0022874-
                                                                       PL_BH_0022881)
PX1275                            Blietz       NP                      2011.07.01 2011 Warner
                                                                       Chappell Group License
                                                                       Agreement (PL_BH_0013928-
                                                                       PL_BH_0013955)
PX1276                            Blietz                               2015.01.01 2015 Warryn
                                                                       Campbell Co-Publishing
                                                                       Agreement (PL_BH_0041825-
                                                                       PL_BH_0041848)
PX1277                            Blietz                               2009.09.26 2009 Wayne Hector
                                                                       Songwriter Agreement
                                                                       (PL_BH_0070844-
                                                                       PL_BH_0070869)




                                                 145
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 147 of 161 PageID
                                   67580
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1278                            Blietz                               2002.07.18 Amended and
                                                                       Restated Limited Liability
                                                                       Company Agreement of WMGA
                                                                       LLC (PL_BH_0094453-
                                                                       PL_BH_0094476)
PX1279                            Blietz                               2016.01.01 2016 Wordspring
                                                                       Music LLC Exclusive
                                                                       Administration Agreement
                                                                       (PL_BH_0043886-
                                                                       PL_BH_0043928)
PX1280                            Blietz                               1999.11.01 1999 Clifton Lighty
                                                                       Co-Publishing Agreement and
                                                                       Amendments (PL_BH_0044693-
                                                                       PL_BH_0044724)
PX1281                            Blietz                               2012.10.01 Einnor Music
                                                                       Administration Agreement and
                                                                       Amendments (PL_BH_0022995-
                                                                       PL_BH_0023033)
PX1282                            Blietz                               2010.08.01 Trac-n-Field
                                                                       Entertainment, LLC
                                                                       Administration Agreement
                                                                       (PL_BH_0023635-
                                                                       PL_BH_0023662)
PX1283                            Blietz                               2014.10.01 2014 Amendment to
                                                                       Trac-n-Field Entertainment,
                                                                       LLC Administration Agreement
                                                                       (PL_BH_0022792-
                                                                       PL_BH_0022823)
PX1284                            Blietz                               Works Catalog Pertaining to
                                                                       2014 Amendment to Trac-n-
                                                                       Field Entertainment, LLC
                                                                       Administration Agreement
                                                                       (PL_BH_0043621-
                                                                       PL_BH_0043621)
PX1285                            Blietz                               2007.04.01 2082 Music
                                                                       Publishing Administration
                                                                       Agreement (PL_BH_0023612-
                                                                       PL_BH_0023634)
PX1286                            Blietz                               2014.06.04 2014 Amendment to
                                                                       2082 Music Publishing
                                                                       Administration Agreement
                                                                       (PL_BH_0046690-
                                                                       PL_BH_0046691)
PX1287                            Blietz                               2008.10.31 Bernard's Other
                                                                       Music Administration
                                                                       Agreement and Amendments


                                                 146
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 148 of 161 PageID
                                   67581
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       (PL_BH_0022294-
                                                                       PL_BH_0022313)
PX1288                            Blietz                               2016.05.02 April’s Boy Music,
                                                                       LLC Co-Publishing Agreement
                                                                       and Amendments
                                                                       (PL_BH_0022824-
                                                                       PL_BH_0022873)
PX1289                            Blietz                               2009.07.01 Combustion Music
                                                                       Asset Purchase and Sale
                                                                       Agreement (PL_BH_0042952-
                                                                       PL_BH_0043003)
PX1290                            Blietz       INC                     2015.01.01 Plan A Music, LLC
                                                                       and Waters of Nazareth
                                                                       Administration Agreement
                                                                       (PL_BH_0041943-
                                                                       PL_BH_0041965)
PX1291                            Blietz                               2008.07.26 2008 Administration
                                                                       Agreement between 321 Music,
                                                                       LLC and Artist Publishing
                                                                       Group (PL_BH_0022882-
                                                                       PL_BH_0022904)
PX1292                            Blietz                               2013.01.01 Artist Publishing
                                                                       Group - WB Music Corp.
                                                                       Administration Agreement
                                                                       (PL_BH_0022200-
                                                                       PL_BH_0022221)
PX1293                            Blietz                               1975.02.03 Eu0000557529
                                                                       Registration Certificate
                                                                       (PL_BH_0091107-
                                                                       PL_BH_0091108)
PX1294                            Blietz                               1975.02.03 Eu0000557531
                                                                       Registration Certificate
                                                                       (PL_BH_0091109-
                                                                       PL_BH_0091110)
PX1295                            Blietz                               1975.02.03 Eu0000557533
                                                                       Registration Certificate
                                                                       (PL_BH_0091111-
                                                                       PL_BH_0091112)
PX1296                            Blietz                               1976.01.30 Eu0000655751
                                                                       Registration Certificate
                                                                       (PL_BH_0091113-
                                                                       PL_BH_0091114)
PX1297                            Blietz                               1976.01.30 Eu0000655755
                                                                       Registration Certificate
                                                                       (PL_BH_0091115-
                                                                       PL_BH_0091116)


                                                 147
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 149 of 161 PageID
                                   67582
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1298                            Blietz       ID, W                   1994.01.24
                                                                       1993.01.11
                                                                       1993.01.11 Registration
                                                                       Certificates for Eu0000937504,
                                                                       EP0000204266, EP0000207820,
                                                                       RE0000660458, RE0000621005,
                                                                       and RE0000621035
                                                                       (PL_BH_0026993-
                                                                       PL_BH_0027002)
PX1299                            Blietz                               1966.05.13 Eu0000937504
                                                                       Registration Certificate
                                                                       (PL_BH_0131677-
                                                                       PL_BH_0131678)
PX1300                            Blietz                               1985.12.02 PA0000269462
                                                                       Registration Certificate
                                                                       (PL_BH_0030167-
                                                                       PL_BH_0030175)
PX1301                            Blietz                               1987.05.27 PA0000332225
                                                                       Registration Certificate
                                                                       (PL_BH_0091073-
                                                                       PL_BH_0091074)
PX1302                            Blietz                               1987.05.27 PA0000332227
                                                                       Registration Certificate
                                                                       (PL_BH_0091075-
                                                                       PL_BH_0091076)
PX1303                            Blietz                               1987.10.13 PA0000342182
                                                                       Registration Certificate
                                                                       (PL_BH_0091077-
                                                                       PL_BH_0091078)
PX1304                            Blietz                               1987.10.19 PA0000354501
                                                                       Registration Certificate
                                                                       (PL_BH_0091079-
                                                                       PL_BH_0091080)
PX1305                            Blietz                               1987.10.19 PA0000354502
                                                                       Registration Certificate
                                                                       (PL_BH_0091081-
                                                                       PL_BH_0091082)
PX1306                            Blietz                               1987.10.19 PA0000354504
                                                                       Registration Certificate
                                                                       (PL_BH_0091083-
                                                                       PL_BH_0091084)
PX1307                            Blietz                               1987.10.19 PA0000354505
                                                                       Registration Certificate
                                                                       (PL_BH_0091085-
                                                                       PL_BH_0091086)



                                                 148
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 150 of 161 PageID
                                   67583
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1308                            Blietz                               1989.10.16 PA0000440233
                                                                       Registration Certificate
                                                                       (PL_BH_0091087-
                                                                       PL_BH_0091088)
PX1309                            Blietz                               1989.10.16 PA0000440234
                                                                       Registration Certificate
                                                                       (PL_BH_0030131-
                                                                       PL_BH_0030134)
PX1310                            Blietz                               1991.12.16 PA0000549203
                                                                       Registration Certificate
                                                                       (PL_BH_0030127-
                                                                       PL_BH_0030130)
PX1311                            Blietz                               1999.01.22 PA0000949112
                                                                       Registration Certificate
                                                                       (PL_BH_0037938-
                                                                       PL_BH_0037941)
PX1312                            Blietz                               2003.07.14 PA0001157819
                                                                       Registration Certificate
                                                                       (PL_BH_0077515-
                                                                       PL_BH_0077516)
PX1313                            Blietz       INC                     2007.07.11 PA0001167815
                                                                       Registration Certificate
                                                                       (PL_BH_0031993)
PX1314                            Blietz                               2005.01.26 PA0001249901
                                                                       Registration Certificate
                                                                       (PL_BH_0037802-
                                                                       PL_BH_0037805)
PX1315                            Blietz                               2008.12.22 PA0001395676
                                                                       Registration Certificate
                                                                       (PL_BH_0077842-
                                                                       PL_BH_0077845)
PX1316                            Blietz                               2007.12.22 PA0001603421
                                                                       Registration Certificate
                                                                       (PL_BH_0038108-
                                                                       PL_BH_0038111)
PX1317                            Blietz                               2008.09.29 PA0001640776
                                                                       Registration Certificate
                                                                       (PL_BH_0032080-
                                                                       PL_BH_0032082)
PX1318                            Blietz                               2009.11.10 PA0001678122
                                                                       Registration Certificate
                                                                       (PL_BH_0038196-
                                                                       PL_BH_0038199)
PX1319                            Blietz                               2011.03.25 PA0001732191
                                                                       Registration Certificate
                                                                       (PL_BH_0038034-


                                                 149
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 151 of 161 PageID
                                   67584
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       PL_BH_0038037)

PX1320                            Blietz                               2011.05.24 PA0001739115
                                                                       Registration Certificate
                                                                       (PL_BH_0038014-
                                                                       PL_BH_0038017)
PX1321                            Blietz                               2011.06.27 PA0001742330
                                                                       Registration Certificate
                                                                       (PL_BH_0077910-
                                                                       PL_BH_0077913)
PX1322                            Blietz                               2011.06.14 PA0001743353
                                                                       Registration Certificate
                                                                       (PL_BH_0032310-
                                                                       PL_BH_0032313)
PX1323                            Blietz                               2011.08.18 PA0001755880
                                                                       Registration Certificate
                                                                       (PL_BH_0077918-
                                                                       PL_BH_0077921)
PX1324                            Blietz                               2011.11.17 PA0001769705
                                                                       Registration Certificate
                                                                       (PL_BH_0038436-
                                                                       PL_BH_0038439)
PX1325                            Blietz                               2012.01.19 PA0001773578
                                                                       Registration Certificate
                                                                       (PL_BH_0038440-
                                                                       PL_BH_0038443)
PX1326                            Blietz                               2012.01.19 PA0001773580
                                                                       Registration Certificate
                                                                       (PL_BH_0038444-
                                                                       PL_BH_0038447)
PX1327                            Blietz                               2012.01.19 PA0001773586
                                                                       Registration Certificate
                                                                       (PL_BH_0038448-
                                                                       PL_BH_0038451)
PX1328                            Blietz                               2012.01.19 PA0001773706
                                                                       Registration Certificate
                                                                       (PL_BH_0038452-
                                                                       PL_BH_0038455)
PX1329                            Blietz                               2012.01.19 PA0001773710
                                                                       Registration Certificate
                                                                       (PL_BH_0038456-
                                                                       PL_BH_0038459)
PX1330                            Blietz                               2012.01.19 PA0001773713
                                                                       Registration Certificate
                                                                       (PL_BH_0038460-
                                                                       PL_BH_0038463)


                                                 150
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 152 of 161 PageID
                                   67585
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1331                            Blietz                               2012.03.15 PA0001779668
                                                                       Registration Certificate
                                                                       (PL_BH_0038480-
                                                                       PL_BH_0038483)
PX1332                            Blietz                               2012.08.06 PA0001806092
                                                                       Registration Certificate
                                                                       (PL_BH_0038248-
                                                                       PL_BH_0038251)
PX1333                            Blietz                               2012.07.30 PA0001811795
                                                                       Registration Certificate
                                                                       (PL_BH_0038264-
                                                                       PL_BH_0038267)
PX1334                            Blietz                               2012.10.12 PA0001816412
                                                                       Registration Certificate
                                                                       (PL_BH_0038272-
                                                                       PL_BH_0038275)
PX1335                            Blietz                               2012.10.12 PA0001816414
                                                                       Registration Certificate
                                                                       (PL_BH_0038276-
                                                                       PL_BH_0038279)
PX1336                            Blietz                               2013.02.13 PA0001832802
                                                                       Registration Certificate
                                                                       (PL_BH_0077954-
                                                                       PL_BH_0077957)
PX1337                            Blietz                               2013.03.19 PA0001840841
                                                                       Registration Certificate
                                                                       (PL_BH_0030076-
                                                                       PL_BH_0030079)
PX1338                            Blietz                               2013.04.09 PA0001841819
                                                                       Registration Certificate
                                                                       (PL_BH_0078132-
                                                                       PL_BH_0078135)
PX1339                            Blietz                               2013.06.06 PA0001850662
                                                                       Registration Certificate
                                                                       (PL_BH_0038344-
                                                                       PL_BH_0038347)
PX1340                            Blietz                               2013.08.01 PA0001856290
                                                                       Registration Certificate
                                                                       (PL_BH_0077575-
                                                                       PL_BH_0077578)
PX1341                            Blietz                               2013.08.22 PA0001867241
                                                                       Registration Certificate
                                                                       (PL_BH_0077623-
                                                                       PL_BH_0077626)
PX1342                            Blietz                               2013.12.12 PA0001889065
                                                                       Registration Certificate


                                                 151
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 153 of 161 PageID
                                   67586
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       (PL_BH_0077683-
                                                                       PL_BH_0077687)
PX1343                            Blietz       INC                     2013.11.21 PA0001892793
                                                                       Registration Certificate
                                                                       (PL_BH_0077692-
                                                                       PL_BH_0077695)
PX1344                            Blietz                               2014.05.01 PA0001896429
                                                                       Registration Certificate
                                                                       (PL_BH_0077696-
                                                                       PL_BH_0077699)
PX1345                            Blietz                               2014.05.01 PA0001896430
                                                                       Registration Certificate
                                                                       (PL_BH_0078208-
                                                                       PL_BH_0078211)
PX1346                            Blietz                               2014.07.02 PA0001913931
                                                                       Registration Certificate
                                                                       (PL_BH_0077704-
                                                                       PL_BH_0077707)
PX1347                            Blietz                               2014.07.02 PA0001913932
                                                                       Registration Certificate
                                                                       (PL_BH_0077708-
                                                                       PL_BH_0077711)
PX1348                            Blietz                               2014.10.07 PA0001917890
                                                                       Registration Certificate
                                                                       (PL_BH_0078378-
                                                                       PL_BH_0078381)
PX1349                            Blietz                               2014.10.14 PA0001933961
                                                                       Registration Certificate
                                                                       (PL_BH_0078212-
                                                                       PL_BH_0078214)
PX1350                            Blietz                               2015.02.20 PA0001967419
                                                                       Registration Certificate
                                                                       (PL_BH_0032711-
                                                                       PL_BH_0032714)
PX1351                            Blietz                               2015.11.19 PA0002004468
                                                                       Registration Certificate
                                                                       (PL_BH_0078391-
                                                                       PL_BH_0078393)
PX1352                            Blietz                               2015.11.19 PA0002004472
                                                                       Registration Certificate
                                                                       (PL_BH_0078227-
                                                                       PL_BH_0078229)
PX1353                            Blietz                               2015.11.19 PA0002004490
                                                                       Registration Certificate
                                                                       (PL_BH_0078086-
                                                                       PL_BH_0078088)


                                                 152
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 154 of 161 PageID
                                   67587
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1354                            Blietz                               2002.01.16 PA0001069964
                                                                       Registration Certificate
                                                                       (PL_BH_0037967-
                                                                       PL_BH_0037968)
PX1355                            Blietz                               2013.06.07 PA0001951623
                                                                       Registration Certificate
                                                                       (PL_BH_0078215-
                                                                       PL_BH_0078217)
PX1356                            Blietz                               2013.10.31 PA0001874344
                                                                       Registration Certificate
                                                                       (PL_BH_0078230-
                                                                       PL_BH_0078233)
PX1357                            Blietz                               2013.09.10 PA0001863569
                                                                       Registration Certificate
                                                                       (PL_BH_0077547-
                                                                       PL_BH_0077550)
PX1358                            Blietz                               2009.10.22 PA0001658976
                                                                       Registration Certificate
                                                                       (PL_BH_0032109-
                                                                       PL_BH_0032112)
PX1359                            Blietz                               2009.09.04 PA0001651715
                                                                       Registration Certificate
                                                                       (PL_BH_0077872-
                                                                       PL_BH_0077875)
PX1360                            Blietz                               2009.02.06 PA0001647060
                                                                       Registration Certificate
                                                                       (PL_BH_0077852-
                                                                       PL_BH_0077855)
PX1361                            Blietz                               2009.04.09 PA0001644874
                                                                       Registration Certificate
                                                                       (PL_BH_0078262-
                                                                       PL_BH_0078265)
PX1362                            Blietz                               2011.04.11 PA0001739159
                                                                       Registration Certificate
                                                                       (PL_BH_0077896-
                                                                       PL_BH_0077899)
PX1363                            Blietz                               2012.09.26 PA0001808178
                                                                       Registration Certificate
                                                                       (PL_BH_0029583-
                                                                       PL_BH_0029584)
PX1364                            Blietz                               2008.03.03 PA0001648809
                                                                       Registration Certificate
                                                                       (PL_BH_0077868-
                                                                       PL_BH_0077871)
PX1365                            Blietz                               2008.03.03 PA0001648764
                                                                       Registration Certificate


                                                 153
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 155 of 161 PageID
                                   67588
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       (PL_BH_0038160-
                                                                       PL_BH_0038163)
PX1366                            Blietz                               2013.07.15 PA0001852371
                                                                       Registration Certificate
                                                                       (PL_BH_0078156-
                                                                       PL_BH_0078159)
PX1367                            Blietz                               2013.10.31 PA0001874308
                                                                       Registration Certificate
                                                                       (PL_BH_0078360-
                                                                       PL_BH_0078363)
PX1368                            Blietz                               2012.08.15 PA0001811984
                                                                       Registration Certificate
                                                                       (PL_BH_0032500-
                                                                       PL_BH_0032502)
PX1369                            Blietz                               2015.02.06 PA0001976126
                                                                       Registration Certificate
                                                                       (PL_BH_0078224-
                                                                       PL_BH_0078226)
PX1370                            Blietz                               2017.01.06 PA0001398432
                                                                       Registration Certificate
                                                                       (PL_BH_0077846-
                                                                       PL_BH_0077847)
PX1371                            Blietz                               2013.08.09 PA0001858799
                                                                       Registration Certificate
                                                                       (PL_BH_0078356-
                                                                       PL_BH_0078359)
PX1372                            Blietz                               2013.10.21 PA0001872896
                                                                       Registration Certificate
                                                                       (PL_BH_0078192-
                                                                       PL_BH_0078195)
PX1373                            Blietz                               2008.05.06 PA0001647947
                                                                       Registration Certificate
                                                                       (PL_BH_0077860-
                                                                       PL_BH_0077863)
PX1374                            Blietz                               2014.06.09 PA0001924144
                                                                       Registration Certificate
                                                                       (PL_BH_0029897-
                                                                       PL_BH_0029898)
PX1375                            Blietz       ID, W                   2014.02.14 PA0001896718
                                                                       Registration Certificate
                                                                       (PL_BH_0029969-
                                                                       PL_BH_0029970)
PX1376                            Blietz       ID, W                   2015.08.04 PA0001985062
                                                                       Registration Certificate
                                                                       (PL_BH_0078410-
                                                                       PL_BH_0078412)


                                                 154
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 156 of 161 PageID
                                   67589
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1377                            Blietz                               2013.08.09 PA0001858805
                                                                       Registration Certificate
                                                                       (PL_BH_0029927-
                                                                       PL_BH_0029928)
PX1378                            Blietz                               2013.09.20 PA0001868417
                                                                       Registration Certificate
                                                                       (PL_BH_0030287-
                                                                       PL_BH_0030288)
PX1379                            Blietz                               2011.09.23 PA0001771888
                                                                       Registration Certificate
                                                                       (PL_BH_0077934-
                                                                       PL_BH_0077937)
PX1380                            Blietz                               2012.04.24 PA0001787047
                                                                       Registration Certificate
                                                                       (PL_BH_0078332-
                                                                       PL_BH_0078335)
PX1381                            Blietz                               2013.05.24 PA0001842289
                                                                       Registration Certificate
                                                                       (PL_BH_0078136-
                                                                       PL_BH_0078139)
PX1382                            Blietz                               2013.12.12 PA0001885790
                                                                       Registration Certificate
                                                                       (PL_BH_0078374-
                                                                       PL_BH_0078377)
PX1383                            Blietz                               2014.06.09 PA0001924140
                                                                       Registration Certificate
                                                                       (PL_BH_0029901-
                                                                       PL_BH_0029902)
PX1384                            Blietz                               2013.09.05 PA0001865872
                                                                       Registration Certificate
                                                                       (PL_BH_0030321-
                                                                       PL_BH_0030322)
PX1385                            Blietz                               2013.06.03 PA0001861898
                                                                       Registration Certificate
                                                                       (PL_BH_0078180-
                                                                       PL_BH_0078183)
PX1386                            Blietz                               2011.03.09 PA0001730981
                                                                       Registration Certificate
                                                                       (PL_BH_0078242-
                                                                       PL_BH_0078245)
PX1387                            Blietz                               2009.02.06 PA0001647062
                                                                       Registration Certificate
                                                                       (PL_BH_0077856-
                                                                       PL_BH_0077859)
PX1388                            Blietz                               2009.04.09 PA0001644948
                                                                       Registration Certificate


                                                 155
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 157 of 161 PageID
                                   67590
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       (PL_BH_0078270-
                                                                       PL_BH_0078273)
PX1389                            Blietz                               2011.09.27 PA0001771867
                                                                       Registration Certificate
                                                                       (PL_BH_0030233-
                                                                       PL_BH_0030234)
PX1390                            Blietz                               2013.08.09 PA0001858812
                                                                       Registration Certificate
                                                                       (PL_BH_0078172-
                                                                       PL_BH_0078175)
PX1391                            Blietz                               2014.01.27 PA0001878202
                                                                       Registration Certificate
                                                                       (PL_BH_0078364-
                                                                       PL_BH_0078369)
PX1392                            Blietz                               2012.09.26 PA0001807238
                                                                       Registration Certificate
                                                                       (PL_BH_0030042-
                                                                       PL_BH_0030045)
PX1393                            Blietz       ID, W                   2009.04.22 PA0001647942
                                                                       Registration Certificate
                                                                       (PL_BH_0032092-
                                                                       PL_BH_0032094)
PX1394                            Blietz       ID, W                   2009.02.18 PA0001622996
                                                                       Registration Certificate
                                                                       (PL_BH_0078043-
                                                                       PL_BH_0078046)
PX1395                            Blietz                               2007.02.28 PA0001367972
                                                                       Registration Certificate
                                                                       (PL_BH_0078260-
                                                                       PL_BH_0078261)
PX1396                            Blietz                               2009.11.06 PA0001677761
                                                                       Registration Certificate
                                                                       (PL_BH_0030222-
                                                                       PL_BH_0030226)
PX1397                            Blietz                               2011.06.06 PA0001741677
                                                                       Registration Certificate
                                                                       (PL_BH_0077906-
                                                                       PL_BH_0077909)
PX1398                            Blietz                               2015.02.06 PA0001976129
                                                                       Registration Certificate
                                                                       (PL_BH_0030279-
                                                                       PL_BH_0030280)
PX1399                            Blietz                               2013.05.23 PA0001842281
                                                                       Registration Certificate
                                                                       (PL_BH_0029645-
                                                                       PL_BH_0029648)


                                                 156
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 158 of 161 PageID
                                   67591
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
PX1400                            Blietz                               2015.02.06 PA0001976122
                                                                       Registration Certificate
                                                                       (PL_BH_0030517-
                                                                       PL_BH_0030520)
PX1401                            Blietz                               2009.07.29 PA0001656977
                                                                       Registration Certificate
                                                                       (PL_BH_0038180-
                                                                       PL_BH_0038183)
PX1402                            Blietz                               2012.08.03 PA0001917492
                                                                       Registration Certificate
                                                                       (PL_BH_0029877-
                                                                       PL_BH_0029878)
PX1403                            Blietz                               2013.06.10 PA0001856248
                                                                       Registration Certificate
                                                                       (PL_BH_0078168-
                                                                       PL_BH_0078171)
PX1404                            Blietz                               2011.06.22 PA0001747296
                                                                       Registration Certificate
                                                                       (PL_BH_0078304-
                                                                       PL_BH_0078307)
PX1405                            Blietz                               2015.02.06 PA0001976123
                                                                       Registration Certificate
                                                                       (PL_BH_0030281-
                                                                       PL_BH_0030282)
PX1406                            Blietz       ID, W                   2012.04.24 PA0001787041
                                                                       Registration Certificate
                                                                       (PL_BH_0032411-
                                                                       PL_BH_0032413)
PX1407                            Blietz       ID, W                   2013.06.10 PA0001856245
                                                                       Registration Certificate
                                                                       (PL_BH_0078105-
                                                                       PL_BH_0078108)
PX1408                            Blietz                               2009.02.18 PA0001638917
                                                                       Registration Certificate
                                                                       (PL_BH_0077848-
                                                                       PL_BH_0077851)
PX1409                            Blietz                               2009.04.09 PA0001644943
                                                                       Registration Certificate
                                                                       (PL_BH_0078266-
                                                                       PL_BH_0078269)
PX1410                            Blietz                               2014.09.09 PA0001932906
                                                                       Registration Certificate
                                                                       (PL_BH_0078125-
                                                                       PL_BH_0078127)
PX1411                            Blietz                               2015.05.22 PA0001961615
                                                                       Registration Certificate


                                                 157
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 159 of 161 PageID
                                   67592
Exhibit     Date        Date                   Objections/Stipulated
 No.      Identified   Admitted      Witness       Admissions                Description of Exhibit
                                                                       (PL_BH_0078221-
                                                                       PL_BH_0078223)
PX1412                            Blietz                               2011.10.17 PA0001757756
                                                                       Registration Certificate
                                                                       (PL_BH_0077922-
                                                                       PL_BH_0077925)
PX1413                            Blietz                               2013.08.09 PA0001858773
                                                                       Registration Certificate
                                                                       (PL_BH_0030353-
                                                                       PL_BH_0030354)
PX1414                            Blietz                               2011.05.05 PA0001740827
                                                                       Registration Certificate
                                                                       (PL_BH_0077900-
                                                                       PL_BH_0077901)
PX1415                            Blietz                               2008.03.03 PA0001648869
                                                                       Registration Certificate
                                                                       (PL_BH_0030368-
                                                                       PL_BH_0030371)
PX1416                            Blietz                               2010.03.15 PA0001668360
                                                                       Registration Certificate
                                                                       (PL_BH_0030012-
                                                                       PL_BH_0030014)
PX1417                            Blietz                               2013.05.16 PA0001851192
                                                                       Registration Certificate
                                                                       (PL_BH_0078152-
                                                                       PL_BH_0078155)
PX1418                            Blietz                               2011.12.30 PA0001771871
                                                                       Registration Certificate
                                                                       (PL_BH_0078316-
                                                                       PL_BH_0078319)
PX1419                            Blietz                               2012.09.26 PA0001842407
                                                                       Registration Certificate
                                                                       (PL_BH_0029486-
                                                                       PL_BH_0029489)
PX1420                            Blietz                               2013.08.09 PA0001858834
                                                                       Registration Certificate
                                                                       (PL_BH_0078176-
                                                                       PL_BH_0078179)
PX1421                            TBD                                  1983.01.01 1983 License
                                                                       Agreement between WEA
                                                                       International Inc. and Warner
                                                                       Music UK Ltd.
                                                                       (PL_BH_0131411-
                                                                       PL_BH_0131459)




                                                 158
 Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 160 of 161 PageID
                                   67593
Exhibit     Date        Date                    Objections/Stipulated
 No.      Identified   Admitted     Witness         Admissions                Description of Exhibit
PX1422                            TBD                                   2008.10.01 2009 WEAII License
                                                                        Agreement (PL_BH_0070913-
                                                                        PL_BH_0070921)
PX1423                            TBD                                   1999.01.06 Agreement between
                                                                        Maverick Recording Company
                                                                        and Taste Media Inc.
                                                                        (PL_BH_0113016-
                                                                        PL_BH_0113141)
PX1424                            TBD                                   2005.08.04 Agreement between
                                                                        Torpack Limited and Warner
                                                                        Music UK Limited
                                                                        (PL_BH_0071817-
                                                                        PL_BH_0071841)
PX1425                            TBD                                   2004.11.24 Agreement between
                                                                        Warner Music UK Limited,
                                                                        Torpack Limited, Matthew
                                                                        Bellamy and Dominic Howard
                                                                        and Christopher Wolstenholme
                                                                        (PL_BH_0071894-
                                                                        PL_BH_0071901)
PX1426                            TBD                                   1999.11.05 Recording
                                                                        Agreement Taste Media Limited
                                                                        and Matthew Bellamy and
                                                                        Christopher Wolstenholme and
                                                                        Dominic Howard
                                                                        (PL_BH_0071842-
                                                                        PL_BH_0071879)
PX1427                            TBD                                   1999.11.05 SR0000273528
                                                                        Registration Certificate
                                                                        (PL_BH_0113385-
                                                                        PL_BH_0113386)
PX1428                            Frendberg     MIL; H; F; NA;          2016.01.15 Email chain between
                                                NTD; 403‐P; R           T. Frendberg and M. Tomasullo
                                                                        Re: emailing copyright
                                                                        notifications with summary
                                                                        information (BHN_00004176-
                                                                        BHN_00004180)
PX1429                            Knudsen,                              BHN 1713 Corrected
                                  Furchtgott-                           (BHN_00009088)
                                  Roth
PX1430                            Bahun,        MIL; H; F; NA;          2012.06.20 Email chain between
                                  Marks         NTD; 403‐P; R           A. Busch, L. Donerkiel, D.
                                                                        Haenel, T. Sehested, T. Denver,
                                                                        and B. Buckles Re: Call center
                                                                        (MM000036-MM000037)



                                                  159
     Case 8:19-cv-00710-MSS-TGW Document 664-1 Filed 07/16/22 Page 161 of 161 PageID
                                       67594
Exhibit      Date        Date                       Objections/Stipulated
 No.       Identified   Admitted      Witness           Admissions                  Description of Exhibit
PX1431                             Kokakis         F, MIL, 403-P,           Hard drive of audio files
                                                   403-C, 1006, NA,         containing UMPG compositions,
                                                   R                        and index
PX1432                             Abitbol         F, MIL, 403-P,           Hard drive of audio files
                                                   403-C, 1006, NA,         containing SMP compositions,
                                                   R                        and index
PX1433                             Blietz          F, MIL, 403-P,           Hard drive of audio files
                                                   403-C, 1006, NA,         containing WCP compositions,
                                                   R                        and index
                                   TBD             [Bright House            Documents subject to a
                                                   objections included      forthcoming motion for relief
                                                   in footnote due to       from protective order in Charter
                                                   space constraints]1      II–Plaintiffs’ counsel is prepared
                                                                            to identify specific documents
                                                                            upon request of counsel for
                                                                            BHN, who is also counsel for
                                                                            Charter




 1
   Bright House Objections: Plaintiffs purported inclusion of a category of documents from Charter II is both
 untimely and improper. Plaintiffs did not disclose this category of documents until July 11, more than 3 weeks
 after the Court’s deadline to disclose trial exhibits, and approximately 10 months after the close of fact
 discovery in this matter. Moreover, the use of documents from Charter II in this matter is prohibited by the
 Protective Order entered in Charter II. See UMG Recordings, Inc., et al. v. Charter Communications, Inc., Case
 No. 1:21-cv-02020-RBJ-MEH, Dkt. 66 at ¶ 3 (“All Protected Information provided by any party or nonparty
 in the course of this litigation shall be used solely for the purpose of preparation, trial, and appeal of this
 litigation and for no other purpose”).


                                                      160
